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     22-1481
    UNITED STATES COURT OF APPEALS
                                                     22-1982 (con)

                                    for the

                      SECOND CIRCUIT
                    ______________________________________

                     UNITED STATES OF AMERICA,
                                                             Respondent-Appellee,
                                     -v.-

                      ROBERT SYLVESTER KELLY

                                                             Petitioner-Appellant.
                           ________________________

       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NEW YORK

                PETITIONER-APPELLANT’S APPENDIX
                          VOLUME 4 OF 5
                       (Pages A 846 to A 1145)
_________________________________________________________


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                           Faith - Cross - Cannick                       2329


 1   Q    It was a female, am I correct?

 2   A    Correct.

 3   Q    An African-American female, am I correct?

 4   A    Correct.

 5   Q    And you sat opposite her and you had a conversation for

 6   well over an hour, am I correct?

 7   A    Correct.

 8   Q    And in that podcast, you discussed what were going --

 9   some of the things that were happening for you since Surviving

10   R. Kelly, am I correct?

11   A    Correct.

12   Q    And you told her that you had opportunities that came

13   about, opportunities -- not an opportunity, but opportunities

14   -- that came about for acting, am I correct?

15   A    I don't remember saying that with her.

16   Q    You know that was televised?

17               Well, it was recorded and there is a video up?

18   A    Correct.

19   Q    Now, after Surviving R. -- well, withdrawn.

20               Before your participation in Surviving R. Kelly, did

21   you have an attorney?

22   A    Can you ask your question again?

23   Q    Before your participation in Surviving R. Kelly, did you

24   have an attorney?

25   A    Yes.



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                     A 846
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                           Faith - Cross - Cannick                       2330


 1   Q    Who was that attorney?

 2   A    Lee Merrick.

 3   Q    And Lee Merrick is an attorney out of San Antonio?

 4   A    Incorrect.

 5   Q    I'm asking you a question.         I'm not -- is Lee Merrick an

 6   attorney out of San Antonio?

 7   A    He's an attorney out of Dallas, Texas.

 8   Q    So the answer to my question is that he's not from

 9   San Antonio?

10   A    No.

11   Q    Now, after, did you at some point retain another

12   attorney?

13   A    Yes.

14   Q    And who was that attorney?

15   A    Gloria Allred.

16   Q    And Gloria Allred is in the courtroom with you today,

17   correct?

18   A    Yes.

19   Q    And do you have any pending lawsuits?

20   A    Yes.

21   Q    And is Ms. Allred involved in those lawsuits?

22   A    She is not.

23   Q    Another lawyer is?

24   A    Lee Merrick.

25   Q    Now, when was it that you retained Ms. Allred?



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                           Faith - Cross - Cannick                       2331


 1                MS. SHIHATA:   Objection, Your Honor, as to

 2   relevance.

 3                THE COURT:   Overruled.

 4   A    Once the whole trial and everything came about, the

 5   criminal process started, I got legal advising from Ms.

 6   Allred.

 7   Q    So my question, ma'am, is when was it that you retained

 8   Ms. Allred?

 9   A    I'm not sure of the exact date.

10   Q    Do you remember the year?

11   A    Around 2019, I believe.

12   Q    And do you remember the month?

13   A    No.

14   Q    That show, that podcast that I spoke to you about is

15   called The Paper Route, am I correct?

16                THE COURT:   It is called the what?

17                MR. CANNICK:   The Paper Route.

18                THE COURT:   The Paper Route?

19                MR. CANNICK:   Yes.

20                THE COURT:   Yes.

21   A    Correct.

22   Q    And what's the name of the hostess?

23   A    I don't remember her name.          That was my first time

24   meeting her.

25   Q    My question was, what was her name?



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                                      A 848
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 1             THE COURT:     She said she did not remember.

 2             Next question.

 3   Q    Your appearance there was about a year ago?

 4   A    Give or take, yes.

 5   Q    On that podcast, you also discussed the choices you've

 6   made in connection with this, with Mr. Kelly, correct?

 7   A    Correct.

 8   Q    We'll get to it.

 9             THE COURT:     I did not hear what you said.

10             MR. CANNICK:     I said we'll get to it.

11             THE COURT:     Oh.

12   Q    Now, before you brought any lawsuit here, you and

13   Mr. Merrick had a demand letter sent to Mr. Kelly for money,

14   am I correct?

15   A    That is incorrect.

16   Q    Didn't you and Mr. Merrick send a demand letter to

17   Mr. Kelly for $3 million?

18   A    That is incorrect.     I wasn't aware of that.

19   Q    Mr. Merrick was your attorney, am I correct?

20   A    Correct.

21   Q    You retained him, am I correct?

22   A    Correct.

23   Q    And you're telling this jury that he sent out -- that he

24   sent out a demand letter for $3 million you were not aware of?

25   A    I did not read over the demand letter.          I was not aware



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                     A 849
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                              Faith - Cross - Cannick                       2333


 1   he was asking for $3 million or money.

 2   Q       What did you hire him for?

 3                   MS. SHIHATA:   Objection.

 4                   THE COURT:   Sustained as to form.

 5   Q       Well, you hired him to sue Mr. Kelly, am I correct?

 6   A       Incorrect.

 7   Q       You didn't hire Mr. -- this attorney to sue Mr. Kelly,

 8   claiming that he gave you herpes?

 9                   THE WITNESS:   May I answer?

10                   THE COURT:   You can answer.

11   A       I hired Mr. Merrick prior, before even looking at a

12   lawsuit, to help me pursue criminal charges against Mr. Kelly,

13   which I got no help from, so then came the lawsuit next.

14   Q       Okay.    It became a lawsuit next.

15                   When was the first time you attempted to bring

16   criminal charges against Mr. Kelly?

17   A       In Dallas, Texas.

18   Q       My question is when.

19   A       I don't remember the exact date.

20                   MR. CANNICK:   May I approach the witness?

21                   THE COURT:   Yes.

22   Q       I'm going to direct your attention to this highlighted

23   area.

24                   You looked at the document?

25   A       Correct.



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                         A 850
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 1   Q      Did it refresh your recollection that you went to the

 2   Dallas Police Department on April 9, 2018?

 3   A      Correct.

 4   Q      And you had Mr. Merrick file a lawsuit on April 17, 2018,

 5   am I correct?

 6   A      Can you repeat those dates again?

 7   Q      Dallas Police Department, April 9th, 2018, lawsuit --

 8   well, demand letter dated April 17, 2018.

 9   A      Are you asking me a question?

10   Q      I did.   And you asked me to give you the dates again.

11               MR. CANNICK:     Can I have the question read back to

12   her?

13               THE COURT:     Sure.

14               MR. CANNICK:     Where she asked for the dates.

15               (The record was read.)

16   A      Correct.

17   Q      Now, before making an effort to file a complaint with the

18   Dallas Police Department, had you made an attempt to file a

19   criminal complaint anywhere else?

20   A      In New York.

21   Q      What was the date of that?

22   A      I'm not sure of the exact date.

23   Q      And when you say that you filed one in New York, where

24   specifically?

25   A      I don't remember where specifically.



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
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                             Faith - Cross - Cannick                     2335


 1   Q    Did you go to these places to file these lawsuit -- these

 2   criminal --

 3   A    Correct.

 4   Q    And as you sit here today, you don't have a recollection

 5   as to where you went?

 6   A    I do not know the exact location and city name.

 7   Q    Was one in New York City?

 8   A    Correct.

 9   Q    And was one in Westbury, Long Island?

10               THE COURT:   I think I am having a little trouble

11   hearing you.    I do not know if your microphone...

12               Better, better.   Okay.

13   Q    You said one was in New York City.        Do you remember the

14   date of that?

15   A    I don't remember the date.

16   Q    Wasn't that in January 14, 2019?

17   A    I don't remember the date.

18   Q    Well, let's see if this refreshes your recollection, the

19   top portion.

20               No, down.

21   A    Right here?

22   Q    Right there.

23               Does that refresh your recollection?

24   A    Yes.

25   Q    What's the date?



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 852
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 1                THE COURT:   Again, your microphone is not...

 2   Q    You said that refreshes your recollection?

 3   A    Yes.

 4   Q    What's the date?

 5   A    January -- may I see it again?

 6   Q    Beg your pardon?

 7   A    Can I see it again?

 8                January 14th.

 9   Q    What year?

10   A    2019.

11   Q    And you filed another lawsuit, criminal case in Suffolk

12   County?

13                THE COURT:   She filed a criminal case or did she

14   make a complaint?

15                MR. CANNICK:    She made a complaint to file a

16   criminal case.

17                THE COURT:   Well, that is still --

18                MS. SHIHATA:    Objection.

19                THE COURT:   It is still sustained as to form.

20                First, you cannot file a criminal case.

21                She made a complaint to detectives in Suffolk

22   County; is that what you are asking her?

23                MR. CANNICK:    That's exactly what I'm asking her.

24                THE COURT:   Okay.    Or police officer.

25   Q    Now, you made this complaint in June 21, 2018, Suffolk



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
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                           Faith - Cross - Cannick                       2337


 1   County?

 2   A    I don't remember.

 3               THE COURT:   You don't remember the date?

 4               You want to show her the --

 5               MR. CANNICK:   Yes.

 6               THE WITNESS:   I'm sorry, I'm getting confused.

 7               THE COURT:   That is all right.      He is going to show

 8   you the date.   All he wants to know is whether you remember

 9   the date you spoke to the police in Suffolk County here in

10   New York.

11               THE WITNESS:   Correct.

12               THE COURT:   Does that refresh your recollection of

13   when that happened?

14               THE WITNESS:   Correct.

15               THE COURT:   When was it?

16               THE WITNESS:   In 2018.

17               THE COURT:   But do you know the specific --

18               THE WITNESS:   June 2018.

19               THE COURT:   Okay.    Next question.

20   BY MR. CANNICK:

21   Q    Now, before coming in and speaking to us, you and I had

22   never spoken, am I correct?

23   A    Correct.

24   Q    Now, you testified and told us that there came a point in

25   time that you went to a concert with your sister and at some



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                      A 854
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                            Faith - Cross - Cannick                      2338


 1   point that evening you met Mr. Kelly.        Do you remember telling

 2   us about that?

 3   A    Correct.

 4   Q    And you testified and told us that you exchanged numbers?

 5   A    I did not testify and say we exchanged numbers.           I said

 6   he gave me his number.

 7   Q    And you did not give him your number?

 8   A    We texted.

 9   Q    And at some point, there came a point where you had

10   conversations afterwards?

11   A    Correct.

12   Q    And there was an agreement or an understanding that you

13   could visit him on, some point, the road or wherever?

14   A    Correct.

15   Q    In fact, he told you that whenever you wanted to, that

16   you could visit him?

17   A    Correct.

18   Q    So after he told you that, you made a decision that you

19   would go and visit him?

20   A    Correct.

21   Q    You made a choice, am I correct?

22   A    Correct.

23   Q    In fact, you met him at the show and you said that you

24   were invited to an afterparty, along with your sister, and he

25   made certain overtures to you at that meeting, am I correct?



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 855
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                           Faith - Cross - Cannick                       2339


 1   A    Correct.

 2   Q    And after he made those overtures to you, you started

 3   texting?

 4   A    Correct.

 5   Q    And eventually started speaking?

 6   A    Correct.

 7   Q    And then eventually start FaceTiming?

 8   A    Correct.

 9   Q    And in those communications, he flirted with you, am I

10   correct?

11   A    Correct.

12   Q    And you returned the flirt, am I correct?

13   A    Correct.

14   Q    And then it came, as said earlier, that he invited you,

15   that if you want to come and visit, contact someone from his

16   office, correct?

17   A    Correct.

18   Q    And you made that contact, right?

19   A    Correct.

20   Q    Not your sister; you made that contact, right?

21   A    Correct.

22   Q    And then you got -- you texted and you told Diana?

23   A    Correct.

24   Q    You told her Mr. Kelly says to get me a ticket?

25   A    I didn't say give me a ticket.



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                                    A 856
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                            Faith - Cross - Cannick                      2340


 1   Q    What did you say?

 2   A    I gave her the days I would like to come and she checked

 3   with him to make sure that was okay, and then the flight was

 4   booked.

 5   Q    Flight was booked.

 6               And eventually you got a return from Diana with

 7   respect to your interest in going to visit him, am I correct?

 8   A    Can you say that again, please?

 9   Q    Eventually you got a response that Mr. Kelly said it was

10   okay and a flight was booked?

11   A    Correct.

12   Q    And then eventually you received a ticket?

13   A    Correct.

14   Q    And the ticket was not in your name?

15   A    Correct.

16   Q    The ticket was in another person's name?

17   A    Correct.

18   Q    Another female?

19   A    Correct.

20   Q    And after you got that ticket, you made the choice in

21   saying I ain't going?

22               THE COURT:   I did not hear what you said, I am

23   sorry.    Did you say "I ain't going"?

24               MR. CANNICK:   Yes, "I ain't going."

25               THE COURT:   That is all right.      I just could not



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 857
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                            Faith - Cross - Cannick                      2341


 1   hear it.

 2                MR. CANNICK:   Okay.

 3   Q    Am I correct, ma'am?

 4   A    You're correct.

 5   Q    And you made that choice, right?

 6   A    Correct.

 7   Q    So after you got this ticket in someone else's name, you

 8   realized, came to the conclusion that you know what, that

 9   offends my dignity, I'm not going, right?

10   A    I never said that it offended my dignity.

11   Q    Okay.    Why you chose not to go?

12   A    I just felt like for the first time, that was improper.

13   Q    Okay.    Let's talk about the second time.

14                After you felt still that that was not the proper

15   thing, you eventually continued to communicate with Mr. Kelly,

16   am I correct?

17   A    Correct.

18   Q    And there were text messages?

19   A    Correct.

20   Q    Telephone calls?

21   A    Correct.

22   Q    FaceTimes?

23   A    Correct.

24   Q    And you participated of your own will, am I correct?

25   A    Correct.



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 858
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                           Faith - Cross - Cannick                       2342


 1   Q    You answered the phone when he called?

 2   A    Correct.

 3   Q    You sent text messages?

 4   A    Correct.

 5   Q    And you got involved into FaceTiming?

 6   A    Correct.

 7   Q    And then eventually you decided I'm going, I want to take

 8   another trip?

 9                THE COURT:   Take another trip?

10                MR. CANNICK:   Yes, to visit Mr. Kelly.

11                THE COURT:   Had she been yet?

12                MR. CANNICK:   Well, "give it another shot."

13                THE COURT:   All right.

14   Q    You gave it another shot?

15   A    Can you ask me the question all over again?

16   Q    After exchanging communications, continuing to flirt, you

17   decided that you would give it another shot to visit

18   Mr. Kelly?

19   A    Correct.

20   Q    Now, again, you made that decision?

21   A    Correct.

22   Q    And you decided that you would then contact Diana, am I

23   correct?

24   A    Correct.

25   Q    And you asked for another ticket, am I correct?



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 859
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 1   A    Correct.

 2              MR. CANNICK:    Your Honor, would this be a good time?

 3              THE COURT:   Sure.

 4              All right, ladies and gentlemen, we are going to

 5   break for lunch.    We are going to take a slightly longer lunch

 6   today.   I have another matter to attend to, so we will be back

 7   at 2:30.   Please don't talk about the case or look anything up

 8   or anything like that, but enjoy your lunches.

 9              THE CLERK:   All rise.

10              (Jury exits the courtroom.)

11              THE COURT:   All right.      Everybody can sit down.

12              The witness can step out.       We will see you after

13   lunch.

14              Anything from either side before we break for lunch?

15              MS. SHIHATA:    Not from the government.

16              MR. SCHOLAR:    No, Your Honor.

17              THE COURT:   Okay.    And, Mr. Cannick, I am going to

18   ask my same fruitless question that I ask all the time.             Do

19   you have a sense of how long you are going to be?          I am just

20   trying to figure out what we can accomplish today.

21              MR. CANNICK:    I'm sure that we'll be finished with

22   her before the end of the day.      We may be finished with her

23   probably around 4:00, maybe.

24              THE COURT:   Okay.    All right.    All right.     So --

25              MR. CANNICK:    If that long.



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                     A 860
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                       Faith - Cross - Cannick                       2344


 1         THE COURT:    Okay.

 2         All right.    Everybody enjoy their lunches.

 3         (Luncheon recess taken.)

 4         (Continuing on the following page.)

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     Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                 A 861
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                           Faith - Cross - Cannick                       2345


 1                            AFTERNOON SESSION

 2             (In open court; jury not present.)

 3             (Parties present.)

 4             THE CLERK:    All rise.

 5             THE COURT:    Everybody can sit down.

 6             All right.    Let's get the witness, please.

 7             (Discussion held off the record.)

 8             (Witness enters the courtroom.)

 9             THE CLERK:    All rise.

10             (Jury enters the courtroom.)

11             THE CLERK:    You may be seated.

12             THE COURT:    All right, everybody, does it feel any

13   warmer in here today?

14             THE JURY:     Yes.

15             THE COURT:    Glad to hear it.      Wish I could say I had

16   something to do with it.

17             All right.    We are ready to resume the

18   cross-examination of the witness.

19             Go ahead, Mr. Cannick.

20             MR. CANNICK:     Thank you.

21             THE CLERK:    The witness is reminded she is still

22   under oath.

23             THE WITNESS:     Yes.

24   CROSS-EXAMINATION

25   BY MR. CANNICK:   (Continuing.)



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                                    A 862
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                           Faith - Cross - Cannick                       2346


 1   Q    Before going out to meet Mr. Kelly -- well, let me

 2   withdraw that.

 3                After your initial meeting with Mr. Kelly at the

 4   afterparty, did you Google him?

 5   A    Yes.

 6   Q    And why did you Google him?

 7   A    To find out who he was, because I wasn't a fan.

 8   Q    And you did, in fact, read up about who he was?

 9   A    Can you ask your question again?

10   Q    You read -- after you Googled him, you read what was

11   returned, am I correct?

12   A    I'm sorry, can you ask that question again?

13   Q    You Googled him?

14   A    Yes.

15   Q    You read what you saw on the computer, am I correct?

16   A    Yes.

17   Q    Okay.    Now, do you recall an instance where in your

18   earlier communications with Mr. Kelly he responded to you

19   "Come on, I am who I am.     I see a few people, but I'm not

20   married, laugh out loud."

21   A    Yes.

22   Q    And your response was "Laugh out loud.         I understand."

23   A    Correct.

24   Q    Now, what were you -- what did you take that

25   communication to mean?



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 863
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                            Faith - Cross - Cannick                       2347


 1   A    I understood that he wasn't married, he dates multiple

 2   people.

 3   Q    And he told you that in the initial part of the

 4   communication between the two of you, am I correct?

 5   A    Correct.

 6   Q    Now, you told us about a situation when you were dating

 7   your first boyfriend, that you were assaulted by his other

 8   girlfriend.    Do you remember telling us about that?

 9   A    The mother of his child, not his other girlfriend.             Yes,

10   I remember saying that.

11   Q    There's a distinction?

12   A    The mother of your child and a girlfriend, yes, there's a

13   distinction.

14   Q    Okay.

15   A    That's like a wife and a girlfriend.         Two different

16   things.

17   Q    If I ask a question, please just respond to the question

18   that I ask.    Okay?

19                Now, you testified as a result of that you developed

20   a problem, epilepsy?

21   A    Correct.

22   Q    And you testified that as a result, you have to be

23   careful with drinking alcohol because alcohol may trigger a

24   seizure?

25   A    Correct.



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 864
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page23 of 303

                             Faith - Cross - Cannick                     2348


 1   Q       Now, you testified and told us as well that when you went

 2   to Mr. Kelly's afterparty, you had some alcohol?

 3   A       That is incorrect.    I never said that.

 4   Q       You didn't have any alcohol?

 5   A       I did not have any alcohol.

 6   Q       There was an occasion where you did have alcohol with

 7   Mr. Kelly, am I correct?

 8   A       Yes.

 9   Q       And you did a -- you consumed the alcohol of your own

10   choosing, am I correct?

11   A       Can you ask that question again?

12                  THE COURT:   I think he is asking, nobody made you

13   drink alcohol; is that right?

14                  THE WITNESS:   Correct.

15                  THE COURT:   Okay.    Next question.

16   Q       So that wasn't just one time, it was multiple times that

17   you consumed alcohol of your own choosing?

18   A       Correct.

19   Q       Now, you testified and told us that you were asked by

20   Mr. Kelly to call him Daddy.          Do you remember telling us about

21   that?

22   A       Correct.

23   Q       And you did call him Daddy, am I correct?

24   A       Yes.

25   Q       And in your conversations with him, you called him Daddy?



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                         A 865
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page24 of 303

                           Faith - Cross - Cannick                       2349


 1   A    Yes.

 2   Q    And in your text messages you called him Daddy, am I

 3   correct?

 4   A    Yes.

 5   Q    Now, that was of your choosing, am I correct?

 6   A    Yes.

 7   Q    He asked you to and you decided yes, I can call you

 8   Daddy?

 9   A    I respected what he asked to be called, yes.

10   Q    Well, you didn't have to call him Daddy, right?

11   A    No.

12   Q    In fact, if I recall your testimony correctly, you said

13   that there was a time that he called you on the phone and you

14   answered the phone, and basically he was not satisfied with

15   you not calling him Daddy and he hung up.         Do you remember

16   telling us about that?

17   A    Yes.

18   Q    And then, according to you, he called back again and this

19   time you called him Daddy, am I correct?

20   A    Correct.

21   Q    Now, you had the option of not answering the phone, am I

22   correct?

23   A    Correct.

24   Q    You knew it was him that was calling, am I correct?

25   A    Correct.



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 866
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page25 of 303

                           Faith - Cross - Cannick                         2350


 1   Q    And you answered the phone and you called him Daddy?

 2   A    Correct.

 3   Q    When you sent those text messages, you called him Daddy?

 4   A    Yes, sir.

 5   Q    So he asked you to call him Daddy and you started calling

 6   him Daddy?

 7   A    Yes, sir.

 8   Q    Now, let's talk about the first trip to New York.              You

 9   testified and told us that there came a point in time that he

10   invited you -- well, you asked for a trip to New York.              Do you

11   remember telling us about that?

12   A    Yes.

13   Q    And you text Diana?

14   A    Yes.

15   Q    And you asked for the accommodation to be arranged, am I

16   correct?

17   A    Yes.

18   Q    You did all that, correct?

19   A    Yes.

20   Q    And after you asked for the accommodation to be arranged,

21   you got on the plane?

22   A    Yes.

23   Q    And you took the plane to New York?

24   A    Yes.

25   Q    In fact, wasn't this a connecting flight?



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 867
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page26 of 303

                           Faith - Cross - Cannick                       2351


 1   A    Yes.

 2               THE COURT:   I could not hear you.

 3               THE WITNESS:   Yes.

 4   Q    So you had an opportunity in Nashville, where you made

 5   the connecting flight, to change your mind, right?

 6   A    Yes.

 7   Q    But instead you boarded the next flight from Nashville to

 8   Long Island, right?

 9   A    Yes.

10   Q    And then you came there and you went to a hotel?

11   A    Yes.

12   Q    What time you got to the hotel?

13   A    I don't remember.

14   Q    Was it in the afternoon?

15   A    I don't remember.

16   Q    Was it in the morning?

17   A    I don't remember.

18   Q    Was it in the evening?

19               MS. SHIHATA:   Objection.

20               THE COURT:   Overruled.

21               Do you remember what time of day?

22               THE WITNESS:   I don't remember.

23   Q    Now, you, at some point, contacted Diana after you

24   arrived at the hotel?

25   A    Correct.



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 868
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page27 of 303

                           Faith - Cross - Cannick                       2352


 1   Q    And you wanted to know what you should be doing, what's

 2   going to happen next, am I correct?

 3   A    Yes.

 4   Q    And could you speak a little louder?

 5   A    Yes.

 6   Q    And basically, you had that option, right?          You didn't

 7   have to go out; you contacted Diana to ask what are we going

 8   to do next, right?

 9   A    Yes.

10   Q    Okay.   And then Diana told you nothing was going to

11   happen until 8:00, do you remember that?

12   A    Yes.

13   Q    And then at 8:00, sometime around that, you went to the

14   concert?

15   A    Yes.

16   Q    Okay.   And you testified and told us that you didn't sit

17   in the first row, but you were someplace very close to the

18   front?

19   A    Yes.

20   Q    Now, this was at Westbury Coliseum?

21   A    Correct.

22   Q    And you testified and told the jury that Mr. Kelly

23   actually performed to you, he was making eye contact with you

24   and singing to you, am I correct?

25   A    Correct.



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 869
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page28 of 303

                           Faith - Cross - Cannick                       2353


 1   Q    And you stared back at him, am I correct?

 2   A    Yes.

 3   Q    Now, was the stage a rotating stage?

 4   A    I don't remember.

 5   Q    How many acts you saw that night?

 6   A    Just him.

 7   Q    And when you were watching Mr. Kelly, did you notice that

 8   the stage would rotate around and come back around?

 9   A    I don't remember if the stage was rotating.

10   Q    Well, according to you, during that show he was singing

11   to you?

12   A    I stated he interacted with me during the show, yes, I

13   said that.

14   Q    Okay.    Now, you testified that after the show you went --

15   you were asked if you were going to go to the afterparty?

16   A    Incorrect.

17   Q    Were you asked if you were going to go to the afterparty?

18   A    Are you referring to the show in New York?

19   Q    Well, that's what we're talking about.

20   A    That's incorrect.     I wasn't asked if I was going to go

21   anywhere.    Diana told me where I was going and where he was

22   going.

23                (Continuing on the next page.)

24

25



         Andronikh M. Barna, Official Court Reporter, RPR, CRR
                                    A 870
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page29 of 303

                            Faith - cross - Cannick                      2354


 1   EXAMINATION CONTINUES

 2   BY MR. CANNICK:

 3   Q    Did you go to the after-party?

 4   A    No.

 5   Q    Now, you got an Uber back to the hotel?

 6   A    Yes.

 7   Q    And you were not told about the after-party?

 8   A    I was told he was going to the after-party and I was

 9   going back to my hotel.

10   Q    And you were told that and then you did, right?

11   A    Yes.

12   Q    Okay.     And then you testified and told the jury at some

13   point in the early morning hours, around 6:00, Mr. Kelly came

14   to your room?

15   A    Correct.

16   Q    And according to you, there was a sexual encounter

17   that -- that really humiliated you?

18   A    I said it was awkward, yes.

19   Q    Awkward.     You didn't want that to happen you told the

20   jury, right?

21   A    Correct.

22   Q    In fact, you -- you felt -- you felt a kind of way about

23   it that you even called your sister, correct?

24   A    Incorrect.

25   Q    You called your friend?



                      SAM     OCR      RMR     CRR       RPR
                                    A 871
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page30 of 303

                            Faith - cross - Cannick                      2355


 1   A    My best friend.

 2   Q    Yes.    And, basically, you called your best friend because

 3   you said that you wanted to find out if you were off?

 4   A    Incorrect.

 5   Q    Why did you call your best friend?

 6   A    I said I wanted to see what she had to say about the

 7   situation.

 8   Q    Okay.   And she -- she had something to say about the

 9   situation, and you felt as though that whatever Mr. Kelly said

10   to you as he was leaving the room was constructive criticism

11   according to you?

12   A    Incorrect, I stated that's what he told me.          I did not

13   say that's what it was.

14   Q    So, he told you that it was constructive criticism?

15   A    Yes.

16   Q    Now, after he gave you that constructive criticism and

17   after you went through that degrading experience with him, you

18   flew back to San Antonio, am I correct?

19   A    Correct.

20   Q    And then there came a point in time, according to you, he

21   contacted you again?

22   A    Correct.

23   Q    And after he contacted you, you and he exchanged text

24   messages?

25   A    We were already exchanging text messages.



                     SAM      OCR      RMR     CRR       RPR
                                    A 872
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page31 of 303

                            Faith - cross - Cannick                      2356


 1   Q    Did you continue to exchange text messages?

 2   A    Correct.

 3   Q    Did you continue to talk on the phone?

 4   A    Correct.

 5   Q    Did you continue to Facetime?

 6   A    Correct.

 7   Q    And after this experience that you had in New York that

 8   you felt degraded about, you asked for another trip; am I

 9   correct?

10   A    We talked about another trip, me coming again, yes.

11   Q    You asked for another trip, am I correct?

12   A    He said he wanted to see me and I gave Diana the dates I

13   was available.

14   Q    And you did that?

15   A    Correct.

16   Q    Even after that experience that you supposedly had in

17   New York?

18   A    Correct.

19   Q    You decided, you know what, I want to see him again?

20   A    Correct.

21   Q    Forget the fact that he constructively criticized me, I

22   want to go back again?

23   A    Correct.

24   Q    Forget the fact that he -- he degraded me, I want to see

25   him again?



                      SAM     OCR      RMR     CRR       RPR
                                    A 873
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page32 of 303

                            Faith - cross - Cannick                      2357


 1   A    Correct.

 2   Q    And after you made that decision to contact Diana, you

 3   got a ticket, am I correct?

 4   A    Correct.

 5   Q    You got yourself prepared, am I correct?

 6   A    Correct.

 7   Q    And you went to the airport?

 8   A    Correct.

 9   Q    And you took the flight to where he was, am I correct?

10   A    Correct.

11   Q    And then after you got to that place -- where was that

12   place, anyhow?

13   A    Which place are you referring to?

14   Q    The trip after New York.

15   A    I went back home.

16   Q    Come on.

17   A    You're very --

18   Q    I know what I'm talking about, you know what I'm talking

19   about?

20               THE WITNESS:    He's not being clear, I'm sorry, Your

21   Honor.

22               THE COURT:   All right, everybody stop.       You stop and

23   you stop.

24               The question is what is the -- I think the question

25   is what is the next place that you went to, to see Mr. Kelly?



                      SAM       OCR     RMR    CRR       RPR
                                      A 874
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page33 of 303

                           Faith - cross - Cannick                       2358


 1               Do I have that right, Mr. Cannick?

 2               MR. CANNICK:    Absolutely, Your Honor.

 3               THE COURT:   All right, so that's the question.

 4               What city did you go to next?

 5               THE WITNESS:    The city I went to next after New York

 6   was Chicago.

 7               THE COURT:   All right, next question.

 8   BY MR. CANNICK:

 9   Q    So, in Chicago you had another sexual encounter with him,

10   am I correct?

11   A    Correct.

12   Q    An unwanted sexual encounter?

13   A    Correct.

14   Q    And after you had this unwanted sexual encounter, you

15   went back to San Antonio, am I correct?

16   A    Correct.

17   Q    And then you continued to text -- exchange text messages

18   with him?

19   A    Correct.

20   Q    And you continued to have telephone calls with him?

21   A    Correct.

22   Q    And you continued to Facetime with him?

23   A    Correct.

24   Q    And then you asked for another trip?

25   A    We discussed me coming next time, yes.



                     SAM        OCR     RMR    CRR       RPR
                                      A 875
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                            Faith - cross - Cannick                      2359


 1   Q    And you discussed it after that degrading experience --

 2                MS. SHIHATA:    Objection.

 3                THE COURT:   Overruled.

 4   BY MR. CANNICK:

 5   Q    You discussed it and you decided that you're going to

 6   take another trip to see him?

 7   A    Correct.

 8   Q    And you went through the same process, you contacted

 9   Diana?

10   A    Correct.

11   Q    And you got out to the airport?

12   A    Yes.

13   Q    And then you went to meet him again?

14   A    Yes.

15   Q    When you met him again, where was that city?

16   A    After Chicago, I went to Dallas.

17   Q    Okay.    And Dallas was a similar experience, another

18   degrading sexual encounter, am I correct?

19   A    I never said that.

20   Q    You didn't like what was going on with him sexually, am I

21   correct?

22   A    I didn't say that about the Dallas trip either.

23   Q    In the Dallas trip you testified and told us that you --

24   you consumed a lot of alcohol?

25   A    Correct.



                      SAM        OCR     RMR   CRR       RPR
                                       A 876
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page35 of 303

                           Faith - cross - Cannick                       2360


 1   Q    In fact, you told us that it was Cîroc?

 2   A    Correct.

 3   Q    And this was -- now, you had been diagnosed with this

 4   condition that would cause you to have a seizure before you

 5   went to Dallas, am I correct?

 6   A    Correct.

 7   Q    And you knew that the alcohol would cause or could

 8   trigger a seizure, am I correct?

 9   A    Too much alcohol can cause you to have a seizure, yes.

10   Q    And you made that decision to consume the alcohol again,

11   am I correct?

12   A    Correct.

13   Q    And after some point, I think you alluded to the fact

14   that because of the alcohol you had sexual encounters with

15   Mr. Kelly, am I correct?

16   A    I never said because of the alcohol that's why I had sex

17   with him.    I never said that.

18   Q    Okay.    Now, you also indicated that you were left in the

19   Sprinter for long periods of time?

20   A    I didn't indicate.     I said I was left in the Sprinter for

21   a long period of time.

22   Q    Yes.    So, you indicated that you were left there while

23   they were in the cigar bar?

24   A    Incorrect.

25   Q    So, you were left in the Sprinter?



                     SAM      OCR      RMR     CRR       RPR
                                    A 877
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page36 of 303

                            Faith - cross - Cannick                      2361


 1   A    Correct.

 2   Q    And how long were you left in the Sprinter?

 3   A    For a number of hours.

 4   Q    When you say "a number of hours," more than two?

 5   A    Correct.

 6   Q    More than four?

 7   A    It might have been about four hours.

 8   Q    You didn't like that?

 9   A    Correct.

10   Q    In fact, you felt a little humiliated?

11   A    I never said I felt humiliated.

12   Q    I'm asking you, did you feel humiliated?

13   A    Humiliated, no; left behind, yes.

14   Q    And you didn't want to be left behind, right?

15   A    Correct.

16   Q    You wanted to be with him, right?

17   A    Correct.

18   Q    Okay.   And so -- and you felt as though he was not

19   sensitive to the fact that you wanted to be with him?

20   A    Incorrect, I never said that.

21   Q    I didn't ask you if you said that, I'm asking you if

22   that's how you felt?

23   A    No.

24   Q    So, when you said a short while ago that you felt left

25   behind, it didn't bother you that you were left behind for



                     SAM      OCR      RMR     CRR       RPR
                                    A 878
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page37 of 303

                           Faith - cross - Cannick                       2362


 1   about four hours?

 2   A    It bothered me for the amount of time that I was left

 3   behind.    If he had something to do, that's his job, he's an

 4   entertainer; it was just being there.

 5   Q    But weren't you -- weren't you -- weren't you upset that

 6   you couldn't leave on your own will?

 7   A    Correct.

 8   Q    Weren't you upset that you didn't have food to eat?

 9   A    I was upset about not being able to use the bathroom.           I

10   wasn't hungry in the Sprinter.

11   Q    Okay.    But you were upset about not being able to use the

12   bathroom, am I correct?

13   A    Correct.

14   Q    And anything else about the trip upset you?

15   A    No.

16   Q    So, then eventually you went back to San Antonio?

17   A    Yes.

18   Q    Okay.    And then after being left in the Sprinter in this

19   occasion for an excessive amount of hours and feeling left

20   behind, you decided to visit him again at another destination,

21   am I correct?

22   A    Correct.

23   Q    And, again, of your own will?

24   A    Correct.

25   Q    You contacted Diana to make those arrangements for you?



                     SAM      OCR      RMR     CRR       RPR
                                    A 879
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page38 of 303

                             Faith - cross - Cannick                     2363


 1   A    Correct.

 2   Q    And what city did you go to next?

 3   A    Los Angeles.

 4   Q    And it was in Los Angeles that you testified and told the

 5   jury that he was stern?

 6   A    Correct.

 7   Q    And you testified and told the jury that he had a gun

 8   next to him as he spoke to you?

 9   A    The gun was beside him, yes.

10   Q    And frightened you, right?

11   A    Made me uncomfortable, yes.

12   Q    Very uncomfortable, scared?

13   A    Yes.

14   Q    And then he had unwanted sex with you?

15   A    Oral sex.

16   Q    Oral sex, yes.     You didn't want that?

17   A    Correct.

18   Q    So he had a gun, that frightened you, right?

19   A    Correct.

20   Q    He performed oral sex on you that you didn't want, am I

21   correct?

22   A    Incorrect, I never said that happened in LA.

23   Q    What?

24                (Pause.)

25   BY MR. CANNICK:



                      SAM      OCR     RMR     CRR       RPR
                                     A 880
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page39 of 303

                            Faith - cross - Cannick                      2364


 1   Q    So, he made you perform oral sex on him?

 2   A    Correct.

 3   Q    And you definitely didn't want to do that, right?

 4   A    Correct.

 5   Q    And then he left you for long periods of time?

 6   A    Correct.

 7   Q    So, gun, perform oral sex on him, left you, and then

 8   eventually you went back to San Antonio?

 9   A    Correct.

10   Q    Did there come -- did there come a point in time that you

11   went to visit him again?

12   A    Yes.

13   Q    So, after all that, after being forced to perform oral

14   sex on him, after being intimidated by him because he had a

15   gun next to him as he spoke to you, and leaving you behind,

16   you went to visit him again?

17   A    Correct.

18   Q    Your choice, right?

19   A    Yes.

20   Q    What city did you go to this time?

21   A    New York.

22   Q    So, New York.     Now, I want to go back to something we

23   started discussing before the lunch recess.

24               Now, when you spoke to the New York police when you

25   filed a complaint against Mr. Kelly, you told them that



                      SAM     OCR      RMR     CRR       RPR
                                    A 881
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page40 of 303

                            Faith - cross - Cannick                      2365


 1   Mr. Kelly penetrated your vagina and your anus, right?

 2   A    I never said that.

 3             MR. CANNICK:     May I approach, Your Honor?

 4             THE COURT:    Sure.

 5   BY MR. CANNICK:

 6   Q    Read the second paragraph.

 7   A    (Witness complies.)

 8   Q    You read it?

 9   A    Correct, I read it.

10   Q    Isn't it a fact that you told the police officers --

11   A    What's on that paper is incorrect.

12   Q    I didn't ask you --

13             THE COURT:    Just let -- okay.

14             First of all, let him finish the questions before

15   you start to answer.    He is going to ask you questions.

16             And let the witness respond.

17             MR. CANNICK:     Thank you.

18             THE COURT:    So, what is the question you want to put

19   to the witness?

20   BY MR. CANNICK:

21   Q    Isn't it a fact that when you were interviewed by the

22   police officers who took this complaint, you told them that he

23   inserted his penis in your anus and your vagina?

24   A    That is not a fact.

25   Q    So, you didn't tell them that?



                    SAM       OCR      RMR     CRR       RPR
                                     A 882
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page41 of 303

                            Faith - cross - Cannick                      2366


 1   A    No.

 2   Q    And if it's here, they made it up?

 3   A    Well -- that is not a fact.

 4                THE COURT:   Well, sustained as to whether they made

 5   it up.

 6                You're saying you didn't tell them that; is that

 7   right?

 8                THE WITNESS:    Yes.

 9   BY MR. CANNICK:

10   Q    And when you were speaking with them, were they taking

11   notes?

12   A    Yes.

13   Q    And you were the only one who were giving them details of

14   this account that you were complaining that happened, am I

15   correct?

16   A    Correct.

17   Q    Now, isn't it a fact that you also told them in that

18   interview that Mr. Kelly told you that if you didn't allow --

19   well, that you pushed -- that he pushed you and said that he

20   would not allow you to eat during the meeting?

21   A    That's incorrect.

22   Q    And if it's in here, that's an error?

23   A    Absolutely an error.

24   Q    Okay.    And isn't it a fact that you told the detectives,

25   or whomever interviewed you, that you were tested and found to



                      SAM        OCR     RMR   CRR       RPR
                                       A 883
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                            Faith - cross - Cannick                      2367


 1   be positive for herpes in December 2017?

 2   A    Incorrect, I never said that.

 3   Q    Okay, you never said it.       And if it's in here, then it's

 4   an error?

 5   A    A hundred percent a error.

 6   Q    Now --

 7               MR. CANNICK:    May I have a second, Your Honor,

 8   please?

 9               (Pause.)

10   BY MR. CANNICK:

11   Q    Now, after this experience that you had in LA where you

12   said that Mr. Kelly had a gun near him as he spoke to you and

13   that he violated you sexually and had you wait around, you

14   flew back to San Antonio?

15   A    Yes.

16   Q    And did there come a time that you decided to visit him

17   again?

18   A    Yes.

19   Q    Where was that?

20   A    New York.

21   Q    And now, the experiences that you had in those other

22   visits, none of them were to your liking, am I correct?

23   A    Correct.

24   Q    And you felt as though he violated you in some fashion on

25   each and every one of those trips, am I correct?



                      SAM       OCR     RMR    CRR       RPR
                                      A 884
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page43 of 303

                            Faith - cross - Cannick                      2368


 1   A    Correct.

 2   Q    And those violations were sexual violations?

 3   A    Correct.

 4   Q    And you said that you felt as though that you couldn't go

 5   and use a bathroom when you wanted to use a bathroom?

 6   A    Correct.

 7   Q    And you felt as though that you were not given food?

 8   A    I never said that.

 9   Q    You were given food?

10   A    I never said that.

11   Q    What do you say -- withdrawn.

12             Now, after you had that experience in LA, you

13   decided that you were going to contact Diana and arrange for

14   another trip?

15   A    Correct.

16   Q    And the same process, you contacted her and she sent a

17   trip, and then you got to the airport and eventually got to

18   the -- what hotel was it?

19   A    You're asking me about which trip?

20             THE COURT:     He asked what hotel you went to.

21             THE WITNESS:     Yes.

22   A    Which trip again?     I'm sorry.

23   Q    New York.

24             THE COURT:     Well, you went to New York twice, right?

25             So, I think you're talking about the last time --



                      SAM     OCR      RMR     CRR       RPR
                                    A 885
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page44 of 303

                            Faith - cross - Cannick                      2369


 1               MR. CANNICK:    The last trip.

 2               THE COURT:   -- the last trip?

 3               MR. CANNICK:    Yes.

 4               THE COURT:   Was it the Mondrian or something?

 5               THE WITNESS:    Yes, the Mondrian.

 6               THE COURT:   Okay, go ahead.

 7   BY MR. CANNICK:

 8   Q    And you got to that hotel by Uber?

 9   A    Yes.

10   Q    And, again, this was your own volition, you decided, you

11   had asked for this trip and you got the trip and you made the

12   trip, am I correct?

13   A    Yes, sir.

14   Q    And I think you testified -- withdrawn.

15               At some point you said you met someone by the name

16   of Joy or Joycelyn?

17   A    Correct.

18   Q    And what city was it that you met this person?

19   A    Dallas.

20   Q    I'm sorry, I can't hear you?

21   A    Dallas.

22   Q    And you testified and you told us that she appeared to be

23   unkempt to you, am I correct?

24   A    Correct.

25   Q    And you told us that you and her were in the Sprinter for



                      SAM       OCR     RMR    CRR       RPR
                                      A 886
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page45 of 303

                            Faith - cross - Cannick                      2370


 1   a prolonged period of time?

 2   A    Correct.

 3   Q    And this trip that you met Joy, you, basically, did not

 4   have a good experience in that trip either?

 5   A    I didn't say that the whole trip was terrible, but

 6   meeting her, it was a weird experience.

 7   Q    And notwithstanding that, you made another trip, am I

 8   correct?

 9   A    Correct.

10   Q    Now, you testified and told us about an occasion where

11   you needed to go to the bathroom and Diana followed you from

12   the Sprinter to the bathroom.

13               Do you remember telling us that?

14   A    She didn't follow me, she led me to the bathroom.

15   Q    She led you?

16   A    I didn't know where it was.

17   Q    Oh, okay.    So, she escorted you to the bathroom and she

18   stayed there while you used the bathroom?

19   A    Correct.

20   Q    And you didn't think that she was trying to restrain you

21   in any way, am I correct?

22   A    No.

23   Q    And you eventually went back to the Sprinter?

24   A    Yes.

25   Q    And you walked back to the Sprinter?



                      SAM     OCR      RMR     CRR       RPR
                                    A 887
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page46 of 303

                            Faith - cross - Cannick                      2371


 1   A    I followed her back to the Sprinter, yes.

 2   Q    Right.    She never put her hands on you, am I correct?

 3   A    No.

 4   Q    Now, you testified and told us that there -- while she --

 5   when she escorted you to the bathroom, that, basically, she

 6   stood outside of the stall?

 7   A    Correct.

 8   Q    Right outside of the stall you said?

 9   A    Correct.

10   Q    So, you could -- and that somehow caused you to be

11   unnerved?

12   A    Can you ask your question again?

13   Q    Were you -- did that bother you in any way that she stood

14   outside the stall?

15   A    It was different.     I didn't understand it.

16   Q    Okay, but did it bother you?

17   A    It was different.

18   Q    How so?

19   A    Nobody has ever waited for me outside of the stall, maybe

20   outside the bathroom, but not directly outside the stall.

21   Q    Oh, okay, okay.    You were a guest of Mr. Kelly's, am I

22   correct?

23   A    Correct.

24   Q    And you knew that she worked for Mr. Kelly, am I correct?

25   A    Correct.



                     SAM      OCR      RMR     CRR       RPR
                                    A 888
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page47 of 303

                            Faith - cross - Cannick                      2372


 1   Q    And were you aware that she had responsibilities to

 2   Mr. Kelly and his guests?

 3   A    She was his assistant, yes.

 4   Q    And you knew that she was pretty much escorting you and

 5   whomever else was with you, Joy or whomever, wherever you

 6   went, am I correct?

 7   A    I didn't know she was an escort and supposed to escort us

 8   everywhere we went, no.     At the time, I wasn't aware.

 9   Q    Did you become aware of that?

10   A    Later on.

11   Q    Now, there were times that -- well, withdrawn.

12                You were asked on direct examination about certain

13   text messages that you sent to Mr. Kelly about the outfits

14   that you were wearing?

15   A    Yes.

16   Q    Okay.    You -- he asked you and you sent them, am I

17   correct?

18   A    Yes.

19   Q    You were in San Antonio when you were sending those

20   photographs, am I correct?

21   A    Correct.

22   Q    And he was definitely not in San Antonio?

23   A    Correct.

24   Q    And there was an occasion where you told him that you

25   were going someplace.



                      SAM     OCR      RMR     CRR       RPR
                                    A 889
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page48 of 303

                            Faith - cross - Cannick                       2373


 1              You sent that, am I correct?

 2   A    Correct.

 3   Q    And you sent that because you said that he'd asked you or

 4   said to you that he wanted to know where you're going to be?

 5   A    You're asking, like, what did I send exactly?

 6              I'm not understanding your question.           It's not

 7   clear.

 8   Q    He asked you at some point to keep him in informed as to

 9   where you're going to be, according to you, am I correct?

10   A    Correct.

11   Q    And that's why you sent the photo to him, am I correct?

12   A    Sent a photograph?

13   Q    A text message.

14   A    Of what?

15   Q    You and your friend at the Olive Garden.

16   A    Me and my family at Olive Garden, yes, I sent him a

17   picture.

18   Q    Right.   And you sent that because he had asked you or

19   said to you, let me know where you're going to be?

20   A    He asked me where I was, clear as day, in the text.

21   Q    So, might the answer to my question be yes then?

22              MS. SHIHATA:    Objection.

23              THE COURT:   Well, overruled.

24              I mean he asked you where you were and you sent him

25   a picture of where you were, right?



                     SAM       OCR     RMR     CRR       RPR
                                     A 890
           Case 22-1481, Document 73, 04/17/2023, 3500774, Page49 of 303

                             Faith - cross - Cannick                       2374


 1               THE WITNESS:     He asked me like two questions in one,

 2   Your Honor, I'm sorry.

 3               THE COURT:    That's okay.     All right, but the

 4   question was where are you and you sent the picture, right, or

 5   one of the questions.

 6               All right, next question.

 7   BY MR. CANNICK:

 8   Q     And then there was a time where you sent him a picture of

 9   your outfit and asked him if that was okay?

10   A     Yes, sir.

11   Q     And you did that because at some point he asked you to do

12   so?

13   A     Yes, sir.

14   Q     And you were in San Antonio when you'd sent that photo,

15   am I correct?

16   A     Yes, sir.

17   Q     And of your volition you sent it -- him an outfit -- a

18   picture of your outfit and asked him if that outfit was okay?

19   A     Can you start over?

20   Q     At some point you sent him a picture of the outfit and

21   asked him if the outfit was okay?

22   A     Yes, sir.

23   Q     Now, you testified and told us about a situation where

24   Mr. Kelly, I think this was in the LA trip in the studio, that

25   he, it appeared, to be jogging into where you were, grabbed



                       SAM      OCR      RMR     CRR       RPR
                                      A 891
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page50 of 303

                            Faith - cross - Cannick                      2375


 1   something and jogged back out?

 2   A    Correct.

 3   Q    Now, you knew before going out on any of these trips that

 4   Mr. Kelly was a very busy man, am I correct?

 5   A    Correct.

 6   Q    And you knew that he -- he and his talents were in high

 7   demand, am I correct?

 8   A    No, not at the time.

 9   Q    But you learned that, am I correct?

10   A    I wasn't aware.

11   Q    You never learned it?

12             MS. SHIHATA:     Objection.

13             THE COURT:    Well, I am a little unclear.

14             Are you saying, are you asking her was his talent

15   was in high demand?

16             MR. CANNICK:     High demand, yes.

17             THE COURT:    All right.      And did you know whether

18   that was true or not?

19             THE WITNESS:     No, ma'am, I would not know that.

20             THE COURT:    All right, next question.

21   BY MR. CANNICK:

22   Q    You Googled him, right?

23             MS. SHIHATA:     Objection, Your Honor.

24             THE COURT:    Overruled.

25   Q    You Googled him, right?



                     SAM      OCR      RMR     CRR       RPR
                                    A 892
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page51 of 303

                            Faith - cross - Cannick                      2376


 1                THE WITNESS:    Your Honor, may I --

 2                THE COURT:   No.     He's entitled to ask you questions.

 3   Just do your best to answer them.         If you don't understand

 4   them, just let me know.

 5   BY MR. CANNICK:

 6   Q    You Googled him, am I correct?

 7   A    Yes.

 8   Q    And the purpose of your Googling him was to find out

 9   about him, am I correct?

10   A    Yes.

11   Q    And when you Googled him, you learned of all the Number 1

12   hits that he had, am I correct?

13   A    No.

14   Q    You overlooked that part?

15                MS. SHIHATA:    Objection.

16                THE COURT:   Overruled.

17                How much time did you spend Googling him?

18                THE WITNESS:    It literally was a Google, and then

19   that's it.    I'm not -- Your Honor, I'm not looking to see

20   every Number 1 hit, latest album.         It's not --

21                THE COURT:   If you didn't know that, that's fine.

22                THE WITNESS:    He's asking specific questions.

23                THE COURT:   Well, do your best to answer them.

24   BY MR. CANNICK:

25   Q    In fact, you spoke to one of your friends about Mr. Kelly



                      SAM        OCR     RMR    CRR      RPR
                                       A 893
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                              Faith - cross - Cannick                       2377


 1   after you initially met him, am I correct?

 2   A      Incorrect.

 3   Q      Didn't you tell us -- well, didn't you tell us -- didn't

 4   you say in your interview with the Government that you

 5   contacted your -- well, after the after-party, the first time

 6   you ever met Mr. Kelly, your sister was very excited and she

 7   said to you:      You gotta talk to Mr. Kelly?

 8   A      Yes, sir.    You asked me if I talked to my friend, I did

 9   not.    I had a conversation with my sister.

10                MR. CANNICK:     Your Honor, I am going to ask you to

11   instruct the witness to listen to the question and answer the

12   question.

13                THE COURT:    She did.     She said she didn't ask her

14   friend, she asked her sister.

15                Let's not argue, please.       Put your question to the

16   witness.     Don't argue with counsel, just answer his question.

17   If you don't understand, say you don't understand and he'll

18   rephrase it.

19                Go ahead, Mr. Cannick.

20                MR. CANNICK:     Okay.

21   BY MR. CANNICK:

22   Q      So, isn't it a fact -- so, you don't remember telling the

23   Government that you spoke to your friend about Mr. Kelly and

24   having met him, and your friend said:           You better talk to

25   Mr. Kelly, he's a grown-ass man?



                        SAM      OCR       RMR    CRR       RPR
                                       A 894
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                            Faith - cross - Cannick                       2378


 1   A    You said right after the concert, sir, and that's not the

 2   conversation that was had.

 3                THE COURT:   Okay, the question is --

 4                MS. SHIHATA:    Your Honor --

 5                THE COURT:   -- he's asking you -- I'm sorry?

 6                MS. SHIHATA:    May we just have a sidebar?

 7                THE COURT:   No, we don't have to have a sidebar.

 8                Just the question is you're saying that you spoke to

 9   your friend at a separate time, is that right?

10                THE WITNESS:    Yes.   These questions are very, like,

11   general.   Like, I'm not understanding.         The questions are not

12   clear, Your Honor, at all.

13                THE COURT:   Well, I think they are.      If you have

14   difficulty answering them, you let me know.

15                Mr. Cannick, can you put another question to the

16   witness?

17   BY MR. CANNICK:

18   Q    After you had met Mr. Kelly initially, you contacted your

19   friend, am I correct?

20   A    Sure.

21   Q    And you told your friend that you just met R. Kelly, am I

22   correct?

23   A    Incorrect.

24   Q    You didn't tell your friend that you met R. Kelly?

25   A    I did not initially after the concert; no, I didn't.



                      SAM        OCR     RMR   CRR       RPR
                                       A 895
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page54 of 303

                               Faith - cross - Cannick                   2379


 1                  THE COURT:   Sometime later did you tell your friend

 2   that?

 3                  THE WITNESS:    Yes.

 4                  THE COURT:   All right, next question.

 5   BY MR. CANNICK:

 6   Q       And your friend said to you that you better talk to him,

 7   he's a grown-ass man?

 8   A       Correct.

 9   Q       And your friend was excited, am I correct?

10   A       Encouraging.

11   Q       Encouraging?

12   A       Yes, sir.

13   Q       And encouraging of you to speak with him, develop a

14   relationship with him?

15   A       Yes.

16   Q       Now, you followed that advice, am I correct?

17   A       Yes.

18   Q       And your sister was equally encouraging, am I correct?

19   A       Yes.

20   Q       And you followed her advice as well, am I correct?

21   A       Yes.

22   Q       Now, when you were in LA and you were waiting in the

23   Sprinter, you felt uncomfortable because you were waiting in

24   there for such a long time?

25   A       Are you asking me if I felt uncomfortable?



                         SAM       OCR     RMR   CRR     RPR
                                         A 896
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page55 of 303

                            Faith - cross - Cannick                      2380


 1   Q    That's my question.

 2   A    Yes.

 3   Q    And did you open the door?

 4   A    In LA, no, sir.

 5   Q    And you text Diana?

 6   A    Yes.

 7   Q    And she came?

 8   A    Yes.

 9   Q    And she opened the door?

10   A    Yes.

11   Q    And you and Diana went somewhere?

12   A    Diana showed me where the bathroom was.

13   Q    Okay.   And then you eventually came back to the bathroom,

14   right?

15   A    I think you said back to the bathroom, no, we didn't come

16   back to the bathroom.

17   Q    Back to the Sprinter?

18   A    Correct.

19   Q    Now, how many times did you have to text Diana in order

20   to get her to come to take you to the bathroom?

21   A    Are you asking me that night or just then?

22   Q    We're talking about that night.

23   A    I had to text her twice about the bathroom.

24   Q    And there was the first text, and then about 15 minutes

25   later you sent a second text?



                     SAM      OCR      RMR     CRR       RPR
                                    A 897
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                            Faith - cross - Cannick                      2381


 1   A    I don't know.

 2   Q    And then she eventually came?

 3   A    Yes.

 4   Q    You don't know what she was doing when you sent the text,

 5   am I correct?

 6   A    At the time in LA, yes, I did know what she was doing the

 7   first time I sent the text.

 8   Q    What was she doing?

 9   A    Waiting in the Sprinter with me in the passenger seat.

10   Q    And so, she's in the passenger seat and you text her?

11   A    Yes.

12   Q    Didn't call out to her?

13   A    She wouldn't be able to hear me.

14   Q    That's not my question, my question is you didn't call

15   out to her?

16   A    No.

17   Q    Now, and then you eventually text her a second time and

18   she got out of the passenger seat and --

19   A    I texted her to use the bathroom the first time in that

20   setting and she said, okay, stand by, and she came back.

21   Q    Okay.    Now, you testified earlier today about Mr. Kelly

22   being asleep and your picking up his phone and answering his

23   phone.

24                Do you remember telling us that?

25   A    Incorrect, I never said I answered his phone.



                      SAM     OCR      RMR     CRR       RPR
                                    A 898
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                            Faith - cross - Cannick                      2382


 1   Q    You looked at the messages coming on his phone, am I

 2   correct?

 3   A    I looked at the screen, his phone is locked.

 4   Q    Okay.     And you looked at all of the phones, am I correct,

 5   that he had?

 6   A    The two, yes.

 7   Q    Was it two or three?

 8   A    There was two by me.

 9   Q    And you had no fear doing that, right?

10   A    No.

11   Q    And he didn't say anything to you about it, am I correct?

12   A    He didn't know, he was asleep.

13   Q    So, he didn't know.

14                So, when you picked up the phone and you looked at

15   the messages, you said to us this morning that it was a group

16   text and all of them were from women.

17                Do you remember telling us that?

18   A    No.

19

20                (Continued on the following page.)

21

22

23

24

25



                      SAM     OCR      RMR     CRR       RPR
                                    A 899
          Case 22-1481, Document 73, 04/17/2023, 3500774, Page58 of 303

                             Faith - Cross - Cannick                      2383


 1   BY MR. CANNICK:

 2   Q     You don't remember saying that before lunch?

 3   A     I said a group text of women.

 4   Q     Of women, okay.    There were names associated with the

 5   text messages?

 6   A     Correct.

 7   Q     Basically you discerned that all of those people were

 8   women?

 9   A     I went off of the female names I saw on the screen.

10   Q     You saw some numbers on the screen too, right?

11   A     Correct.

12   Q     Basically you saw those calls, those messages, and you

13   said you tried to wake him up?

14   A     I tried to wake him up while his phone was going off

15   before I looked at the phone.

16   Q     At some point Diana came to the room?

17   A     Yes.

18   Q     And got him up to go to a meeting?

19   A     Yes, sir.

20   Q     I asked you earlier this morning about the shows that

21   you've appeared on to talk about this.         You appeared on at

22   least seven shows, am I correct?

23   A     I don't know the exact number.

24   Q     Do you recall appearing on something called Corein

25   Carter?



         Rivka Teich, CSR, RPR, FCRR, RMR        Official Court Reporter
                                     A 900
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                             Faith - Cross - Cannick                      2384


 1   A     Can you say that again?

 2   Q     C-O-R-E-I-N?

 3   A     That's a show?

 4   Q     I'm asking you.

 5   A     I never heard of a show called that.

 6   Q     What about CBS This Morning?

 7   A     Yes.

 8   Q     And on that show, you appeared with your attorney

 9   Ms. Allred?

10   A     Correct.

11   Q     Then you appeared on something called She Talk L.A.?

12   A     Correct.

13   Q     And Dr. Oz?

14   A     Correct.

15   Q     And on Dr. Oz, again, you had Ms. Allred with you?

16   A     Correct.

17   Q     In fact, she participated in the interview, am I correct?

18   A     Correct.

19   Q     And then you went on something called Chelsea Grayson?

20   A     That's a person.

21   Q     Yes.    Did you have an interview with this person Chelsea

22   Grayson?

23   A     Yes.

24   Q     Then you went on Channel Five?

25   A     Channel Five, that's a channel.        I don't know.



         Rivka Teich, CSR, RPR, FCRR, RMR        Official Court Reporter
                                     A 901
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                              Faith - Cross - Cannick                        2385


 1   Q      Okay, but fair to say you appeared on at least five to

 2   seven television shows?

 3   A      Correct.

 4   Q      And podcasts as well?

 5   A      Correct.

 6   Q      In one of the podcasts we spoke about this morning, the

 7   Paper Route.      On that show you said during that interview:           I

 8   don't like the word victim because I don't feel like I'm a

 9   victim.     I'm a young woman.      And let's be clear, let's be

10   clear, I made a choice to be involved with that person.                Do I

11   feel like everything he did was right?           Hell, no.    But I had a

12   choice.     And that's why I walked away.        I did not move in with

13   him.    I did not live with him.       I did not take any money from

14   him.    There is a choice that you have to make.

15                You said that?

16   A      Correct.

17   Q      You made a choice.

18   A      Correct.

19   Q      And you're not a victim.

20   A      Correct.

21                MR. CANNICK:     Thank you.

22                THE COURT:    Any redirect?

23                MS. SHIHATA:     Yes, your Honor.

24                THE COURT:    Do you think it's long?        It might be not

25   a bad time to take a break.



         Rivka Teich, CSR, RPR, FCRR, RMR          Official Court Reporter
                                       A 902
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                          Faith - Redirect - Shihata                      2386


 1                MS. SHIHATA:   I don't think it's very long.

 2                THE COURT:   Okay good.

 3   REDIRECT EXAMINATION

 4   BY MS. SHIHATA:

 5   Q     Good afternoon.

 6   A     Good afternoon.

 7   Q     During cross-examination before the lunch break you were

 8   asked some questions about how you remembered all these

 9   details from three years ago.       Do you remember those

10   questions?

11   A     Correct.

12   Q     You provided the Government with a screen recording of

13   all your chats with Diana Copeland, correct?

14                MR. CANNICK:   Objection.

15                THE COURT:   Overruled.

16   A     Correct.

17   Q     That spanned the time that you began traveling and seeing

18   the defendant, correct?

19   A     Correct.

20   Q     As you testified, the defendant told you to keep Diana

21   apprised as things were happening on your trip, correct?

22   A     Correct.

23   Q     And to ask for permission to do certain things, correct?

24   A     Correct.

25   Q     Is it fair to say that having text messages from that



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                                     A 903
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                          Faith - Redirect - Shihata                      2387


 1   time period is a way you've been able to refresh your

 2   recollection about certain details?

 3   A     Correct.

 4   Q     You were also asked some questions before lunch on

 5   cross-examination about your having been in college then

 6   leaving college.     Do you remember those questions?

 7   A     Yes.

 8   Q     Had your parents supported you financially?

 9   A     Yes.

10   Q     And did that include while you were seeing the defendant?

11   A     Yes.

12   Q     And do they continue to support you financially?

13   A     Yes.

14   Q     Are your parents successful?

15   A     Yes.

16   Q     Have you ever wanted for anything on a financial aspect?

17   A     No.

18   Q     Did you ask the defendant to support you?

19   A     No.

20   Q     You were asked some questions on cross-examination before

21   the lunch break about certain dates about when you went to a

22   lawyer and when you went to the Dallas Police Department and

23   so forth.    Do you remember those questions?

24   A     Yes.

25                MS. SHIHATA:   One moment, your Honor.



         Rivka Teich, CSR, RPR, FCRR, RMR        Official Court Reporter
                                     A 904
          Case 22-1481, Document 73, 04/17/2023, 3500774, Page63 of 303

                          Faith - Redirect - Shihata                      2388


 1                THE COURT:   Sure.

 2   Q     You testified that you went to the Dallas Police

 3   Department on April 9, 2018.        Do you remember that?

 4   A     Yes.

 5   Q     Mr. Cannick, the defense attorney, showed you a document

 6   that indicated something about a demand letter being sent on

 7   April 17, 2018.    Do you remember those questions?

 8   A     Yes.

 9   Q     April 9, 2018, that's before April 17, 2018, correct?

10   A     Correct.

11   Q     So you went to the Dallas Police Department first,

12   correct?

13   A     Correct.

14   Q     You were asked some questions on cross-examination about

15   various things that happened in your travels to see Mr. Kelly.

16   Do you remember those questions?

17   A     Correct.

18   Q     And I think you testified on cross-examination that

19   certain things happened on those trips that you were

20   uncomfortable with or that you didn't want to happen; is that

21   correct?

22   A     Correct.

23   Q     You also testified yesterday that there were two sides to

24   the defendant, correct?

25   A     Correct.



         Rivka Teich, CSR, RPR, FCRR, RMR        Official Court Reporter
                                       A 905
          Case 22-1481, Document 73, 04/17/2023, 3500774, Page64 of 303

                          Faith - Redirect - Shihata                       2389


 1   Q     In fact, you testified that at the very beginning of your

 2   testimony, correct?

 3   A     Yes.

 4   Q     That it wasn't all bad, correct?

 5   A     Correct.

 6   Q     Just before you finished, Mr. Cannick asked you some

 7   questions about a podcast where you indicated you didn't like

 8   the term victim, right?

 9   A     Correct.

10   Q     In that same podcast did you also say you didn't like the

11   term survivor?

12   A     Correct.

13   Q     Mr. Cannick asked you a lot of questions about choices

14   you made.    Do you remember those questions?

15   A     Correct.

16   Q     And pretty much all of the questions asked you about

17   choices to get on flights and choices to contact Diana.              Those

18   were all things you had talked about and testified about on

19   direct examination, correct?

20   A     Correct.

21   Q     In your time seeing the defendant, the defendant also

22   made some choices, correct?

23   A     Correct.

24                MR. CANNICK:   Objection.

25                THE COURT:   Overruled.



         Rivka Teich, CSR, RPR, FCRR, RMR        Official Court Reporter
                                     A 906
          Case 22-1481, Document 73, 04/17/2023, 3500774, Page65 of 303

                           Faith - Recross - Cannick                      2390


 1   Q     The defendant chose not to tell you he had herpes,

 2   correct?

 3   A     Correct.

 4   Q     The defendant chose to ignore you when you said you

 5   weren't comfortable with sex, correct?

 6   A     Correct.

 7   Q     In Los Angeles the defendant chose to grab the back of

 8   your head, put his penis in your mouth, keep his hand pushing

 9   your head towards his penis with a gun next to him, correct?

10   A     Correct.

11              MS. SHIHATA:     No further questions.

12              THE COURT:    Any recross?

13              MR. CANNICK:     Yes.

14   RE-CROSS EXAMINATION

15   BY MR. CANNICK:

16   Q     And you made the choice to go back to see him, right?

17   A     Correct.

18   Q     After he had done all those things to you --

19   A     Correct.

20   Q     -- according to you, right?

21   A     Correct.

22   Q     In fact, you didn't make the choice to go to another

23   city, you went to several other cities, am I correct, to visit

24   him after that?

25   A     After what?



         Rivka Teich, CSR, RPR, FCRR, RMR        Official Court Reporter
                                     A 907
          Case 22-1481, Document 73, 04/17/2023, 3500774, Page66 of 303

                           Faith - Recross - Cannick                      2391


 1   Q     You don't know what I'm talking about?

 2   A     I don't.

 3                THE COURT:   I don't actually either.

 4   Q     We're talking about the fact the Government just asked

 5   her on redirect about --

 6                THE COURT:   The easiest thing to do is put the

 7   question again, if you don't mind.

 8   BY MR. CANNICK:

 9   Q     After you saw -- it was in L.A. that, according to you,

10   he grabbed your head put it on his penis?

11   A     Correct.

12   Q     And according to you, it was in L.A. that he had the gun

13   next to him when he did this?

14   A     Correct.

15   Q     And after that, you went to see him in another city, am I

16   correct?

17   A     Correct, one last time.

18   Q     But you went to see him in another city after that, am I

19   correct?

20   A     Yes.

21   Q     What city was that?

22   A     New York.

23   Q     You went through making the choice of contacting him for

24   another trip, am I correct?

25   A     Correct.



         Rivka Teich, CSR, RPR, FCRR, RMR        Official Court Reporter
                                     A 908
          Case 22-1481, Document 73, 04/17/2023, 3500774, Page67 of 303

                           Faith - Recross - Cannick                      2392


 1   Q     The Government asked you a short while ago about, you

 2   were told to ask Diana to give you permission to do things?

 3   A     I'm sorry.   Can you ask that question again?

 4   Q     You testified a short while ago in a question put to you

 5   that you were told to ask Diana for permission to do things?

 6   A     That's incorrect.     That's not what I said.

 7   Q     My question was, was that asked of you a short while ago

 8   by the Government?

 9   A     No.

10   Q     You didn't ask her say you had to ask Diana for

11   permission?

12   A     No.

13   Q     You didn't have to ask anyone for permission?

14   A     I had to ask your client, R. Kelly.

15   Q     Beg your pardon?

16   A     R. Kelly.

17   Q     R. Kelly is who you had to ask for permission?

18   A     Correct.

19   Q     The permission that you were asking is what R. Kelly told

20   you, to check in with Diana to make sure that she knows where

21   you are and make sure that you're okay.         Isn't that a fact?

22   A     Correct.

23               MR. CANNICK:    Thank you.

24               THE COURT:    Anything else?

25               MS. SHIHATA:    No, your Honor.



         Rivka Teich, CSR, RPR, FCRR, RMR        Official Court Reporter
                                     A 909
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page68 of 303

                                  Proceedings                            2393


 1             THE COURT:    The witness can step down.

 2             (Whereupon, the witness was excused.)

 3             THE COURT:    I think this is a good time to take our

 4   afternoon break.    It will be about ten minutes.        Don't talk

 5   about the case.    We'll see you soon.

 6             THE COURTROOM DEPUTY:        All rise.

 7             (Jury exits the courtroom.)

 8             THE COURT:    I trust there is nothing anybody has to

 9   bring up before the break?

10             MS. SHIHATA:     No, your Honor.

11             MR. CANNICK:     No, your Honor.

12             THE COURT:    Who is the next witness.

13             MS. SHIHATA:     Kelly.

14             THE COURT:    We'll see you after the break.

15             MS. GEDDES:     One small matter, our witness I believe

16   after this next witness is going to be testifying by video.           I

17   think we'll just need like a few minutes to set up the video.

18             THE COURT:    That's fine.

19             (Brief recess.)

20             THE COURT:    Just before we call the next witness, I

21   need to see Ms. Shihata and Mr. Cannick at sidebar.           We don't

22   need the reporter.

23             (Discussion held off the record at sidebar.)

24             THE COURT:    Do you want to get the witness, unless

25   there is anything somebody wants to raise?         All right.



       Rivka Teich, CSR, RPR, FCRR, RMR         Official Court Reporter
                                    A 910
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page69 of 303

                                 Anna - cross - Cannick                  2986


 1   ANNA,

 2           having been previously duly sworn, was examined and

 3           testified as follows:

 4   CROSS EXAMINATION

 5   BY MR. CANNICK:

 6   Q       Now, did you meet with the Government last night after we

 7   recessed?

 8   A       No.

 9   Q       After we left last night at 5:30, you didn't meet --

10   A       No, I did not, I left.

11   Q       Did you see them last night?

12   A       No.

13                  MR. CANNICK:    Now, I'm going to ask that these be

14   marked as defense GG, HH, II, and JJ.

15                  May I show them to the witness?

16                  THE COURT:    Sure.

17   Q       Would you look through them, please?

18                  Do you recognize them?

19   A       Yes.

20   Q       What do you recognize them to be?

21   A       Pictures of me and Rob.

22                  MR. CANNICK:    Your Honor, I offer them into

23   evidence.

24                  THE COURT:    Any objection?

25                  MS. CRUZ MELENDEZ:      No objection.



                           MDL        RPR         CRR   CSR
                                          A 911
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page70 of 303

                               Anna - cross - Cannick                    2987


 1                THE COURT:    All right.      Those are in evidence.

 2                (Defendant's Exhibits GG, HH, II, and JJ received in

 3   evidence.)

 4                MR. CANNICK:    Your Honor, I would ask that they be

 5   published.

 6                THE COURT:    Okay.

 7                (Exhibit published.)

 8                THE COURT:    Do they get published?

 9                MR. CANNICK:    Your Honor, we are just trying to --

10                THE COURT:    Sticking?

11                MR. CANNICK:    Yes.

12   Q    This photo that we are looking at now, you're in that

13   photograph?

14   A    Correct.

15   Q    And Robert Kelly is as well?

16   A    Correct.

17   Q    Do you know where this photograph was taken?

18   A    The house in Johns Creek that had the pool.

19   Q    And this was a party?

20   A    My birthday party; correct?

21   Q    I'm sorry, I didn't hear you.

22   A    My birthday party.

23   Q    Your birthday party?

24   A    Yes.

25   Q    And this is a party that he flew in his band that he had



                         MDL        RPR         CRR    CSR
                                        A 912
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page71 of 303

                               Anna - cross - Cannick                    2988


 1   to perform internationally?

 2   A    Correct.

 3   Q    Basically, when he flew that band in for your birthday

 4   party, he basically performed a two-hour concert just to you,

 5   am I correct?

 6   A    Correct.

 7   Q    What's in the next one?         That's you in the photograph?

 8   A    Correct.

 9   Q    You are wearing a t-shirt?

10   A    Yes.

11   Q    And that t-shirt has Mr. Kelly's face on it?

12   A    Correct.

13   Q    When was that photograph taken?

14   A    When or where?

15   Q    When.

16   A    I'm not sure when.       I don't remember when.

17   Q    Do you remember where?

18   A    I believe we were at the shops at Buckhead.

19   Q    The shops at Buckhead?

20   A    Yes.

21   Q    In Atlanta?

22   A    Yes.

23                MR. CANNICK:    Next photograph, please.

24   Q    Is this a photograph, another photograph of you and Mr.

25   Kelly?



                         MDL        RPR      CRR     CSR
                                     A 913
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page72 of 303

                                 Anna - cross - Cannick                    2989


 1   A       Correct.

 2   Q       Do you recall where that photograph was taken?

 3   A       A club called Gold Room in Buckhead in Georgia.

 4   Q       Do you remember what time?

 5   A       It was in the evening, so maybe like 12:00, 1:00 a.m.

 6   Q       About what year?      Do you recall what year?

 7   A       I don't recall what year.

 8                  MR. CANNICK:    Next.

 9   Q       These are photographs of yourself at your party?

10   A       Correct.

11   Q       And this was a stage that you were on or was this a pool

12   area?

13   A       That was just the pool area.

14   Q       And the concert that he performed, he had a concert

15   setting?

16   A       It was in the living room.        Basically, everything was

17   rearranged for that, so, yes.

18   Q       In fact, he hired an event planner, am I correct?

19   A       I believe so, yes.

20   Q       And the event planner staged the entire evening?

21   A       I'm not really sure who did, but....

22   Q       It was staged?

23   A       Yes.

24   Q       You enjoyed yourself; right?

25   A       Yes.



                           MDL        RPR      CRR     CSR
                                       A 914
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page73 of 303

                              Anna - cross - Cannick                     2990


 1   Q   Your parents did?

 2   A   My mom did, yes.

 3   Q   Your mom did.

 4              You had family and friends there?

 5   A   Yes.

 6   Q   They all had a good time; right?

 7   A   Yes.

 8              MR. CANNICK:     The next one, please.

 9   Q   The same scenario here, your birthday party?

10   A   Correct.

11              MR. CANNICK:     Next one, please.

12              Can you tighten it up some.

13   Q   Do you see yourself there?

14   A   Yes.

15   Q   Are you to the right?

16   A   To the -- in the sparkly dress to the right, yes.

17   Q   The sparkly dress?

18   A   Uh-hum.

19   Q   And that's Mr. Kelly's left arm around your neck?

20   A   Correct.

21   Q   In a hugging fashion, am I correct?

22   A   Correct.

23   Q   The person who's on his right, who's that person?

24   A   Joy.

25   Q   Joy.   Okay.    Do you remember when that was taken?



                        MDL        RPR      CRR      CSR
                                    A 915
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page74 of 303

                                  Anna - cross - Cannick                      2991


 1   A       This was in L.A., Snoop Dogg's wife's birthday or

 2   something like that.

 3   Q       And he took you and Joy to that party?

 4   A       Correct.

 5   Q       Do you remember how you got there?

 6   A       I believe we all rode in the Sprinter.

 7   Q       So went cross country in the Sprinter?

 8   A       No.    We were already there, I believe.         We could have

 9   been there.       I don't remember what we were there for already,

10   but we were already in L.A.

11   Q       Okay.    And do you recall how long you stayed there, in

12   L.A.?

13   A       Might be a week or two.         I don't really remember.

14   Q       You did a lot of traveling with Mr. Kelly, did you not?

15   A       Traveling, yes.

16   Q       And I think you -- you told us yesterday that you did a

17   lot of shopping with him as well?

18   A       Correct.

19   Q       And a lot of restaurants and cigar bars?

20   A       Yes.

21   Q       Now, I asked you yesterday about the time that this

22   incident -- I think it was in Mobile where Mr. Kelly and you

23   had an argument.

24                   Do you remember you telling us that?

25   A       Correct.



                            MDL        RPR      CRR     CSR
                                        A 916
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page75 of 303

                               Anna - cross - Cannick                    2992


 1   Q    Now, you thought that Mr. Kelly -- well, withdrawn.

 2                You were of the mind that Mr. Kelly thought you were

 3   texting another guy, correct?

 4   A    Correct.

 5   Q    And you told that to the Government, correct?

 6   A    Correct.

 7   Q    And essentially, in that interview, you basically told

 8   them that notwithstanding the arguments that you and Mr. Kelly

 9   had you weren't afraid of him?

10   A    I could have said that.         I don't remember.

11   Q    Okay.    Let's see if this refreshes your recollection.

12   A    So where I say I speak my mind?          Okay.

13   Q    So after reading this and having your -- did it refresh

14   your recollection that you told the Government in your

15   interview with them, one of the interviews, that despite the

16   arguments, you weren't afraid of Mr. Kelly?

17   A    Correct.

18   Q    And you also told them that you still speak your mind?

19   A    Correct.

20   Q    And you also told them that you'd always stand up for

21   yourself?

22   A    Most of the time.       I said that, but most of the time.

23   Q    Right.    But what you told them is that you would always

24   stand up for yourself?

25   A    Correct.



                         MDL        RPR      CRR      CSR
                                     A 917
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page76 of 303

                               Anna - cross - Cannick                    2993


 1   Q    Now, when you left Mr. Kelly after that incident and you

 2   went to the airport, eventually Mr. Kelly paid for a room for

 3   you because he didn't want you to be out there alone, am I

 4   correct?

 5   A    Correct.

 6   Q    And then he eventually paid for your flight to leave, am

 7   I correct?

 8   A    Correct.

 9   Q    Now -- and we talked about this text he asked you to

10   write -- we talked about this yesterday, a text that he asked

11   you to write.    Do you remember telling us about that?

12   A    Which text?

13   Q    Well, you told the jury that it was a letter that he had

14   wanted you to write, but it was a text, was it not?

15   A    Depending on which time, which text?

16   Q    That -- it was you who attacked him.

17                THE COURT:    I'm not clear either.      Are you talking

18   about a text message or a handwritten letter?

19                MR. CANNICK:    Well, her testimony was, Your Honor,

20   that --

21                THE COURT:    Was it a text?

22                MR. CANNICK:    -- a written letter.

23                THE WITNESS:    I don't remember a text.     I do

24   remember writing the letter.

25   Q    I will show you this and see if it refreshes your



                         MDL        RPR      CRR     CSR
                                     A 918
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page77 of 303

                               Anna - cross - Cannick                    2994


 1   recollection that it was a text.

 2   A    Okay.

 3                MR. CANNICK:    Let's find it.

 4   Q    Again, right where my finger is, my thumb.

 5                You've read it?

 6   A    Yes.

 7   Q    Does it refresh your recollection that Mr. Kelly asked

 8   you to send him a text indicating that the situation was not

 9   his fault, that you attacked him?

10   A    The events that I just read were correct, but I don't

11   recall sending a text message.

12   Q    Okay.    But that's what's in here, am I correct, in this

13   document?

14   A    Correct.    About the incident that happened, correct?

15   Q    Yes.

16   A    Yes.

17   Q    And him asking you to send a text?

18                MS. CRUZ MELENDEZ:      Objection.

19   A    I don't remember the text part.

20   Q    Okay.    Now -- and that night after you went back to the

21   airport so that you could leave, there were no flights, am I

22   correct, that evening?

23   A    Correct.

24   Q    And then it was that time that he paid for you to get a

25   hotel so you wouldn't have to be alone?



                         MDL        RPR      CRR       CSR
                                     A 919
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page78 of 303

                                 Anna - cross - Cannick                  2995


 1   A       Correct.

 2   Q       Now, there came a point in time that the Savages started

 3   making public comments about Mr. Kelly, am I correct?

 4   A       Correct.

 5   Q       And you told -- and after they started doing that, Mr.

 6   Kelly, according to you, didn't trust anyone anymore, am I

 7   correct?

 8   A       That he didn't trust anyone?

 9   Q       Yes.

10   A       Correct.

11   Q       And that was -- that distrust came before your mother

12   visited, am I correct?

13   A       Correct.

14                  MS. CRUZ MELENDEZ:       Objection.

15                  THE COURT:    Overruled.

16   Q       Now, when you were with Mr. Kelly, you never had an issue

17   where you didn't have food, am I correct?

18   A       No.

19   Q       I'm not correct?

20   A       I mean you're correct.         I never had an issue with food,

21   yeah.

22   Q       And you never had a situation where you didn't have

23   water, am I correct?

24   A       Correct.

25   Q       And you never had to, when you were with Mr. Kelly, spend



                           MDL        RPR       CRR       CSR
                                       A 920
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page79 of 303

                               Anna - cross - Cannick                    2996


 1   money on anything, am I correct?

 2   A    Correct.

 3   Q    In fact, he would give you money, am I correct?

 4   A    Correct.

 5   Q    Substantial sums, am I correct?

 6   A    Correct.

 7   Q    Now, Jane was jealous of you and your relationship with

 8   Mr. Kelly?

 9                MS. CRUZ MELENDEZ:       Objection.

10                THE COURT:    Sustained.

11   Q    Now, what was your relationship with Jane?

12                THE COURT:    Didn't we have this testimony yesterday

13   that they didn't get along?          I'm quite certain I remember

14   hearing it.    I don't want to do the same thing over again.

15                MR. CANNICK:    Okay.     I'm sure your recollection is

16   better than mind.

17                THE COURT:    Well, I don't know about that.

18   Q    Now, you testified yesterday about spanking?

19   A    Correct.

20   Q    Now, you were of the mind that Mr. Kelly viewed spanking

21   as a punishment?

22   A    Correct.

23   Q    And but you also were of a mind that it was a sexual turn

24   on for him, am I correct?

25   A    Correct.



                         MDL        RPR       CRR       CSR
                                     A 921
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page80 of 303

                               Anna - cross - Cannick                    2997


 1   Q    And the spanking, light spanking as well, am I correct?

 2             THE COURT:       I didn't hear what you said.

 3             MR. CANNICK:       Light spanking.

 4             THE COURT:       Who did?

 5             MR. CANNICK:       I'm saying this punishment was light

 6   spanking as well.

 7             THE COURT:       Light.    I see.

 8   A    I would not say light.

 9             MR. CANNICK:       Just one second.

10   Q    I'm going to she if this refreshes your recollection.

11   Well, withdrawn.

12             When you met with the Government and you were

13   interviewed by the Government, you told them that sometimes

14   the spankings were light; right?

15   A    I don't ever recall saying that.

16   Q    Again, where my thumb is.

17   A    I don't recall saying light.

18   Q    But it's in there, am I correct?

19   A    It's in there.

20   Q    What's in there, in fact, is that sometimes --

21             MS. CRUZ MELENDEZ:         Objection, Your Honor.

22   Q    -- there were light spankings?

23             THE COURT:       Well, sustained as to form.

24   Q    What you told them is that sometimes they were light

25   spankings, am I correct?



                         MDL        RPR      CRR     CSR
                                     A 922
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page81 of 303

                               Anna - cross - Cannick                    2998


 1   A    I don't recall telling them that.

 2   Q    But it's in the document you just read?

 3   A    It's in the document.

 4   Q    Okay.    Now, you testified and told us about an occasion

 5   or occasions where you urinated in a cup on the Sprinter?

 6   A    Correct.

 7   Q    Now, Mr. Kelly, according to you, his assistants also

 8   urinated in the cups of the Sprinter, am I correct?

 9   A    Yeah, I mean, everybody kind of did.

10   Q    Everybody.

11                Now, if you really didn't want to do something, an

12   activity that Mr. Kelly suggested, you wouldn't do it, am I

13   correct?

14   A    No, that's not correct.

15   Q    That's not correct.

16                Isn't it fact that you told the Government that if

17   you vehemently did not want to engage in some activity, you

18   wouldn't do it?

19   A    I wouldn't say all the time, but sometimes, yes.

20   Q    Okay.    That's what you told the Government, am I correct?

21   A    Could have.    I don't remember.

22   Q    Let's see if this refreshes your recollection.

23   A    Okay.

24   Q    The portion where my thumb is.

25                Finished reading it?



                         MDL        RPR      CRR     CSR
                                     A 923
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page82 of 303

                               Anna - cross - Cannick                    2999


 1                Thank you.

 2                Isn't it a fact that you told the Government during

 3   one of those interview sessions that if you vehemently did not

 4   want to engage in some activity, you wouldn't do it?

 5   A    I would say sometimes.          It does say that on there, but

 6   sometimes.

 7   Q    But on this document that you read --

 8   A    Correct.

 9   Q    -- it says that, am I correct?

10   A    Correct.

11   Q    Now --

12                MR. CANNICK:    Your Honor, may that question and

13   answer be read back, please.

14                (Record read.)

15                THE COURT:    I don't know which question.

16                MR. CANNICK:    The last.

17                THE COURT:    But on this document, is that the one?

18                MR. CANNICK:    Yes.

19                THE COURT:    All right.     Do you mind?

20                (Record read.)

21   Q    Now, these punishments that you told us about, none of

22   them would happen, according to you, for not doing something,

23   am I correct?    Not doing something that was asked of you by

24   Mr. Kelly?

25   A    I can't recall.



                         MDL        RPR       CRR     CSR
                                     A 924
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                                  Anna - cross - Cannick                  3000


 1   Q       You can't recall what?

 2   A       That whatever you just said, that it was....

 3   Q       Well, let's see if this refreshes your recollection.

 4                   Where my thumb is located at.

 5                   Having read the document, does it refresh your

 6   recollection that you told the Government that none of the

 7   punishment you suffered were because you said you didn't want

 8   to do something?

 9   A       It's there on the document.        I don't recall fully saying

10   that.

11   Q       It's on the document?

12   A       It's on the document.

13   Q       Okay.    And you were the person that was being interviewed

14   when this was being drafted?

15   A       Correct.

16   Q       Now, you -- isn't it fact that you told the Government

17   that punishments were more for things that Kelly thought that

18   you were doing behind his back, like lies?

19                   MS. CRUZ MELENDEZ:      Objection.

20                   THE COURT:    Overruled.

21                   Did you make that statement?

22   A       I don't recall making that statement.

23   Q       Picking up where you left --

24   A       Right.    I see that.     I just don't recall saying that.

25   Q       Okay.    But it's on the document?



                            MDL        RPR      CRR       CSR
                                        A 925
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page84 of 303

                              Anna - cross - Cannick                       3001


 1   A    Correct.

 2   Q    Now, you testified yesterday and told us about when you

 3   and Mr. Kelly finally terminated the relationship.           Do you

 4   remember telling us about that?

 5   A    I was what?

 6   Q    When you told us about the time that you and Mr. Kelly,

 7   the relationship terminated.        Do you recall telling us that?

 8   A    Correct.

 9   Q    Now, this happened as a result of your having gone away

10   home and then you returned, am I correct?

11   A    You're saying the ending of our relationship?

12   Q    Yes.

13   A    I'm not understanding the other question.

14   Q    You testified yesterday and told us that there came a

15   point in time that you and Mr. Kelly's relationship

16   terminated.   Do you remember telling us about that?

17   A    Correct.

18   Q    And I think you testified and told us that this happened

19   after you had returned to Mr. Kelly from, I think it was a

20   Christmas trip, am I correct?

21   A    Correct.

22   Q    Okay.    And if -- this, according to you, happened because

23   when you returned you realized that Mr. Kelly had had women at

24   the apartment, am I correct?

25   A    In the hotel, correct.



                        MDL        RPR      CRR      CSR
                                    A 926
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page85 of 303

                               Anna - cross - Cannick                    3002


 1   Q    At the hotel.

 2   A    Yes.

 3   Q    And you saw evidence of that, am I correct?

 4   A    Correct.     In the hotel room we were staying in.        Correct.

 5   Q    And then you spoke to him about it?

 6   A    Yes.

 7   Q    And you were under the impression that Jane had been

 8   there, am I correct?

 9   A    I think all of them.

10   Q    You thought all of his girlfriends?

11   A    Yeah.   Uh-hum.

12   Q    And then you had words about it and you left him, am I

13   correct?

14   A    I think we got into an argument, and then, yeah, I left

15   the hotel and went outside.

16   Q    Okay.   And there came a point in time a couple of weeks

17   later, you sent Mr. Kelly a text; right?

18   A    I don't recall.

19   Q    You don't recall sending him a text where you were

20   holding a baby?

21   A    Where I was holding a baby?

22   Q    Yeah.

23   A    I don't remember.

24   Q    Okay.   And whatever your recollection is, Mr. Kelly never

25   text you again, am I correct?



                         MDL        RPR      CRR     CSR
                                     A 927
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page86 of 303

                          Anna - redirect - Shihata                      3003


 1   A    I wouldn't say that, no.

 2   Q    You're saying he texted you again?

 3   A    Not like recently, but we communicated down the line.

 4   Q    After -- after the relationship was terminated?

 5   A    Correct.

 6   Q    And he didn't ask you to come back to him, did he?

 7   A    No.

 8   Q    And you didn't ask him --

 9   A    No.

10   Q    -- to go back, am I correct?

11   A    Correct.

12   Q    Okay.

13                MR. CANNICK:   Just a second, please, Your Honor.

14                THE COURT:   Yes.

15                MR. CANNICK:   That's it.      Thank you.

16                THE COURT:   Okay.    Any redirect?

17                MS. CRUZ MELENDEZ:     Yes, Your Honor.

18   REDIRECT EXAMINATION

19   BY MS. CRUZ MELENDEZ:

20   Q    During cross-examination yesterday, defense counsel asked

21   you about a radio program that you gave some statements about?

22   A    Correct.

23   Q    And in response to his question, you stated that that was

24   different, a different situation from where we are here, when

25   you say where we are here, do you mean your testimony here



                         MDL      RPR          CRR    CSR
                                       A 928
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page87 of 303

                          Anna - redirect - Shihata                      3004


 1   today?

 2   A    Correct.    I felt like obviously it's different with you

 3   guys telling, you know, everything.

 4              MR. CANNICK:    Objection.

 5              THE COURT:     Overruled.

 6   Q    You can continue.

 7   A    So, yeah, that's why I didn't feel the need to tell the

 8   radio everything.    I was actually trying to make him not sound

 9   like everything that people were saying.

10   Q    Now, you were subpoenaed to testify here today; correct?

11   A    Correct.

12   Q    Is it fair to say that you don't want to be testifying

13   about some of the private things that happened with respect to

14   your relationship with the defendant; correct?

15   A    Correct.    I definitely didn't want to come do this, but

16   I'm having to.

17   Q    And you are here under oath; correct?

18   A    Correct.

19   Q    Now, when you were talking on that radio program, you

20   weren't under oath there; correct?

21   A    Correct.

22   Q    And isn't it fair to say that when you went on that radio

23   program, you weren't there to talk about the defendant;

24   correct?

25   A    Correct.



                         MDL      RPR       CRR      CSR
                                    A 929
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page88 of 303

                           Anna - redirect - Shihata                     3005


 1   Q    Okay.   You were there to talk about other issues having

 2   to do with yourself and your career; right?

 3   A    Correct.

 4   Q    Isn't it also fair to say that you said that there were

 5   ups and downs in your relationship with the defendant;

 6   correct?

 7   A    Correct.

 8   Q    And that you didn't want to fully go into everything or

 9   go fully into depth with respect to your relationship with the

10   defendant; right?

11   A    Correct.

12   Q    Now, defense counsel also asked you about your appearing

13   on the second part of Surviving R. Kelly.         Do you remember

14   testifying to that?

15   A    Correct.

16   Q    I think you testified that you couldn't remember the

17   exact month that that appeared, but that it happened sometime

18   in 2020?

19   A    Correct.

20   Q    Were you still with the defendant in 2020?

21   A    No.

22   Q    When you -- do you know when the first portion of

23   Surviving R. Kelly, that docu series aired?

24   A    I can't fully remember.

25   Q    Do you remember whether you were with the defendant when



                         MDL      RPR       CRR      CSR
                                    A 930
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page89 of 303

                          Anna - redirect - Shihata                      3006


 1   that aired?

 2   A    I think it was being talked about when I was with him,

 3   but I don't think it was aired yet.          I think they were film --

 4   or I don't know, but I did hear about it.

 5   Q    You didn't participate in that first portion of Surviving

 6   R. Kelly, did you?

 7   A    No.

 8   Q    I think you testified yesterday that you ended the

 9   relationship with the defendant somewhere around New Year's

10   going into 2018; correct?

11   A    Correct.

12   Q    And defense counsel also asked you questions on

13   cross-examination with respect to the altercation that

14   happened between you and the defendant where your necklace was

15   broken.    Do you remember that?

16   A    Correct.

17   Q    That incident started because the defendant believed that

18   you were texting someone; correct?

19   A    Correct.

20   Q    During his concert; right?

21   A    Correct.

22   Q    That you were using your phone in a way that you weren't

23   supposed to be?

24   A    Correct.

25   Q    When that incident started, was the defendant upset?



                        MDL       RPR       CRR       CSR
                                    A 931
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page90 of 303

                           Anna - redirect - Shihata                     3007


 1   A    Correct.

 2   Q    Defense counsel questioned you on cross-examining with

 3   respect to that, about you having initiated physical contact

 4   with the defendant; right?

 5   A    Correct.

 6   Q    What was he doing right before you pushed him away?

 7   A    Yelling, raising his voice.

 8   Q    And after you pushed him, what did the defendant do?

 9   A    He grabbed me.

10   Q    Grabbed you up near your neck?

11   A    Up near my neck.

12   Q    How tall are you?

13   A    5'4".

14   Q    How much do you weigh?

15   A    125.

16   Q    Did you weigh about the same amount back when this

17   incident occurred?

18   A    Probably -- yeah, close to the same.

19   Q    And how tall approximately is the defendant?

20   A    He is 6'2", maybe.

21   Q    Now, with respect to that incident, defense counsel also

22   asked you questions about whether or not -- about whether or

23   not the defendant then paid for your airfare to go home after

24   that; correct?

25   A    Correct.



                        MDL       RPR       CRR      CSR
                                    A 932
           Case 22-1481, Document 73, 04/17/2023, 3500774, Page91 of 303

                            Anna - redirect - Shihata                      3008


 1   Q     Prior to him doing that, you had gone to the airport;

 2   correct?

 3   A     Correct.

 4   Q     And you testified that you couldn't get on the plane

 5   because you didn't have money for a ticket home; correct?

 6   A     Correct.

 7   Q     When you went to the airport, did you even bring all of

 8   your belongings with you?

 9   A     I believe I did have my suitcase with me.

10   Q     Were there other things that you didn't have with you

11   that you had brought with you on the trip?

12   A     Yes.   I believe I left like my makeup bag, and my -- when

13   my necklace broke, it was left behind, but I ended up getting

14   it.

15   Q     So it's fair to say you were in a rush to the airport;

16   correct?

17   A     Correct.

18   Q     And going back for a moment to the incident inside of the

19   hotel when the defendant grabbed you and you said that he was

20   yelling at you?

21   A     It was inside the arena but, yes.

22   Q     I'm sorry.    Inside the arena.      I apologize.     How was he

23   yelling at you?

24   A     Just in an aggressive tone, you know, upset.

25   Q     Where was he in relationship to you?



                          MDL       RPR       CRR      CSR
                                      A 933
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page92 of 303

                          Anna - redirect - Shihata                      3009


 1   A    Where was he?

 2   Q    Yes.

 3   A    In front of me.

 4   Q    So when you pushed him away, was he close to your face?

 5   A    Yes.

 6   Q    Now, when you went to the airport and you didn't have a

 7   ticket and couldn't afford a ticket and you came back, defense

 8   counsel asked you whether the defendant ultimately paid for

 9   your ticket.    Do you remember those questions?

10   A    Correct.

11   Q    Before he paid for your ticket, the defense counsel asked

12   you to write something; correct?

13   A    Correct.

14   Q    I'm sorry.    Not defense counsel.      I think I said defense

15   counsel.    The defendant asked you to write something?

16   A    Correct.

17   Q    He asked you to write a letter, a note; correct?

18   A    Correct.

19   Q    Now, defense counsel, on cross-examination, asked you

20   questions as to whether or not you indicated to the Government

21   that that was -- that you had written a text, right, instead

22   of a letter.    Do you remember him asking you about that?

23   A    I just don't remember -- I do remember writing the

24   letter.    I don't remember a text.     It could have been, but I

25   don't remember.



                        MDL       RPR       CRR      CSR
                                    A 934
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page93 of 303

                            Anna - redirect - Shihata                    3010


 1   Q       He showed you a document that was prepared by someone

 2   other than you; correct?

 3                  Defense counsel, when he asked you about the text,

 4   showed you a document?

 5   A       Oh, yes.

 6   Q       You didn't prepare that document; right?

 7   A       What it said sounded right, but I don't remember saying

 8   or --

 9                  THE COURT:   I think the question is did you write

10   that report that he showed you?

11                  THE WITNESS:   I don't recall writing that, no.

12                  THE COURT:   All right.   Go ahead.

13   Q       And I'll show it to you again, but you've never seen this

14   before; correct?

15   A       No.

16   Q       I'm going to show you what defense counsel showed you for

17   a moment and I will direct your attention, but you also

18   referred to this -- to the Government as a letter?

19                  MR. CANNICK:   Objection as to form.

20                  THE COURT:   Overruled.

21   A       She wrote the --

22   Q       Don't read it out loud?

23                  THE COURT:   You don't have to read it.

24   Q       But did you refer to it as a letter?

25   A       Yes.   Yes.



                           MDL      RPR       CRR    CSR
                                      A 935
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page94 of 303

                          Anna - redirect - Shihata                      3011


 1   Q    And in that letter, the note that the defendant asked you

 2   to write, you testified that he asked you to write information

 3   in there to protect himself; correct?

 4   A    Correct.

 5   Q    Now, defense counsel, on cross-examination, asked you

 6   whether or not everything in that letter was true; correct?

 7   A    Correct.

 8   Q    Okay.   And I believe you testified that you weren't sure

 9   whether or not everything in the letter was true; correct?

10   A    Correct.

11   Q    Is it fair to say that there were instances where the

12   defendant asked you to write a letter and that created

13   falsehoods; correct?

14   A    Correct.

15   Q    In fact, during direct examination we went through some

16   of those letters; correct?

17   A    Correct.

18   Q    Is it also fair to say that there were instances, might

19   be sentences in there that may have been true, for example,

20   you testified about having told the defendant your age being

21   something different than what it actually was?

22   A    Correct.   Some things were true, some things weren't.

23   Q    And it's fair to say that in those types of letters the

24   defendant directed you to include falsehood; right?

25   A    Correct.



                        MDL       RPR       CRR      CSR
                                    A 936
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page95 of 303

                          Anna - redirect - Shihata                      3012


 1   Q    Referring again to that incident with respect to where

 2   the defendant broke your necklace when he grabbed you around

 3   your neck --

 4              MR. CANNICK:    Objection.    It's not the testimony.

 5   Q    Near the area of your neck.

 6              THE COURT:    I will sustain it as to form.

 7   Q    I think you testified that he grabbed you in your upper

 8   chest, near the area of your neck?

 9   A    Correct.

10   Q    Other instances in which the defendant hit you for having

11   -- withdrawn.

12              You testified about other instances in which the

13   defendant hit you; correct?

14   A    Correct.

15   Q    For example, you testified about the time where you were

16   walking in a hotel and he smacked you in your face; correct?

17   A    Correct.

18   Q    Did you initiate any physical contact with the defendant

19   before he smacked you?

20   A    No.

21   Q    Isn't it fair to say he smacked you because he thought

22   you were looking at other men?

23              MR. CANNICK:    Objection, Your Honor.

24   A    Correct.

25              THE COURT:    Overruled.



                        MDL       RPR       CRR      CSR
                                    A 937
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page96 of 303

                          Anna - redirect - Shihata                      3013


 1   Q    You also testified about a time where the defendant hit

 2   you because he believed you were texting with your

 3   ex-boyfriend.

 4   A    Correct.

 5   Q    Do you recall testifying about that?

 6   A    Correct.

 7   Q    And the defendant hit you then?

 8   A    Correct.

 9   Q    Did you initiate physical contact with the defendant

10   before he hit you?

11   A    No.

12   Q    Defense counsel, on cross-examination, asked you about

13   reasons you might receive punishments from the defendant.           Do

14   you recall those questions?

15   A    Yes.

16   Q    What were some of the reasons that you received

17   punishments?

18   A    Let me get my thoughts together really quick.

19                Say it I went shopping and didn't wear something

20   that was loose enough or had a little bit of makeup on, maybe

21   talking to one of the assistants about something I shouldn't

22   have been.

23   Q    What were some of the things you shouldn't have been

24   talking to the assistants about?

25   A    Could have been about the situation I was in, about the



                         MDL      RPR       CRR      CSR
                                    A 938
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page97 of 303

                           Anna - redirect - Shihata                     3014


 1   other girls.

 2   Q    And were you not supposed to be talking about these

 3   things because it was one of the defendant's rules?

 4   A    Correct.

 5   Q    You also talked about situations with respect to some of

 6   the other girls.    Are you referring to the defendant's other

 7   girlfriends?

 8   A    Correct.

 9   Q    Okay.     Were there rules regarding the types of

10   conversations that you could have with his other girlfriends?

11   A    Correct.

12   Q    Were you allowed to have private conversations with them?

13   A    No.

14   Q    And that's because that was one of the defendant's rules?

15   A    Correct.

16   Q    Fair to say that during the punishments that occurred --

17   let's focus in right now with the spankings -- that you didn't

18   initiate physical contact with the defendant before the

19   spankings?

20   A    No.

21   Q    Defense counsel asked you questions regarding the

22   spankings and I think he described them to you as having been

23   light.   Is that how you would describe them?

24   A    No.

25   Q    When you spoke to the Government, did you tell them that



                         MDL      RPR       CRR      CSR
                                    A 939
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page98 of 303

                           Anna - redirect - Shihata                     3015


 1   the spankings got harder?

 2   A       I don't remember saying between the two which it was.         I

 3   just --

 4   Q       How would you describe -- sitting here today, how would

 5   you describe the spankings?

 6   A       You mean, some of the time they would leave marks, that

 7   would kind of....

 8   Q       Were they painful?

 9   A       Yes.

10   Q       Is it fair to say that you told the Government that you

11   would cry?

12   A       Yes.

13   Q       So much know that snot would be coming out of your nose?

14   A       Correct.

15   Q       When the defendant spanked you, did he spank you multiple

16   times in one session?

17   A       Correct.

18   Q       Now, defense counsel showed you photographs of some

19   events that you attended with the defendant.          Do you recall

20   that?

21   A       Yes.

22   Q       And one of the events you said was a birthday party for

23   yourself; correct?

24   A       Correct.

25   Q       And you were dressed up for that birthday party; correct?



                         MDL      RPR       CRR      CSR
                                    A 940
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page99 of 303

                             Anna - redirect - Shihata                   3016


 1   A    Yes.

 2   Q    You testified previously that there were times where the

 3   defendant would tell you to get cute; correct?

 4   A    Correct.

 5   Q    But that other times, and you just testified, that for

 6   the most part the defendant wanted you to wear baggy clothing,

 7   no makeup and a baseball cap?

 8   A    Correct.

 9   Q    And that you would get in trouble if you didn't do that?

10   A    Correct.

11   Q    Defense counsel also asked you questions about your

12   having left the defendant during the course of your

13   relationship and then come back again.

14               Do you recall those questions?

15   A    Correct.    Yes.

16   Q    Why would you go back to the defendant?

17   A    It was, you know, in a relationship, habit and, you know,

18   like I said, feelings too, even though sometimes -- times were

19   hard, it was still hard to leave because at the time it's --

20   you know, you're -- I love him, so -- I loved him, so it was,

21   you know, feelings, and that would bring you back.

22               You know, just like people today, there are still

23   people out there that have similar issues like that and they

24   go back.    They leave.    They come back.

25               MR. CANNICK:    Your Honor, I'm objecting.



                        MDL        RPR       CRR     CSR
                                     A 941
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page100 of 303

                           Anna - redirect - Shihata                      3017


 1   A    -- it's how it is.

 2              THE COURT:    Overruled.

 3              MR. CANNICK:    It is about her testimony, her

 4   experience.

 5              THE COURT:    Overruled.

 6   Q    What, if any, expectations did you have -- withdrawn.

 7              You had testified on cross-examination that

 8   sometimes you left and came back even after the defendant was

 9   physically abusive towards you.         What expectations or hopes,

10   if any, did you have about whether or not that would change

11   when you came back?

12              MR. CANNICK:    Objection.

13              THE COURT:    Sustained as to form.

14              The question is did you hope that things would

15   change if you went back?

16              THE WITNESS:    Yeah, because when I would come back,

17   things would be great, you know.        He would be a little more

18   lenient, cool and laid back, you know, just like in the

19   beginning, you know, and then eventually, the longer time goes

20   on, the rules and stuff kicked back in.         So, yeah.

21   Q    And when you say the rules, the rules that we have talked

22   about and you have testified about --

23   A    Right.

24   Q    -- that the defendant instituted?

25   A    Correct.



                        MDL       RPR        CRR      CSR
                                     A 942
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page101 of 303

                            Anna - redirect - Shihata                     3018


 1   Q       Defense counsel asked you on cross-examination whether or

 2   not the defendant would take you shopping.         Do you recall

 3   that?

 4   A       Yes.

 5   Q       Did the defendant also physically abuse you?

 6   A       Yes.

 7   Q       Defense counsel asked you about whether or not the

 8   defendant would take you out to dinner.         Do you recall those

 9   questions?

10   A       Yes.

11   Q       Did the defense counsel -- did the defendant also make

12   you write letters with false information, embarrassing

13   information in it?

14   A       Correct.

15   Q       Defense counsel asked you whether or not the defendant

16   bought you gifts.      Do you recall those questions?

17   A       Yes.

18   Q       Did the defendant also make you record yourself doing

19   embarrassing and demeaning acts as punishment?

20   A       Yes.

21   Q       Defense counsel talked about the fact that the defendant

22   gave you money.

23                  Do you recall those questions?

24   A       Yes.

25   Q       Did the defendant also make you walk back and forth and



                           MDL     RPR       CRR      CSR
                                     A 943
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page102 of 303

                          Anna - redirect - Shihata                       3019


 1   call yourself a slut and a bitch?

 2   A    Correct.

 3              (Continued on following page.)

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                        MDL       RPR        CRR      CSR
                                     A 944
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page103 of 303

                             Anna - recross - Cannick                     3020


 1                MS. CRUZ MELENDEZ:         One moment, Your Honor

 2                THE COURT:    Sure.

 3                (Pause.)

 4                MS. CRUZ MELENDEZ:         Nothing further.

 5                THE COURT:    Any recross?

 6                MR. CANNICK:       Yes.

 7   RECROSS-EXAMINATION

 8   BY MR. CANNICK:

 9   Q    What ultimately caused you to leave the relationship was

10   other women and my client, am I correct?

11   A    Yes.

12                THE COURT:    Can you turn on your microphone?

13   Thanks.   Sorry about that.

14   Q    What caused you to leave the relationship, however, is my

15   client and other women, am I correct?

16   A    I would say it was more than just the other women.

17   Q    Well, you testified just a short while ago --

18   A    I did.

19   Q    -- 15 minutes ago, you testified and told this jury under

20   oath that what caused you to leave my client was the fact that

21   when you returned from a vacation, you found evidence of

22   another, of other women being with him in the hotel suite, am

23   I correct?

24   A    I would say that but that's just not the only reason.

25   It's everything.



                    CMH        OCR          RMR    CRR     FCRR
                                        A 945
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page104 of 303

                           Anna - recross - Cannick                       3021


 1   Q       That's what you told the government, am I correct?

 2   A       Yes, but there's some more to it.

 3   Q       But you didn't tell the government the other things that

 4   were to it that you're trying to suggest now; you told them

 5   the reason you left is because when you returned, you saw

 6   evidence of other women with him, am I correct?

 7                MS. CRUZ MELENDEZ:    Objection.

 8                THE COURT:    Overruled.

 9   A       Correct.

10   Q       Now, you don't need to be put under oath to tell the

11   truth then, right?

12                MS. CRUZ MELENDEZ:    Objection.

13                THE COURT:    Sustained.

14                Just put a question to the witness.

15   Q       You testified and told us that when, I think the

16   government asked you this question, that when you were with

17   the radio station giving this interview, you were not under

18   oath.    Do you remember them asking you that question?

19   A       Correct.

20   Q       Now, are you suggesting that you need to be under oath in

21   order to tell the truth?

22                MS. CRUZ MELENDEZ:    Objection.

23                THE COURT:    Overruled.

24   A       I didn't feel like I had to tell them that.        I mean, this

25   is a different situation so it's different.



                    CMH        OCR     RMR      CRR      FCRR
                                     A 946
            Case 22-1481, Document 73, 04/17/2023, 3500774, Page105 of 303

                              Anna - recross - Cannick                       3022


 1   Q      My question is do you have to be under oath to tell the

 2   truth?

 3   A      No, you don't but it's choice as well.

 4   Q      You had a choice?

 5   A      Then, yes.

 6   Q      Now, so you testified and told us that you would get in

 7   trouble for speaking to an assistant, one of Mr. Kelly's

 8   assistants, for discussing certain items with them.              Do you

 9   remember telling us that?

10   A      Discussing certain items?

11   Q      Yes, you would have conversations with an assistant.               You

12   were asked that just a short while ago?

13   A      Correct.

14   Q      Okay.    Who was the assistant you got in trouble for

15   talking to?

16   A      It can be not just one individual.

17   Q      Well --

18   A      I talked to all of them.

19   Q      Well, who did you get in trouble --

20   A      I would say all of them because they would talk to me

21   too.

22   Q      Diana Copeland, did you get in trouble for talking to

23   her?

24   A      Yes.

25   Q      Okay.



                      CMH      OCR       RMR       CRR      FCRR
                                        A 947
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                         Anna - redirect - Cruz Melendez                  3023


 1              MR. CANNICK:       Just going over a few things,

 2   Your Honor.

 3              THE COURT:    It's okay.

 4   Q    You testified on redirect that after abuse, having been

 5   abused, you would go back to Mr. Kelly?

 6   A    Correct.

 7   Q    And you went back several times, am I correct?

 8   A    Correct.

 9   Q    More than a dozen, am I correct?

10   A    I wouldn't say more than a dozen but --

11   Q    Many times?

12   A    Many times.

13   Q    And it was your decision to go back, am I correct?

14              THE DEFENDANT:      Correct.

15   Q    You missed those shopping sprees?

16              MS. CRUZ MELENDEZ:      Objection.

17              THE COURT:    Sustained.

18              MS. CRUZ MELENDEZ:      Just very briefly, Your Honor.

19              THE COURT:    Okay.

20   REDIRECT EXAMINATION

21   BY MS. CRUZ MELENDEZ:

22   Q    Defense counsel asked you on cross-examination about the

23   defendant's assistants?

24   A    Correct.

25   Q    Who paid for those assistants?



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                           Anna - recross - Cannick                         3024


 1   A    Robert.

 2   Q    And defense counsel asked you about the reason that you

 3   ultimately left the defendant, correct?

 4   A    Correct.

 5   Q    My question to you is what were the reasons that you left

 6   the defendant?

 7   A    I feel like it was everything built up over time.               That

 8   just happened to be that incident that happened that really

 9   caused me to just be, like, okay, I can't do this anymore but

10   it was not just that.     I feel like it was everything built up

11   over time and I finally was, like, okay, I don't want this

12   life for myself and I found the strength to just move on.

13              MS. CRUZ MELENDEZ:      Nothing further.

14   RECROSS-EXAMINATION

15   BY MR. CANNICK:

16   Q    You didn't tell that to the government during your

17   interview, right?

18   A    I don't recall.     I don't know if that question was fully

19   asked like that so no.

20   Q    No, you didn't tell them that, but you did tell them that

21   it was his other women?

22              MS. CRUZ MELENDEZ:      Nothing further.

23              THE COURT:    Is that a question?

24              MR. CANNICK:       It's a question.

25              THE COURT:    Okay.



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                                      A 949
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                           Anna - recross - Cannick                            3025


 1   A    What kind, what question was it really?

 2   Q    You didn't hear?

 3                THE COURT:    Well, you don't have your microphone on

 4   to be fair.

 5                MR. CANNICK:       My mic is on.

 6                THE COURT:    And I couldn't hear it.

 7                MR. CANNICK:       You know what?        I withdraw it.

 8                THE COURT:    All right.         Nothing else from the

 9   government?

10                MS. CRUZ MELENDEZ:         No.

11                THE COURT:    The witness can step down.            Thank you

12   very much.

13                (Witness excused.)

14                THE COURT:    Are you ready to call your next witness?

15                MS. SHIHATA:       Yes.    The government calls Dr. Iffath

16   Hoskins.

17                THE CLERK:    Please stand and raise your right hand.

18                (The witness, IFFATH HOSKINS, was duly

19   sworn/affirmed by clerk.)

20                THE WITNESS:       Thank you.     You may be seated.

21                THE COURT:    You can remove your mask.

22                THE WITNESS:       Thank you.

23                THE COURT:    And let's make sure, first of all, your

24   microphone is on and move it a little closer to you.

25                So just a few things before we begin.               I just want



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                          Hoskins - direct - Shihata                        3026


 1   to make sure that everybody can hear you.

 2              THE WITNESS:       Yes, ma'am.

 3              THE COURT:    So I'm going to ask you to make sure

 4   you're speaking into the microphone and speak slowly.            Our

 5   court reporter takes down everything you say.          It makes it

 6   easier if you take your time.       For the same reason, try not to

 7   talk over whichever lawyer is asking you questions.           If there

 8   is a question that isn't clear or you'd like to have repeated,

 9   let me know and I'll have the lawyer do that and just do your

10   best to answer only the question this you're being asked.

11              Okay?

12              THE WITNESS:       Yes, ma'am.

13              THE COURT:    All right.      Go ahead.

14              MS. SHIHATA:       Thank you, Your Honor.

15   DIRECT EXAMINATION

16   BY MS. SHIHATA:

17   Q    Good morning.     What is your profession?

18   A    Good morning.     My profession is obstetrics, gynecologist,

19   women's health care.

20   Q    Are you currently employed somewhere?

21   A    Yes, ma'am.

22   Q    Where are you employed?

23   A    At New York University.

24   Q    And is it a particular part of New York University?

25   A    Yes, the medical aspect.       New York University School of



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                          Hoskins - direct - Shihata                      3027


 1   Medicine.

 2   Q    And do you have any other employment as well outside of

 3   New York University?

 4   A    Yes, I do.    I also work at Bellevue Hospital which is the

 5   public health system hospital.

 6   Q    That's the public health system here in New York?

 7   A    Yes, ma'am.    It's called Health and Hospitals and

 8   Bellevue Hospital is the flagship hospital of that public

 9   health system.

10   Q    And what is your position at NYU?

11   A    At NYU, I have an academic position which is professor.

12   I also have a clinical position which is director of patient

13   safety.

14   Q    And what is that, being director of patient safety?

15   A    So director of patient safety is a concept whereby -- NYU

16   is a private hospital so every patient is brought in by a

17   private attending and the idea is that this individual, this

18   patient safety person, myself or others in my own division,

19   would be the ones during any window of time to be helping to

20   ensure that all the safety protocols are being followed and/or

21   if there's emergencies and/or if there's complications and/or

22   if there's any question that needs to be addressed, to help

23   out with any and all of those.

24   Q    And are you the -- do you hold this position in the

25   Department of Obstetrics and Gynecology?



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                          Hoskins - direct - Shihata                      3028


 1   A    Yes, ma'am.

 2   Q    And how long have you held that position at NYU?

 3   A    In the current situation, since 2013.

 4   Q    And you mentioned you are also employed at Bellevue.

 5   What is your position there?

 6   A    At Bellevue, I'm also an OB/GYN doctor and I do a lot of

 7   the high risk ultrasounds, I take care of women's health

 8   issues, both in the clinic and also with ultrasounds.

 9   Q    And so is it fair to say you practice as an OB/GYN in the

10   clinical setting apart from your positions as director of

11   safety and so forth?

12   A    Yes, ma'am, day and night.

13   Q    And are you board certified in any specialties?

14   A    Yes, ma'am.

15   Q    What specialties?

16   A    Obstetrics and gynecology and then the higher level of

17   subspecialization.

18   Q    All right.    And, generally, what is obstetrics?

19   A    Obstetrics is the medical care of women who interestingly

20   are either planning to get pregnant, through the pregnancy and

21   then up to a year after the pregnancy is over.

22   Q    And how about gynecology, what's that?

23   A    Gynecology is the health care of women outside of what

24   I've just described in relation to the pregnancy.           So any

25   aspect of women's health care, from an adolescent all the way



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                          Hoskins - direct - Shihata                      3029


 1   to grave, et cetera, older age.

 2   Q    And you also said you had a subspecialty, is that right?

 3   A    Yes, ma'am.

 4   Q    And what is that?

 5   A    My subspecialty is in high risk obstetrics where I do a

 6   lot of the surgical aspects.

 7   Q    And are you board certified in that as well?

 8   A    I'm board certified in that in the sense that it's a

 9   higher level above obstetrics and gynecology.

10   Q    And in your work in gynecology, does that include

11   diagnosing and treating patients with sexually transmitted

12   diseases?

13   A    Yes, ma'am.

14   Q    And does that include herpes?

15   A    Yes.

16   Q    Now, are you also what's known as a board examiner?

17   A    Yes, I used to be.

18   Q    Used to be?    Okay.    And what is a board examiner?

19   A    A board examiner is, it's a body of people who help

20   address anybody practicing in the field which, in my case,

21   would be OB/GYN, anybody practicing in that field is, has

22   fulfilled the competence categories.        So in other words, the

23   board examiner, during the situation of the exam, will be

24   making an assessment in a window of time to say that that

25   individual has, knows how to practice within the scope and



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                            Hoskins - direct - Shihata                      3030


 1   breadth of the field of women's health, knows how to formulate

 2   a treatment plan, knows how to handle complications, knows how

 3   to guide a patient through whatever clinical situation it may

 4   be.   So it's just overall addressing how women's health care

 5   is delivered and the board examiner is the individual who,

 6   with his or her colleagues, will decide that that person, the

 7   candidate, has fulfilled those requirements and those

 8   obligations.

 9   Q     So is it fair to say that the board examiner with their

10   colleagues are the ones that determine whether someone is

11   board certified in a specialty?

12   A     Yes, that is the person who would say yes, I have

13   addressed this, I have assessed it, I've analyzed it, this

14   individual is deemed clinically competent to practice the

15   scope and breadth of the field.           So there's people who would

16   succeed and then there's others where we would say this one is

17   not ready yet.

18   Q     And when you served as a board examiner, what specialties

19   were you a board examiner for?

20   A     Again, both general women's health which is obstetrics

21   and gynecology and also in the field of high risk obstetrics.

22   Q     Now, can you please describe for the jury your

23   educational background beginning with medical school?

24   A     So my medical school was in Karachi in Pakistan, Dow

25   Medical College, after which, it wasn't educational but it was



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                          Hoskins - direct - Shihata                       3031


 1   considered a supervised clinical work after my medical school

 2   degree.   I worked in the Middle East in Doha, Qatar for two

 3   years under supervision so it's a way of training.           Then two

 4   and a half years subsequent to that, I worked in women's

 5   health in Muscat, Oman, both in the Middle East.

 6              Subsequent to that, I came to the United States and

 7   worked in internal medicine and psychiatry combined training.

 8   I didn't practice in that field and switched over to training

 9   in women's health obstetrics and gynecology.          After the

10   women's health -- after the obstetrics and gynecology

11   training, I got higher training in the field of high risk

12   obstetrics from the surgical and clinical aspect.

13   Q    And where did you do your residency in obstetrics and

14   gynecology?

15   A    My residency in obstetrics and gynecology was at the

16   National Naval Medical Center in Bethesda, Maryland.           It's

17   under the umbrella of the Uniformed Services University of the

18   Health Sciences.

19   Q    And are you or were you a member of the United States

20   Armed Forces?

21   A    Yes, I was.

22   Q    For how long?

23   A    Twenty-seven years.

24   Q    And did you practice medicine in that context?

25   A    Yes, I did.    I practiced while, in obstetrics and



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                                     A 956
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                             Hoskins - direct - Shihata                      3032


 1   gynecology while on active duty which was 11 years.              The

 2   remaining was in the Reserves and that was the United States

 3   Navy.     Also at Walter Reed Army Medical Center and at NIH.

 4   And then one small explanation, also with the United States

 5   Marine Corps.      Because the Marine Corps doesn't have medical

 6   assets, the Navy provides the medical assets.             So, overtly, it

 7   looks as though it was also the Marine Corps but it was as a

 8   medical person in the Navy towards the Marine Corps.

 9   Q       And when you left the United States Armed Forces, what

10   rank did you hold?

11   A       Bird Colonel 0-6.

12   Q       Now, you testified that you're currently employed at both

13   NYU and Bellevue.       Have you also previously worked in various

14   capacities at these and other hospitals?

15   A       Yes, I have.

16   Q       And does that include as the Chief and Residency Program

17   Director of the Department of Obstetrics and Gynecology at

18   NYU?

19   A       Yes, it does.

20   Q       And as an Attending of Obstetrics and Gynecology at NYU?

21   A       Yes, ma'am.

22   Q       As the Chair and Residency Director of the Department of

23   Obstetrics and Gynecology at Lutheran Medical Center?

24   A       Yes, ma'am.

25   Q       An as the Executive Director of the Women's Health



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                          Hoskins - direct - Shihata                      3033


 1   Institute at the Memorial Health University Medical Center in

 2   Savannah, Georgia?

 3   A    Yes, ma'am.

 4   Q    And, finally, as the Director of Research and Infectious

 5   Diseases at the Division of Maternal-Fetal Medicine at the NYU

 6   Medical Center?

 7   A    Yes, ma'am.

 8   Q    You also testified that you also currently hold an

 9   academic position at NYU, is that right?

10   A    Yes, ma'am.

11   Q    And how long have you been a professor at the NYU School

12   of Medicine approximately?

13   A    Ten plus years.

14   Q    And in that capacity, who do you train?

15   A    A multitude of individuals get trained.          The overt most

16   common example is training fellows at the highest level of

17   residency, so medical students, residents, fellows within the

18   field.    We also help train young attendings as they need to

19   learn additional or more things.        I also am involved in the

20   training of what we call allied health professionals.            So they

21   could be nurse practitioners, midwives, physician assistants,

22   nurses.   They would be unique components who want to do extra

23   within women's health.

24   Q    And the area you focused on is women's health, obstetrics

25   and gynecology for the training as well?



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                             Hoskins - direct - Shihata                      3034


 1   A      Yes, ma'am.

 2                 THE COURT:    Do you have an application with regard

 3   to this witness?

 4                 MS. SHIHATA:       I do.    I can move on to it.

 5                 THE COURT:    All right.

 6                 MS. SHIHATA:       Your Honor, pursuant to Federal Rule

 7   of Evidence 702, I'd like to offer Dr. Hoskins as an expert in

 8   the field of medicine with a specialization in obstetrics and

 9   gynecology including the diagnosis, treatment and effects of

10   sexually transmitted diseases.

11                 THE COURT:    Any objection?

12                 MS. BLANK BECKER:         No objection, Judge.

13                 THE COURT:    I gave you an instruction about expert

14   witnesses.      As I said before, I'll give you a little bit more

15   instruction on that in my final charge.

16                 Go ahead, Counsel.

17                 MS. SHIHATA:       Thank you.

18   Q      Now, you're testifying here as an expert witness, is that

19   correct?

20   A      That's correct.

21                 THE COURT:    Is the microphone working?

22                 THE WITNESS:       Yes.    I had just tilted it a little

23   bit.

24                 THE COURT:    It may need another battery.

25                 THE WITNESS:       So it wasn't me.



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                             Hoskins - direct - Shihata                    3035


 1                THE COURT:    Not you.

 2                (Pause.)

 3                THE WITNESS:       It's on, ma'am.

 4                THE COURT:    Now it's good.      Go ahead.

 5                MS. SHIHATA:       Thank you.

 6   Q       Are you being compensated for your time here testifying

 7   as an expert?

 8   A       Yes, ma'am.

 9   Q       Now, Dr. Hoskins, what is a sexually transmitted disease?

10   A       Exactly what the term says.        Illness or infection or

11   disease that has been obtained or has occurred in the, during

12   the interaction of sexual intercourse.

13   Q       And is it -- sexually transmitted diseases also known as

14   STDs?

15   A       Yes, ma'am.

16   Q       And are these diseases also known as venereal diseases?

17   A       Yes, ma'am.

18   Q       Now, what are some examples of STDs?

19   A       Well, there are several examples.          They can come in the

20   categories of bacteria, viruses, fungus infections.            Some

21   examples are chlamydia, gonorrhea, syphilis, HIV.

22   Q       And how about herpes?

23   A       Herpes also.

24   Q       Now, are some STDs curable?

25   A       Yes, ma'am.



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                          Hoskins - direct - Shihata                        3036


 1   Q    And what are some of the ones that are curable?

 2   A    The once that are curable are chlamydia, syphilis,

 3   gonorrhea, and we know that because we can do a test of cure

 4   to verify that they are cured.

 5   Q    And are some STDs not curable?

 6   A    Correct.    Correct.    Some are not curable.

 7   Q    Is herpes curable?

 8   A    No, ma'am.

 9   Q    So once you contract herpes, do you have it for the rest

10   of your life?

11   A    Yes.

12   Q    Now, generally speaking, what is the herpes simplex

13   virus?

14   A    Well, generally speaking, it's a body of viruses.               That's

15   the name, herpes simplex.      There's two types.      It's a very

16   contagious, transmissible virus that can, that lives in the

17   human body, in various tissues in the human body.

18   Q    And now focusing specifically on genital herpes, what

19   does that term mean?

20   A    Well, genital herpes means that it is herpes virus

21   infection in the genital area of the human body.

22   Q    How does genital herpes, how does that enter the body?

23   A    The herpes virus would enter, in the aspect of genital,

24   it would be contact with the genital, with some area of the

25   genital tract.     It has to have a direct contact between an



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                            Hoskins - direct - Shihata                      3037


 1   area on an individual or an item that is containing or

 2   carrying the virus and then direct contact with any aspect of

 3   the human body in the genital area but it has to be a direct

 4   contact.

 5   Q     And can that direct contact be through sexual

 6   intercourse?

 7   A     Yes, ma'am.

 8   Q     Now, once the herpes virus enters the body, where does it

 9   go?

10   A     Well, once the virus enters the body, it's going to stay

11   in that local general area where it entered, create a response

12   from the body in that general area and then, ultimately, over

13   a window of time, it will go into where its preferred location

14   and place is which is the central nervous system.

15                MS. SHIHATA:       All right.   I'd like to show the

16   witness only what's been marked for identification as

17   Government Exhibit 962.

18                THE COURT:    Do you have any objection to this going

19   into evidence?

20                MS. BLANK BECKER:      I do not, Judge.

21                THE COURT:    So this is in evidence.

22                (Government Exhibit 962 so marked.)

23                MS. SHIHATA:       If we can publish it, please.

24   Q     You just mentioned the central nervous system.            What is

25   the central nervous system?



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 1   A    Well, the central nervous system is the combination of

 2   the brain as can be seen over there and then whole rest of the

 3   nerves which is the spinal cord and the rest of the nerves for

 4   the entire body.

 5   Q    And is that represented in this diagram, Government

 6   Exhibit 962?

 7   A    Yes, ma'am.

 8   Q    And can you describe how it's represented here?

 9   A    Well, it's showing a human body.        Theoretically, it's

10   showing, I'm assuming, the back of the person.          It's showing

11   at the top, the brain, the long narrow yellowish tubular

12   structure is the spinal cord, and it's showing different

13   colors like a bluish color and a greenish color of like fibril

14   or tendril-like things which are various nerves that are being

15   depicted as they're going through various aspects of the body

16   and you can see it's going throughout the entire body.

17   Q    And after the herpes virus goes to the central nervous

18   system, what happens then?

19   A    Well, once the herpes virus goes to the central nervous

20   system, it's going to stay there.        That's it's preferred area

21   of location so it can be in the central tube that you can see,

22   that long yellow narrow tube.       It stays there in a specific

23   unique portion of the central nervous system.

24   Q    And how, if at all, is entry of the herpes virus into the

25   central nervous system dangerous?



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                          Hoskins - direct - Shihata                        3039


 1   A    Well, it's dangerous because once it's within the,

 2   technically the area within the central nervous system which

 3   are called the dorsal roots but it's just a component of the

 4   central nervous system, it will remain there.          It's dangerous

 5   because once it's there, it's always there so it can

 6   reactivate and when it reactivates, it can cause a result or

 7   an effect based on its reactivation and then other parts of

 8   the body, any place that what we call are innervated or where

 9   the nerves are going, any part or many parts can then be

10   affected.

11   Q    And how can those other parts of the body be affected?

12   A    By how, you mean what can happen or the pathway?

13   Q    What can happen.

14   A    What can happen.     So what can happen is when it goes,

15   when there's reactivation, there can be a resurgence of a

16   pattern that was similar to the initial attack.            For example,

17   so the person would show evidence of a new herpes event or a

18   situation or an outbreak, and that would be in various stages

19   of quantity in terms of the width and the extent of where the

20   outbreak is in terms of the severity of the symptoms in

21   relation to the outbreak and in terms of the depth of that

22   outbreak, in terms of how deep into the tissue.

23   Q    Now, you've used the term "outbreak" a few times.               What

24   is a herpes outbreak?

25   A    Well, herpes outbreak is just a way of saying that there



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                          Hoskins - direct - Shihata                      3040


 1   is an area in the body where the herpes is causing its effect

 2   and the reason we call it outbreak is it's sort of like a

 3   generalized area.    So an outbreak can be in one area like the

 4   genital area or in some other part of the human body and not

 5   in the whole body even though the nervous system is in the

 6   whole body.

 7   Q    And focusing specifically on an outbreak in the genital

 8   area, how does that manifest itself?

 9   A    Well, the outbreak in the genital area, again, first

10   clarifying would it be a primary outbreak or a secondary

11   outbreak, but having said that, it would manifest itself by

12   what are the classic findings of the infection of herpes which

13   would be blisters, ulcers, pustules, vesicles.          These are

14   technical terms but they basically mean raised areas filled

15   with fluid.    If the blister breaks open, then it's red

16   appearing because it's a denuded or raw area within that

17   blister.

18                So those are the ways that the herpes infection can

19   show itself and then there will be like wherever the blister

20   was, it's usually a small area which has a lining, it's got a

21   raw area within the base of it and then some weepiness of the

22   fluid coming out.

23   Q    You mentioned primary and secondary infections or, sorry,

24   outbreaks.    What do you mean by primary outbreak?

25   A    What we call primary outbreak in herpes means that that



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 1   human body has never seen the attack by the herpes virus so

 2   it's going to be the first time and we're talking about herpes

 3   simplex type 2 for example.      So the primary outbreak would be

 4   that the body is going to mount a very strong response to this

 5   attack or this insult of the herpes virus.         So that's a

 6   primary outbreak.    There are various aspects of the human body

 7   that get involved and react to this infection.

 8               Then a secondary outbreak means the herpes was

 9   already within the body.      The body defense cells and

10   mechanisms had already got a prior memory of having been

11   exposed to that, living in the central nervous system like we

12   see and now it's a secondary outbreak where it got

13   reactivated.    Similar findings can occur like with the primary

14   outbreak but now that the body has defense cells that have

15   already been exposed to that, have a practice and a memory of

16   having attacked it or tried to tamp it down, the secondary

17   outbreak would be a situation where it's less extensive, less

18   severe, less intense, similar findings.

19   Q    And when you say similar findings, are you referring to

20   the same blisters and pustules, fluid filled, that you were

21   talking about before?

22   A    Yes.   Similar findings means those which you've

23   described, the blisters, the vesicles, the pustules, the

24   broken areas, the scabs, the denuded areas.          In addition to

25   that, it's also a bunch of symptoms both in the primary



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 1   outbreak and the secondary outbreak, burning, tingling, pain,

 2   a sensation of numbness sometimes.        Severe pain is probably at

 3   the top of the list.

 4   Q    And with respect to genital herpes, how does that severe

 5   pain manifest itself?

 6   A    Well, with genital herpes, once the vesicles, pustules,

 7   blisters appear, there is pain in that general area.           It could

 8   be before the actual blister has been seen but the pain is

 9   there.   It can be during the time when the blister is present,

10   when the blister breaks open and the fluid weeps out and then

11   subsequent to that, when it's crusting over.

12               So the pain manifests itself -- if it's a primary

13   outbreak, the pain is very, very intense because you recall

14   that herpes is preferentially wanting to be with the nerves.

15   So the nerves gets overactivated, overstimulated, so the

16   intensity of the response of that nerve is very high and,

17   therefore, the pain is very intense.        The burning is very

18   intense.    Then that pain causes the individual to then have

19   secondary complications or problems due to the actual

20   existence of the pain.

21   Q    What are some of those secondary complications or

22   problems?

23   A    So the secondary complications or problems would

24   obviously depend on where the blisters were, where the pain

25   was but, in general, if it's in the general area and there's



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 1   all these blisters in the genital area with the severe pain

 2   and burning and that sensation, then the individual might have

 3   severe pain just because that tissue is very, in deep pain

 4   and, therefore, the person may not be able to have even

 5   anything touching like a sheet or clothes, may not be able to

 6   walk, may not be able to lie down.        Anything touching that

 7   area or even air sort of being exposed to that area might

 8   cause pain.   It can also be when the individual needs to

 9   urinate, for example, because the area might be extra

10   responsive and sensitive.      So there may be a stinging, burning

11   sensation actually during the act of, you know, urinating,

12   therefore, the individual, the body tends to like avoid trying

13   to do that.

14              So because of the pain, because of the burning,

15   there can be secondary situations such as the person won't

16   move, the person may not urinate, the person may then retain

17   the urine, the person may need to have a burning sensation

18   which may mean that they cannot wear their clothes at that

19   time because nothing can touch it.        So that's what I'm trying

20   to describe as the secondary.       And it's all because it's a

21   very severe, high level of intense pain and burning that

22   occurs with the primary outbreak.

23              THE COURT:    I'm just going to ask you if you can

24   slow down just a little, just a little bit just so our court

25   reporter can get everything that you're saying.



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 1               THE WITNESS:       I'll try.

 2               THE COURT:    Thank you so much.

 3               Go ahead.

 4   Q    All right.      So now, these secondary outbreaks that you

 5   mentioned, what, if anything, causes a secondary outbreak?

 6   A    So the answer to what causes a secondary outbreak is a

 7   range and it starts from unknown, unpredictable, to known

 8   factors that might trigger a secondary outbreak.

 9               So in the unknown and unpredictable, it could be

10   everything was going along fine in the individual's life and

11   suddenly there was an outbreak, an overt identifiable trigger.

12               The other end of the spectrum could be known

13   triggers such as just the person living their lives.           You

14   know, in a woman, it would be her menstruation is starting.

15   It could be if a person happens to get a common cold or cough

16   where they are getting another infection and another attack on

17   their immunity and now this also will get reactivated in

18   addition.   It can be sunlight.          Ultraviolent light is a very

19   common trigger for herpes reactivation.            So people going out

20   into the sunlight in the daytime, some have described that

21   that is a trigger.      It can also be people who have already got

22   other illnesses, asthma, cancer, hypertension, diabetes.

23   Anything which is already giving a burden to your immune

24   system can also be a trigger for the herpes to get

25   reactivated.



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 1                So like I said, it goes from unknown, unpredictable

 2   all the way to known triggers where the individual may know.

 3   When I get a cold, when I get my periods, when I'm out in the

 4   sunlight, et cetera, et cetera, those are the kinds of things

 5   that are triggers.

 6   Q    And is it fair to say based on what you just said, from

 7   unpredictable to known triggers, that the known triggers are

 8   often very common, everyday things?

 9   A    Yes, ma'am.     It's just generally living their lives.

10   Q    And so does that make it relatively unpredictable for a

11   person with herpes about when they're, they might get a

12   secondary outbreak?

13   A    Yes, it is unpredictable.         It's known to be unpredictable

14   but on the other hand, they can then say I'll never have my

15   menses, I'll never be out in the sunlight, I'll never get

16   another cold.    So it is unpredictable because they have to

17   live their lives or they would just have to stop living their

18   lives.

19   Q    So fair to say it's difficult for a women to stop having

20   menses or getting colds or any of those lists of things?

21   A    Correct.

22   Q    Okay.    Now, are you familiar with the, in the context of

23   herpes, are you familiar with the term "shedding"?

24   A    Yes, I am.

25   Q    And what is that?



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 1   A    Shedding means, in the context of herpes, shedding means

 2   that the virus is being excreted.        It's coming from the tissue

 3   where it is at that moment present to the outside, whether

 4   it's contact with something else or outside into the air.

 5   Q    And does a person have to be -- well, withdrawn.

 6                Are you familiar with the term, in the context of

 7   herpes, are you familiar with the term "asymptomatic

 8   shedding"?

 9   A    Yes, ma'am.

10   Q    And what is that?

11   A    Asymptomatic shedding, again, means that the virus is

12   being excreted but it is coming at a time in the individual's

13   life when he or she does not have evidence of the herpes

14   itself.   In other words, they don't have a blister, they don't

15   have the symptoms of the tingling, the numbness, the burning,

16   the pain so they might be thinking I'm, my herpes is at rest

17   right now but, in reality, it has reactivated because there's

18   no evidence that it has reactivated but the shedding is

19   occurring in the absence of any overt evidence of

20   reactivation.

21   Q    And does that mean a person can still be shedding the

22   virus even when they're not having an outbreak?

23   A    Yes.

24   Q    Now, does every individual who is exposed to genital

25   herpes, does that mean they a hundred percent will get genital



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 1   herpes?

 2   A    In my personal, clinical opinion, nothing in medicine is

 3   a hundred percent or zero percent, but as close to a

 4   hundred percent as possible.      It's a very contagious, very

 5   transmissible virus.     I personally am not aware that if

 6   somebody is exposed to herpes and then they wouldn't get it.

 7   Q    All right.      But there are times when a person can be

 8   exposed and perhaps -- well, withdrawn.

 9                Are there certain precautions that can be taken to

10   reduce the likelihood of herpes infection, of a person with

11   herpes infecting somebody else?

12   A    Yes, there are precautions which would mean that they

13   didn't get exposed to it.

14   Q    Okay.    And, well, starting -- why don't you tell me what

15   you're thinking of.

16   A    So what I mean by that is when I talk about being exposed

17   to it, I mean that there has to be the opportunity for a

18   contact, a direct contact, and that's what I was trying to

19   explain, that when there is direct contact from an area of

20   body tissue, utensil, an item that is carrying the herpes

21   virus and it has direct contact with the skin or mucous

22   membrane of the human body, there will definitely be the

23   infection with the herpes.

24                If there is no contact such as decreasing the

25   exposure by doing protection for one's self, either the person



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 1   with the herpes or the person who is not yet infected, either

 2   one of them is protecting themselves, then, yes, the

 3   likelihood of getting the herpes would be decreased.

 4   Q    And when you say protecting themselves, does that include

 5   using a condom?

 6   A    That includes using a condom.

 7   Q    Now, are you familiar with treatments for herpes?

 8   A    Yes, ma'am.

 9   Q    And is one treatment a drug known as Valtrex?

10   A    Yes, ma'am.

11   Q    Now, we'll talk a bit more about that later, but can

12   Valtrex also be taken prophylactically?

13   A    Yes, ma'am.

14   Q    And what does that mean?

15   A    Well, basically Valtrex is an antiviral so it's going to

16   attack virus cells.     And when Valtrex is taken

17   prophylactically, it means that even if there is herpes

18   available or present, the Valtrex is going to keep it tamped

19   down or prevented and that's the word, prophylaxis.           That

20   means that even though its presence is there, it won't be

21   enough either in quantity or duration to be able to transmit

22   it to somebody else.

23   Q    So is that also a case where notwithstanding that the

24   person has herpes, it might reduce the risk of transmitting it

25   to somebody else if they're taking Valtrex prophylactically?



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 1   A    Yes.

 2   Q    Okay.    So fair to say then that that's a situation where

 3   someone might have sex with somebody and not necessarily a

 4   hundred percent give it to the other person?

 5   A    Yes.

 6   Q    Okay.    Now, now, can you explain -- well, actually prior

 7   to that, you talked about outbreaks, primary and secondary

 8   outbreaks from herpes.       Are there also other medical

 9   complications that can result from having the herpes simplex

10   virus in your, in one's body?

11   A    I'm -- by other medical complications, what I would take

12   from that is when there is an outbreak, be it primary or

13   secondary, that there can be a further spread, a further

14   complication, a further event.

15                So if there is an outbreak, whether it's primary or

16   secondary, there can be an infection in that area.           If there's

17   an outbreak and there's an infection, that infection can go

18   into the bloodstream to the fullest extent where it may be

19   only in the bloodstream and then to a higher level where we

20   may call it sepsis.     The infection can go into the central

21   nervous system where we may call it just an infection in that

22   nerve area directly or it may go all the way to the brain or

23   the rest of the central nervous system or even the layers that

24   cover the brain and the central nervous system.            Technically

25   that's called meninges.



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 1                   So when we look at what are the other outcomes with

 2   the primary or a secondary outbreak, it can be a local area of

 3   everything we've talked about.          That area can get infected an

 4   then there can be blood infections, there can be brain and

 5   central nervous infections.       There can be secondary problems

 6   like urine retention.       We've talked about that.        There can be

 7   secondary problems such as the person is in such severe pain,

 8   they don't move around at all, therefore, they are at a little

 9   bit higher risk of having maybe blood clots because they're

10   not moving around so much.       They're lying still because of the

11   pain.    So it can go on and on like a ripple effect.

12   Q       Okay.    And fair to say that some of these secondary

13   effects that you've talked about, going into the brain and

14   sepsis, that those are rarer than the outbreaks, is that fair

15   to say?

16   A       They are rarer, yes, they are less common but during the

17   outbreak is when they can occur meaning as a result of the

18   outbreak.

19   Q       I see.    So notwithstanding that they are rarer, they

20   remain a risk when someone has herpes, is that fair to say?

21   A       Always.

22                   (Continued on next page.)

23

24

25



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 1   DIRECT EXAMINATION (Continued.)

 2   BY MS. SHIHATA:

 3   Q    And just so the jury understands, what are some of the

 4   terms -- some of the terms you mentioned, what is sepsis?

 5   A    Sepsis means that there is an infection in the

 6   bloodstream.   In general, sepsis we mean by bacterial

 7   infection, but they can be viral infection in the bloodstream

 8   as well.    Sepsis is overarching term that just means that the

 9   infection is so intense that it is affecting the bloodstream

10   and therefore the heart and the lungs and the brain.                   Sepsis

11   is a very serious, heavy term that denotes that the infection

12   in the bloodstream is heavy enough that it is now beginning to

13   have effects on the rest of the human body.

14   Q    And I think you used the term meninges, is that --

15   A    Yes, ma'am.

16   Q    What is that?

17   A    Yes.    So meningitis is when the infection, in this case

18   herpes, has gone into the central nervous system and has,

19   whether it's a primary or reactivation, it's now caused an

20   inflammation in the tissues of the brain.                    The brain itself,

21   the tissue of the brain when we use the technical term we call

22   it encephalitis, it's a different technical term.                   If we use

23   the term where the infection is the layers or the covering of

24   the brain, those are what's called the meninges and that term

25   would be called meningitis.



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 1   Q      Now, can you explain to the jury what a medical diagnosis

 2   is?

 3   A      A medical diagnosis in my opinion basically means that

 4   the clinician has used his or her medical knowledge, expertise

 5   to come up with an answer of a particular condition that this

 6   is what the condition is, name the illness, name the clinical

 7   situation, identify it.

 8   Q      And what methods do doctors use to diagnose genital

 9   herpes?

10   A      For genital herpes specifically the most common and very

11   reliable, accurate method would be physical exam.               Where we

12   would take the history from the patient, but basically

13   physically examining the area where the outbreak has been

14   identified and can be seen and that would be the most common

15   way.     There are additional ways to clinch the diagnosis, to

16   reconfirm higher level and they could be using laboratory

17   tests.

18   Q      And what does a doctor look for in the clinical exam with

19   respect to herpes?

20   A      In the clinical exam, you know, in general the patient

21   would say, I have certain symptoms, and we described those

22   before, and then when the doctor or whoever the clinician is

23   is examining that specific area, they would look for redness,

24   a sensation of numbness.           You can take a Q-tip or some other

25   object and feel around in the area the patient would say this



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 1   feels numb.   There can be -- similarly, there can be a finding

 2   of intense pain and burning in that area either with the

 3   patient having touched it or some other object touched it or

 4   the clinician examining the patient, and then visual is the

 5   biggest category where you would see a blister.              You could see

 6   the blister, the area is weeping and wet because there is

 7   fluid seeping out, you could see the redness, the rawness in

 8   the base of the blister, you could see a crusting over because

 9   different blisters will be in different stages, some have

10   popped open, some are starting out, some have already opened

11   and are raw and the final side would be that they've crusted

12   over already.   So all those put together, looking at the area

13   visually in the setting of what the patient has described, is

14   the most accurate way of doing it.

15   Q    Now you mentioned other testing that's available.               Are

16   you familiar with the term herpes simplex culture?

17   A    Yes, I am.    That is one of the other tests.

18   Q    And what is that?

19   A    Well, any time you're talking about a culture, and in

20   this setting herpes simplex culture, the idea is to take a

21   sample, be it a sample from the fluid, the edge of the

22   blister, a portion of that tissue and grow it in a special

23   growth medium in the laboratory under specific conditions so

24   that more of that virus can grow with the assumption being

25   that the virus was in the sample that was collected, with the



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 1   benefit of the growth medium it will grow and multiple and the

 2   culture will be positive, because it will be -- it will grow

 3   enough to be identified and looked at under the microscope.

 4   Q    Is timing of when a culture is taken for the herpes

 5   simplex virus, is that important to the accuracy of the

 6   result?

 7   A    It is important in the sense that it is -- you know, when

 8   there is an active lesion there's the highest likelihood of

 9   identifying the virus, so from that point of view the timing

10   is important.

11   Q    And can an outbreak last anywhere from several days to

12   several weeks?

13   A    Yes, ma'am, it usually does.

14   Q    And does the manner in which the blisters or the -- does

15   it change throughout that time, the manner in how whether they

16   are more fluid or less fluid or dried up, does that change

17   over the course of the outbreak?

18   A    Yes, it does.    The initial part of the outbreak will have

19   more of the blister, more of the liquid, more of the

20   weepiness, seeping and then as it opens up and then dries to

21   air or with some other way then there will be -- that will

22   change, the appearance will change and the amount of the virus

23   coming out will also change.

24   Q    So is it fair to say that even within the outbreak time

25   period it can matter where within the time period the culture



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 1   is taken?

 2   A    In general, yes.

 3   Q    And as a result, does herpes -- the results of herpes

 4   simplex cultures sometimes provide false negatives?

 5   A    Yes.

 6   Q    Now, are there any other tests other than the culture

 7   that can be used to test for herpes?

 8   A    There are two other categories of tests.                One would be to

 9   look for the actual genetic material of the herpes virus.                 So

10   there can be a certain chemical reaction and a laboratory test

11   that looks for that and that would come out as positive if the

12   DNA, for example, the genetic material of the virus is found.

13   And then there is another category of test which is blood

14   tests in the person looking for the presence of defense cells

15   that have been exposed to herpes so they can be -- a certain

16   type of cell within the human body that would be positive for

17   having been exposed to herpes.

18   Q    And you testified earlier that the -- notwithstanding the

19   existence of these different types of testing, the most common

20   method that doctors use is the history and physical exam?

21   A    Yes, ma'am, it is the most common and very, very

22   reliable.

23   Q    Now I want to turn now to treatment for herpes.               What

24   medications are used to treat herpes?

25   A    The medications used to treat herpes would be in two big



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 1   categories.    One would be to treat the symptoms.             So there's a

 2   herpes outbreak and then there could be treatment for the pain

 3   and et cetera, et cetera, and preventing a secondary

 4   infection, but the targeted medication for treating the herpes

 5   are what's called antivirals.             They are going to attack the

 6   virus.

 7   Q       And what are some of the medications, these antiviral

 8   medications?

 9   A       Regarding herpes simplex specifically there is Valtrex,

10   Famvir, there's a third one that I'm blocking on, Acyclovir.

11   Q       Is Valtrex a brand name?

12   A       Valtrex is a brand name.          The generic name is valtra -- I

13   can't remember.

14   Q       Does Valaciclovir, is that the generic name?

15   A       That's the one.

16   Q       And what does Valtrex do?

17   A       Valtrex is going to help suppress the herpes infection.

18   It will attack the component of the herpes virus that's what's

19   called an antiviral and what it will end up doing is it will

20   decrease the overall duration of that particular herpes

21   outbreak.    It will decrease the overall depth and severity of

22   that particular herpes outbreak.               So, in other words, it tries

23   to prevent the infection and additionally tamps it down so

24   that the severity and the duration and the depth is tamped

25   down.



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 1   Q    Now we talked earlier about the prophylactic use of

 2   Valtrex, do you recall that?

 3   A    Yes.

 4   Q    Now I think you just testified it's -- well, withdrawn.

 5   Does taking Valtrex, can it eliminate herpes from your body?

 6   A    I don't think that it can eliminate it specifically for

 7   it to ever be completely gone.

 8   Q    Okay.    So all I'm getting at here is, it's not a cure for

 9   herpes; is that right?

10   A    Yes, ma'am, there is no cure for herpes.

11   Q    Now when you diagnose a patient with herpes, what, if

12   anything, do you advise that patient?

13   A    Well, again in diagnosing the patient there will be the

14   component that's the more urgent, the more acute of how to

15   manage the current outbreak for her -- his or her, in this

16   case, her own comfort and safety, not to get it secondary

17   infected, take care of -- how to handle the pain, the burning,

18   et cetera.

19                In addition to that, we do tell the patients, you

20   know, this is a serious situation right now, the person is

21   highly infectious, can transmit and therefore that individual

22   has to take certain precautions to avoid that risk.

23   Q    And what precautions are those?

24   A    Well, basically the person has to take the precaution to

25   avoid contact with any other part of her own body per se, but



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 1   specifically sexual intercourse, transmitting it to another

 2   individual because she is, at that point, highly infectious

 3   and is, you know, able to transmit this very contagious virus.

 4   Q    Do you advise patients about the use of condoms?

 5   A    Yes, we do.

 6   Q    What, if anything, do you tell patients regarding

 7   informing sexual partners of the diagnosis?

 8   A    Well, we do tell them that because they are very

 9   contagious, because herpes is chronic, it's permanent, that

10   they should ideally be communicating to, you know, the

11   individual that they are planning to have a sexual

12   relationship with, that they would be likely to transmit it

13   and therefore they should avoid having that contact, avoid

14   intercourse.   If they wish to, they should share the knowledge

15   that there is herpes present, either it's a chronic or acute

16   outbreak and therefore that vulnerable has a right to then

17   make a choice, but also that both can have a choice to protect

18   themselves.    The person infected has a -- I would say, an

19   obligation to use a condom or some other protection and then

20   the person who is -- the other person who is not infected, but

21   is likely to get exposed, would have a choice to do some

22   preventive measure for himself or herself.

23   Q    I think earlier in your testimony you mentioned that

24   there are two types of the herpes simplex virus; is that

25   correct?



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 1   A    Yes, ma'am.

 2   Q    And are those known as type 1 and type 2?

 3   A    Yes.

 4   Q    And -- well, can you explain to the jury what that means.

 5   A    So herpes simplex virus type 1, we call it type 1, type

 6   2, part -- and also partly because of the generic location

 7   where it stays.

 8               So herpes simplex type 1 can be more in the oral

 9   area around the lips, in the mouth, on the tongue.             Fever

10   blisters, cold sores, in that general category.              So type 1 is,

11   again, highly contagious, highly infectious, but it stays

12   localized in that general area, does not cause such is a big

13   all encompassing effect as type 2, which is more intense.

14   Q    And is type 2, generally speaking, in the genital area?

15   A    Generally in the genital area, yes.

16   Q    Can a person have both type 1 and type 2 herpes?

17   A    Yes.

18   Q    You testified earlier that herpes can be transmitted

19   through sexual intercourse, correct?

20   A    Yes.

21   Q    And can it also be transmitted through oral sex?

22   A    Yes.

23   Q    And with respect to the prophylactic use of Valtrex, I

24   think you testified that that helps to lower the risk of

25   spreading; is that right?



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 1   A      Yes.

 2   Q      Is there anything in the medical literature and studies

 3   regarding what the risk remains even when someone is using

 4   Valtrex prophylactically as directed by their doctor?

 5   A      Again, herpes is chronic, it remains.                    There is the

 6   possibility of shedding even in the absence of any symptoms,

 7   et cetera, so it's always there.

 8                 Having said that, using something like Valtrex is

 9   going to try to decrease that.               That's the intention of giving

10   the Valtrex or taking the Valtrex, but there will never be a

11   situation where there's a hundred percent protection knowing

12   or not knowing there is an actual lesion or an ulcer or an

13   outbreak.      So in general, we tell the patients that you will

14   never be hundred percent protected even if you took the

15   Valtrex all the time or whatever window of time, because there

16   is a subset, and it varies in the range of 10 to 20 percent,

17   usually, there is a subset of situations and people where

18   there will still be the possibility of you transmitting it or

19   shedding it because the Valtrex's usefulness is not anywhere

20   close to a hundred percent.

21   Q      And the percentages you mentioned there, that's based on

22   a person who is actually following the directions of their

23   doctor and taking the Valtrex as prescribed, is that fair to

24   say?

25   A      Correct.    Whenever the medication is given, the



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 1   assumption between the clinician and the patient, the covenant

 2   is you will follow the instructions.                  Human life, human nature

 3   comes in, there may be a missed dose, there may be a missed

 4   window of time and therefore again that also adds to that 10

 5   to 20 percent concern that there will never be a

 6   hundred percent protection.

 7                MS. SHIHATA:     One moment, your Honor.             No further

 8   questions.

 9                THE COURT:    All right.          How is everybody doing?

10   Does anybody need a break?           Yes.      Okay, we'll take 10 minutes.

11                Please don't talk about the case.                 See you in a few

12   minutes.

13                THE COURTROOM DEPUTY:            All rise.

14                (Jury exits courtroom.)

15                THE COURT:    Everybody can have a seat.              The witness

16   can step out.

17                (Whereupon the witness stepped down.)

18                THE COURT:    Anything before we break?

19                MS. SHIHATA:     No, your Honor.

20                (Recess.)

21                THE COURTROOM DEPUTY:            All rise.

22                THE COURT:    Everybody can have a seat.

23                Are we ready for the witness?

24                Let's get the witness then we'll get the jury.

25                (Whereupon the witness resumed the stand.)



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 1               THE COURTROOM DEPUTY:            All rise.

 2               (Jury enters courtroom.)

 3               THE COURTROOM DEPUTY:            You may be seated.

 4               THE COURT:    We are ready to resume with the witness.

 5   Cross-examination.

 6               THE COURTROOM DEPUTY:            The witness is reminded she's

 7   still under oath.

 8               THE WITNESS:     Yes, ma'am.

 9               MS. BLANK BECKER:         May I, Judge?

10               THE COURT:    Yes.

11               MS. BLANK BECKER:         My name is attorney Blank

12   Becker --

13               THE COURT:    I think we need to fix your microphone.

14   I wonder if it's better to use the standing one.                   It might be

15   better.   Turn that one off.

16               MS. BLANK BECKER:         Sorry, Judge.           This one is

17   better, it doesn't reach up here.

18               Can I ask the questions from the seat?

19               THE COURT:    Whatever is most convenient.               It really

20   doesn't reach?

21               MS. BLANK BECKER:         No, we tried.

22               THE COURT:    Let's move the -- yes.               Does that work.

23               MS. BLANK BECKER:         I believe so, Judge.          Perfect.

24               THE COURT:    Go ahead.

25               MS. BLANK BECKER:         Thank you.



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 1   CROSS-EXAMINATION

 2   BY MS. BLANK BECKER:

 3   Q    I going to ask you a number of questions.               If you don't

 4   understand something I ask you or you need it repeated, just

 5   let me know, okay?

 6   A    Yes.

 7   Q    Is that a yes?

 8   A    Yes.

 9   Q    Thank you.

10                Doctor, it's my understanding, and I want to ask

11   you, isn't it true that you don't need to have sexual

12   intercourse in order to get herpes?

13   A    Yes.

14   Q    And in fact, if a person's not having an outbreak the

15   likelihood of transmitting is significantly less, correct?

16   A    Could you explain what you mean by significantly less?

17   Q    Sure.

18                Well, if a person isn't currently having the

19   outbreak, isn't it true that there is really only about four

20   to 10 percent chance that they're going to be transmitting the

21   disease to someone else?

22   A    That is correct.      I wouldn't call it "only," that's a big

23   number.

24   Q    Okay.    But that's four to 10 percent out of a hundred --

25                Is that correct?



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 1   A    Yes.

 2   Q    -- percent?

 3   A    Yes.

 4   Q    Now you discussed earlier HSV-1, HSV-2, correct?

 5   A    Correct.

 6   Q    Now HSV-1, the oral herpes, that can be passed from

 7   person to person just by kissing; isn't that correct?

 8   A    Correct.

 9   Q    And --

10               THE COURT:    I'm so, sorry is your microphone on?

11               THE WITNESS:     Hello?

12               THE COURT:    Better.        Go ahead.

13               MS. BLANK BECKER:         Thank you.

14               THE WITNESS:     I brought it closer, it might work.

15               THE COURT:    That's fine.

16   BY MS. BLANK BECKER:

17   Q    And not only can it be transmitted by kissing, but it

18   could also be transmitted through sharing objects such as like

19   lip balm; isn't that correct?

20   A    Yes, that's HSV-1, yes.

21   Q    Yes.   Okay.    Then HSV-2, that is most commonly -- which

22   is the genital herpes we talked about earlier -- it's most

23   commonly passed by vaginal sex or anal sex, correct?

24   A    Most commonly because it's genital, yes, but that's not

25   the only route.



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 1   Q      Okay.    Yes, I just wanted to know most commonly.           Thank

 2   you.

 3                  Genital herpes is very common in the United States

 4   in general, correct?

 5                  MS. SHIHATA:     Objection.

 6                  THE COURT:    Well, I don't know, can you answer that

 7   question?      Can you answer that question?

 8   A      I don't know what you mean by very common, because in

 9   terms of percentages, common may mean something higher percent

10   or lower percent.

11   Q      Okay.    Well, isn't it true that more than one out of six

12   individuals have genital herpes?

13   A      Yes.

14   Q      And isn't it also true that most people who have herpes,

15   they don't even know they have herpes?

16   A      I disagree with that.

17   Q      Okay.    Isn't it next to impossible to pinpoint when a

18   person has contracted herpes?

19   A      I disagree with that.

20   Q      So you believe that it is very easy to determine when

21   someone has -- when someone has contracted herpes?

22   A      Yes.    Because that's when they find out that -- the way

23   they think about it is after they have developed the problems

24   and that's when they know that they have contracted herpes.

25   It's a specific point in time.



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 1   Q    Well, you indicated earlier that herpes can lie dormant,

 2   correct?

 3   A    Correct.

 4   Q    It can lie dormant for days, correct?

 5   A    Correct.

 6   Q    Months, correct?

 7   A    Correct.

 8   Q    Years, correct?

 9   A    Correct.

10   Q    Okay.     So, if it could lie dormant for years and someone

11   contracts the disease let's say in 1980, but doesn't show any

12   type of symptoms, as you just indicated, which helps a person

13   know that they have it, isn't it possible that years could go

14   by before they even think to go to a doctor to see if they

15   have herpes?

16   A    No.   I think it's apples and oranges.                  When they contract

17   the herpes there will be a specific point in time when they

18   first got the illness.      The lying dormant is after they got

19   the illness that can be years and up to years.                  So when they

20   contract it initially, it will always be able to be pinpointed

21   in time.

22   Q    So an individual has sex with their partner on Monday and

23   partner X, then they have sex with someone on Tuesday, partner

24   Y, and then they have sex with somebody on Wednesday, partner

25   Z, if that person goes to get tested on Friday, are you saying



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 1   that they could pinpoint when they contracted herpes?

 2   A    No, they cannot.

 3   Q    Time has passed, right?

 4   A    It's not so much the time has passed, it's the exposures.

 5   Q    So time has passed from Monday to Friday, correct?

 6   A    Oh, yes.

 7   Q    Okay.   And there's been a number of different potential

 8   exposures, correct?

 9   A    Yes.

10   Q    Okay.   And so you can't tell us today whether the person

11   who had sexual intercourse with X, Y and Z, which one of them

12   could have given them the disease if they came positive on

13   Friday for -- with a test, correct?

14   A    That is correct.

15   Q    No way to tell who gave it to that person?

16   A    That is correct.

17   Q    Now you also, I believe, talked a little bit about ways

18   to know who gave you herpes and you had indicated that if you

19   were with that partner and then you came in, you had some

20   outbreak, then you could do a physical exam, correct?

21   A    Yes.

22   Q    Now if you aren't diagnosed immediately after you're

23   having sex with that partner, isn't it true that the only way

24   to determine that that person received or contracted herpes

25   from that person they had sex with, is if that person never



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 1   had sex before.    Let me -- you know what?                  Even that was a

 2   confusing question how I said it.              Let me say that better.

 3   A    Thank you.

 4   Q    Person A has sex with person B, and person A has symptoms

 5   of herpes and they come in to see you as the doctor.                   Now,

 6   isn't it true that the only way to determine if person A got

 7   this herpes simplex from person B and be definitive that

 8   person B gave it to person A, is the fact that person A would

 9   have to have had no partners prior to being with person B.

10   A    I don't think it is no partners prior to person B.                    I

11   think it is if it's in the window of time.                   If the person had

12   partners a year earlier, that's not relevant.                   It's inside the

13   incubation window.

14   Q    So it's not relevant if person A had sex with another

15   individual a year before having sex with person B?

16   A    Not for the first attack.

17   Q    Okay.    So you're saying that if person A had sex with

18   person C -- let's call it X, so we can differentiate.

19                Person A has sex with person X a year prior and they

20   have a relationship and they have sex, I don't know a couple

21   of times through the year, they then have sex on Monday with

22   person B, you're saying that the fact that they had a previous

23   partner who may have given them herpes, contracted herpes from

24   has no significance to the current case?

25   A    Again it's apples and oranges.               If person X had a prior



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 1   relationship with person A, and person A did not, from person

 2   X, get herpes, because the first outbreak would show, there's

 3   nothing hidden about the initial contact with herpes, it would

 4   show.    Then when person A has sex with person B and they get

 5   herpes, then it came from the person they had sex with, the

 6   prior person did not give it to them.                    They never showed the

 7   evidence.       You can't have contact with herpes for the first

 8   time and it never show up.

 9   Q       Okay.    How about if the person doesn't go to get tested

10   during that year and they don't end up getting tested -- after

11   they had sex with person Z, there is no test during that year,

12   they wait until they have at some point they have sex with

13   person B and then sometime after that, not right after but

14   maybe six months later, they go to get tested.                   Does that make

15   a difference?

16   A       Well, it always makes a difference if they don't go to

17   get tested, but again the testing is a tertiary aspect.

18                   Person X, if they had herpes and if person X gave it

19   to person A for the first time, it would show up.                   Whether

20   they get the testing or not is a tertiary aspect, because the

21   individual might be able to manage himself or herself and

22   never show up for any clinical care --

23   Q       Correct.

24   A       -- but the fact that if the person X had first time

25   infected person A, that would show up for person A.



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 1                What person A does with that information is his or

 2   her own situation.    That's all I'm trying to clarify, that the

 3   past exposure is different from a past acute primary exposure.

 4   Q    Okay.    When you do the tests, whatever tests you choose,

 5   the tests don't give you the DNA of the other person who gave

 6   your patient herpes, correct?

 7   A    Correct.

 8   Q    Yes.    So when you're asking questions and/or informing

 9   your patients about herpes, is it important -- isn't it

10   important that you talk about whether or not they have one

11   partner or multiple partners?

12   A    Yes, we do.     Yes, we do.

13   Q    And that's important because you're trying to figure out

14   and trying to sort of narrow down where this person could have

15   contracted the disease from, correct?

16   A    Yes.    That's usually the model for sexually transmitted

17   diseases.

18   Q    Now isn't it true that a blood test certainly can tell

19   you if you have herpes or not?

20   A    Correct.

21   Q    And a blood test is a pretty sure way of determining

22   whether this person, your patient, has herpes or not, correct?

23   A    Correct.

24   Q    Now --

25   A    Had, not has, had.



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 1   Q    Okay.    Had --

 2   A    In the past.

 3   Q    Had been -- I'm sorry, say that again.

 4   A    Had in the past.

 5   Q    Yes.    Had in the past, okay, got it.

 6                Now the blood test, they can't tell you the person

 7   who gave your patient herpes, correct?

 8   A    No.

 9   Q    And they also can't determine how long the person has

10   been infected, correct?

11   A    They can to a small extent.

12   Q    A blood test?

13   A    Yes, ma'am.

14   Q    Tell me about that.

15   A    So in the blood test you're looking for what type of a

16   cell, that's call the antibody.             If you find an antibody of a

17   certain type, which is called M, as in Mary, that is an acute,

18   recent current exposure.        If you find the antibody which is

19   named G, as in God, that denotes past exposure.

20                So if I draw a blood test on a patient and I'm doing

21   what's called an antibody test, I will get an answer that says

22   IGM, as in Mary, positive or negative.                 I will get an answer

23   IGG, as in God, positive or negative.                 And that will allow me

24   to tell the duration, is it acute, recent now, which would be

25   M as Mary, or is it past, in the past of her life, which would



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 1   be the G.

 2   Q       Okay.   So what's recent?        What timeline, what does that

 3   mean?

 4   A       In general, about two weeks on average.               It can be up to

 5   a month.

 6   Q       So if the test is done after two weeks or up to a month,

 7   then you're saying that is considered G, as in God.                 Excuse

 8   me, that's considered past exposure, past the two weeks or the

 9   month?

10   A       Correct.   The lab will tell me which immunoglobulin it

11   is, IGM or IGG.     The lab will say positive, and then it will

12   tell me which type of antibody cell.

13   Q       So is it fair to say then that the blood test is a pretty

14   accurate way to determine whether or not someone has herpes?

15   A       Well, in fact it's a very inaccurate way.

16   Q       Tell me then what you mean by that.

17   A       Well, it means, in general when someone is trying to

18   diagnose herpes, the last thing we look for is a blood test.

19   It is part of the armamentarium of trying to diagnose herpes.

20   The first thing is, as I had mentioned earlier, the physical

21   exam, highly reliable, and many, many clinicians will not

22   bother to do any additional lab testing of any kind.                 However,

23   if somebody wishes to do lab testing a preferred way is to get

24   the genetic material of herpes virus.                  If for some reason that

25   is not available or what we call equivocal, non-diagnostic and



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 1   for whatever additional reason, that I can't think of right

 2   now, somebody says I wish to do the antibody test which will

 3   tell me if this body mounted a defense mechanism against

 4   exposure to the herpes virus, that's the antibody test, the M

 5   and the G.      So that's the least chosen is that blood test.

 6   Q       So it requires the patient to ask to get a blood test in

 7   order for you to do a blood test on someone who may have

 8   symptoms or outbreaks of herpes?

 9   A       Well, the patient would be offered, after her physical

10   exam and the clinician says you have herpes, primary outbreak

11   or secondary outbreak, the patient may accept that and they

12   move on with the management plan and the counseling and

13   precautions.      The patient or the clinician may say, both may

14   say or one may say, I want further diagnosis, I want to clinch

15   this.    I'm almost certain, but I want more certainty.          Then

16   they would do the blood test or the culture.

17                  In the setting of the blood test, which we are

18   discussing, we could do -- draw a sample of a blood and look

19   for the genetic material of the virus, or we could draw a

20   sample of blood and say I'm looking for the antibody, which is

21   the IGG, IGM.

22   Q       Thank you.

23                  You're familiar with the CDC, correct?

24   A       Yes.

25   Q       What does that stands for?



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 1   A    Centers for Disease Control.

 2   Q    And the Center for Disease Control, they come out with

 3   way they believe are appropriate standards and guidelines; is

 4   that correct?

 5   A    Guidelines.

 6   Q    Guidelines, thank you.

 7                So you're familiar with the fact that the CDC's

 8   guidelines indicate that the only way to know for certain if a

 9   person has herpes is by a blood test you're aware of that?

10   A    Yes, because you have to define what certain means.

11   Q    Okay.    So when you -- strike that.                So a blood test is

12   the best way to determine if a person has herpes?

13   A    If you're talking about as close to a hundred percent

14   certainty, yes, blood test.

15   Q    Isn't it true that herpes is one of the most common STDs

16   in the world?

17   A    I don't know what you mean by most common in the world.

18   Q    Well, herpes type 1, the oral infection, that's a very

19   common infection, correct?

20   A    It is very common, yes.

21   Q    And isn't it true that according to the World Health

22   Organization -- you're familiar with them?

23   A    Yes, I am.

24   Q    Who are they, I guess I should ask.

25   A    Well, they are a group of medical personnel or medical



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 1   affiliated personnel who have opinions and managements on the

 2   public health, on the overall health of geographically various

 3   communities.

 4   Q    Do you rely on their information at times?

 5   A    Almost never to be very honest.

 6   Q    Okay.     And how come?

 7   A    Because of many reasons.             The top reasons are that the

 8   World Health Organization will not -- will -- will be very

 9   particular about not being specific because they're talking

10   global.   So they will give opinions and guidelines that would

11   apply to a global concept which would then be defined or

12   controlled by what are resources available there, what

13   abilities of clinicians and their expertise available there,

14   et cetera, et cetera.        So that's just one example of why World

15   Health Organization information are suggestions, they are

16   guidelines and they are not really used to hone in and to hang

17   your hat on in terms of diagnosis and clinical management.

18   Q    So you would be surprised if doctors in the United States

19   relied on their suggestions and guidelines?

20                MS. SHIHATA:     Objection.

21                THE COURT:    Well, overruled.               Can you answer that

22   question?

23                THE WITNESS:     Yes.       I wouldn't be surprised.        A

24   clinician once he or she is a competent, qualified clinician

25   can do whatever they want to do.               I personally wouldn't use



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 1   it.

 2   Q     Thank you.

 3                Now, isn't it true, doctor, someone with oral type 1

 4   herpes can unsuspectingly -- sorry, I always get that word

 5   wrong -- unsuspectingly self-inoculate a herpes infection from

 6   oral to genital area simply by touching the sores and then

 7   touching the genital area?

 8   A     It's rare, but it is possible.

 9   Q     Can you tell me a few of the diagnosis that are possible

10   when a patient shows up with genital ulcers?

11   A     Oh, okay.     So the diagnoses with genital ulcers are, they

12   are in the categories of infections, sexually transmitted

13   infections.     They can be in the category of allergies, contact

14   issues, et cetera.      They can be in the category of a

15   medication reaction, et cetera.               So it's different columns.

16   Q     And just so we can make sure we're all on the same page,

17   what is a genital ulcer, what does that mean?

18   A     A genital ulcer you're basically talking the ulcer means

19   it's a blister that opened or broke open and it's raw and

20   exposed to the outside.

21   Q     So fair to say there's things other than herpes that

22   appear as genital ulcers?

23   A     But they each have a unique appearance.

24   Q     Yes.    And the most common of the causes of genital ulcers

25   is not herpes, but it is an infectious disease.



                               GEORGETTE K. BETTS, RPR, FCRR, CCR
                                     Official Court Reporter

                                        A 1001
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page160 of 303

                        Hoskins - cross - Blank Becker                    3077


 1   A    The most common, again you have to clarify what you mean

 2   by most common --

 3   Q    Well --

 4   A    -- you have to look at the clinical setting of where that

 5   occurred.

 6   Q    Okay.    So when determining -- looking at genital ulcers

 7   and trying to determine what they are in the patient, isn't it

 8   true that herpes is not typically the number one diagnosis

 9   when seeing genital ulcers?

10   A    I disagree.

11   Q    How about syphilis, that can cause genital ulcers, right?

12   A    You're using genital ulcer like saying there's a cover

13   when it's raining.    The cover can be a hat, it can be an

14   umbrella, it can be whatever else, a cape or anything.

15                Genital ulcer is a bucket of things that can -- it's

16   a term that a lot of things can go into that bucket.

17                So a syphilis ulcer is going to physically look

18   different, its behavior, its appearance, historically when it

19   appeared in the context, that's why I was talking about the

20   clinical context of how when you see what you're calling a

21   genital ulcer, you're not going to look at a patient and say,

22   oh, this a genital ulcer, I have a checklist the most common

23   is whatever item and then herpes is somewhere on that list.

24   You're going to take the whole clinical context, look at that

25   genital ulcer and say the most likely underlying cause is X,



                             GEORGETTE K. BETTS, RPR, FCRR, CCR
                                   Official Court Reporter

                                      A 1002
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page161 of 303

                        Hoskins - cross - Blank Becker                     3078


 1   Y, Z, based on clinical context which includes the appearance

 2   of that particular ulcer.

 3   Q    Well, could you tell us about a Lipschutz ulcers?

 4   A    Well, Lipschutz ulcers are those which due to a more of

 5   an irritation from a prior infection, you know, underlying, et

 6   cetera, and they would not look anything close to a herpes

 7   ulcer.

 8   Q    So your opinion or your testimony states that those sores

 9   don't look anything like herpes?

10   A    Not in my clinical opinion they don't.

11   Q    And those sores aren't usually -- strike that.           Those

12   type of sores typically are found after a flu or maybe someone

13   has mono; is that correct?

14   A    Yeah.

15   Q    Okay.    That's called a Lipschutz ulcer not herpes,

16   correct?

17   A    Yeah.

18   Q    Chlamydia, that can cause ulcers, correct?

19   A    Sometimes.

20   Q    Syphilis, that can cause ulcer sometimes?

21   A    Sometimes.    Very different appearances.

22                (Continued on the next page.)

23

24

25



                             GEORGETTE K. BETTS, RPR, FCRR, CCR

                                      A 1003
            Case 22-1481, Document 73, 04/17/2023, 3500774, Page162 of 303

                          Hoskins - cross - Blank Becker                      3079


 1   CROSS EXAMINATION

 2   BY MS. BLANK BECKER:        (Continuing)

 3   Q      And there's other STDs that can cause ulcers as well;

 4   correct?

 5   A      Correct.

 6   Q      So it's quite possible that one of the -- if someone has

 7   a genital ulcer, it could be any one of these different

 8   ulcers?

 9   A      The possibility would only be in the realm of the

10   clinical context.

11   Q      You have said -- you know, you have qualified, sort of, a

12   number of these questions in the clinical context; correct?

13   A      Correct.

14   Q      How do you explain then if someone comes to see you and

15   they have no symptoms when they come to see you, how is the

16   clinical context relevant?

17   A      The clinical context -- well, that information would be

18   part of the clinical context.          And no symptoms of what?         What

19   is it that I'm looking for?           What is it that I am concerned

20   for?

21                 If I see a patient and there is no history, there is

22   no complaint of any kind and the patient has no physical exam

23   and evidence of any ulcers and no history and no symptoms or

24   signs, then that's a clinical context.

25                 If a patient has a particular finding, physical



                           MDL       RPR        CRR      CSR
                                       A 1004
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page163 of 303

                           Hoskins - cross - Blank Becker                 3080


 1   finding, like an ulcer somewhere, I have to put it into the

 2   context of other aspects of her personal life and her clinical

 3   life:    Medications, infections, what she was doing about her

 4   partners, about her sexual history, her personal medical

 5   history, illnesses, et cetera.        So that's what I mean by

 6   clinical context.

 7                   No symptoms, again, matters in relation to other

 8   symptoms you're talking about towards the ulcer or the finding

 9   or are you talking about no symptoms in her physiologic -- in

10   the rest of her body?

11   Q       Well, it could be both; correct?

12   A       It can.

13   Q       Okay.    Now, you also discussed earlier about the use of

14   cultures to determine if someone has herpes; correct?

15   A       Correct.

16   Q       And are cultures used -- let's say within the past ten

17   years, have cultures been used to do such a thing?

18   A       Well, I can't comment on that because I don't know what a

19   clinician might want to order.

20   Q       Okay.    Fair enough.   So a culture is always an option for

21   a clinician to order?

22   A       Yes.

23   Q       Okay.    And would you say, in your practice, a culture

24   would come before a blood test?           Would that be something you

25   would do prior to a blood test or either/or?



                            MDL      RPR       CRR     CSR
                                      A 1005
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page164 of 303

                        Hoskins - cross - Blank Becker                    3081


 1   A    It can be neither.      It can be either.      It can be or, or

 2   all of them.    It depends on the clinical context, what I'm

 3   trying to find out and what is in front of me in terms of the

 4   patient's symptoms and signs.

 5   Q    Okay.     So, doctor, let me give you an example.        If a

 6   patient had ulcers and they had a swab done to culture, and

 7   test the sores and it was negative, does that prove that the

 8   person doesn't have herpes?

 9   A    No, it does not.

10   Q    So these tests, including cultures, they are not

11   100 percent; right?

12   A    Nothing in medicine is 100 percent.

13   Q    So I believe you indicated earlier that there could be a

14   false negative; is that correct?        Or not?

15   A    What was I speaking about?         I don't recall.

16   Q    With regards to cultures and testing.

17   A    Yes.

18   Q    You're saying there would be a false negative?

19   A    Yes, did he tell.

20   Q    And you're also saying that these tests are not

21   100 percent accurate; correct?

22   A    Correct.

23   Q    All right.    So based on the testimony you just indicated

24   with regard to a visit with a patient and getting all their

25   background and so forth, if you examine that patient, can you



                         MDL      RPR        CRR       CSR
                                    A 1006
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page165 of 303

                        Hoskins - cross - Blank Becker                    3082


 1   always tell from the examination whether the person has herpes

 2   or not?

 3   A    I think it's a very open-ended question.          If you could

 4   help narrow it down a little bit.

 5   Q    Sure.

 6                Is it an exam by itself 100 percent sensitive for

 7   diagnosis of herpes?

 8   A    Nothing in medicine is 100 percent.

 9   Q    Okay.

10   A    Having said that, the physical exam is highly reliable

11   and the most common, most chosen, most frequent model of how

12   we diagnose herpes.       It's more of all these, preferable,

13   reliable, likely, if it's a primary outbreak because it's so

14   particular, so unique, the finding, the location, the whole

15   appearance of the ulcer and the whole genital area, the

16   lesions, et cetera.

17                If it's a secondary outbreak, we take into context

18   the patient telling us her history, what her symptoms were,

19   what we call -- it's a technical term, but we call it

20   prodromal, meaning before the physical, actual ulcer, they

21   were other sensations:      Burning, tingling, pain, et cetera.

22   So then we put into context of that.

23                So when we do a physical exam, it's very highly

24   reliable.    When we have the clinical context both ways, its

25   primary, so clear, so specific.          It's secondary, we can get it



                         MDL       RPR        CRR     CSR
                                     A 1007
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page166 of 303

                        Hoskins - cross - Blank Becker                    3083


 1   in the context of what she's describing to us.

 2   Q    So if you examine a patient, are you suggesting that you

 3   can always tell if they have herpes or not?

 4   A    I think we are going a little circular.

 5                If the patient has the classic presentation on exam,

 6   we can break it down into primary or secondary.          The primary

 7   is the most easy to identify.       It's very unique.      It's very

 8   specific.    It's highly likely to be that just by us clinicians

 9   seeing it, knowing the location, the appearance, the timing

10   and what the patient is describing.           So it's very likely.

11   Nothing is 100 percent.     It can be clinched with additional

12   tests.

13                With the secondary, the appearance of the ulcer in

14   the context of what the patient is describing by history and

15   by the current symptoms, it would again be also very likely

16   but not as high of a likelihood as with the primary.

17   Q    Okay.    I'm going to move on.

18   A    Thank you.

19   Q    Doctor, can a baby acquire herpes --

20   A    Yes.

21   Q    -- from their mother?      I'm sorry?

22   A    Yes.

23   Q    And can children even acquire herpes over time from their

24   parents, growing up with their parents, especially if their

25   parents have the Type 1 herpes?



                         MDL      RPR        CRR       CSR
                                    A 1008
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page167 of 303

                          Hoskins - cross - Blank Becker                  3084


 1   A       Yes.

 2   Q       Doctor, isn't it also true that the rates for herpes are

 3   higher in African-Americans?

 4   A       I think some studies have shown that but not all studies

 5   have shown that because there are many other factors that

 6   affect the rate of herpes.

 7                  MS. BLANK BECKER:     Sorry, Judge.

 8                  THE COURT:   It's all right.

 9                  MS. BLANK BECKER:     I am trying to move forward

10   through this.

11                  May I have one moment, Judge?

12                  THE COURT:   Sure.

13                  (Pause.)

14                  MS. BLANK BECKER:     Thank you, Judge.

15                  THE COURT:   Sure.

16                  MS. BLANK BECKER:     Judge, may I approach?

17                  THE COURT:   Sure.

18                  MS. BLANK BECKER:     Thank you.

19   Q       I am going to hand you --

20                  THE COURT:   You want to talk to the witness?

21                  MS. BLANK BECKER:     Yes.

22                  THE COURT:   I see.

23   Q       I'm going to hand you a document and just ask that you

24   look at it and then I can ask you some additional questions.

25   Okay?



                           MDL      RPR          CRR   CSR
                                     A 1009
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page168 of 303

                           Hoskins - cross - Blank Becker                    3085


 1   A       Yes.

 2   Q       Okay.

 3                   MS. BLANK BECKER:        May I, Judge?

 4                   THE COURT:   Yes.

 5                   THE WITNESS:   Do you want me to put my mask on?

 6                   THE COURT:   No.    It's all right.

 7                   MS. BLANK BECKER:        May I approach, Judge?

 8                   THE COURT:   Yes.

 9   Q       I am going to ask...

10                   MS. BLANK BECKER:        Judge, I ask that this be marked

11   as Exhibit KK, please.

12                   THE COURT:   All right.      You know, we are coming

13   right up to the lunch break.             Do you have a lot more for this

14   witness?

15                   MS. BLANK BECKER:        I have some more questions, but

16   I'm almost done.

17                   THE COURT:   That's okay.      If you have ten minutes or

18   so, we can finish the cross.             But, anyway, so you are marking

19   this for identification.

20                   Are you offering it into evidence?

21                   MS. BLANK BECKER:        Yes, Judge, and only for the

22   jury.

23                   THE COURT:   Do you have any objection to this?

24                   MS. SHIHATA:   No, as long as it is jury only.

25                   THE COURT:   It's in evidence, then.



                            MDL         RPR       CRR     CSR
                                         A 1010
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page169 of 303

                        Hoskins - cross - Blank Becker                    3086


 1              (Defendant's Exhibit KK received in evidence.)

 2              MS. BLANK BECKER:       Judge, do you wish for me to

 3   continue or do you want to take a break?

 4              THE COURT:     Go ahead.

 5              MS. BLANK BECKER:       Thank you.

 6              Judge, this is to be published to the jury only.

 7              THE COURT:     Yes.    If you are trying to -- just take

 8   it off the screen.    You are showing it to everybody.         If there

 9   is something that you have to take out of it.

10              MS. BLANK BECKER:       No, I don't have to take it out.

11              MS. SHIHATA:    As long as it is jury only.

12              THE COURT:     All right.

13              MS. BLANK BECKER:       Judge, may I approach to just let

14   her know something?

15              THE COURT:     Sure.

16              You're going to have to have some kind of way to

17   project your voice.

18              MS. BLANK BECKER:       Sorry, Judge.   Is it okay if I

19   could possibly sit so the jury can hear me?

20              THE COURT:     That's fine.

21              MS. BLANK BECKER:       I appreciate it.

22   BY MS. BLANK BECKER:

23   Q    Doctor, I apologize for the brief break there.

24   A    No worries.

25   Q    Doctor, I have handed you Defense Exhibit KK.           What does



                         MDL      RPR          CRR    CSR
                                      A 1011
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page170 of 303

                        Hoskins - cross - Blank Becker                    3087


 1   that appear to be?

 2   A    It looks like a medical summary visit.

 3   Q    Okay.    Is that a common thing to do as a gynecologist

 4   when someone comes to write a report?

 5   A    Any clinician, sure.

 6   Q    Okay.    Thank you.

 7                And specifically, in this particular report that you

 8   are looking at, there are several questions that appears that

 9   were asked of this individual with regards to their

10   gynecological history; correct?

11   A    Correct.

12   Q    And specifically there is a question that was asked about

13   her -- in this case, this is a female; is that correct?

14   A    Correct.    I assume.

15   Q    Yes.    And she was asked, in regards to her gynecological

16   history, sexual history, sexually active; correct?

17   A    Correct.

18   Q    Do you see that?

19   A    Yes.

20   Q    Okay.    And she indicated -- it appears that she

21   indicated, per this piece of paper, that -- she indicated that

22   she had a partner since April 2015; correct?

23   A    Correct.

24   Q    And the date of this particular report is dated

25   8/14/2015; correct?



                         MDL      RPR        CRR      CSR
                                    A 1012
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page171 of 303

                        Hoskins - cross - Blank Becker                    3088


 1   A    Correct.

 2   Q    All right.    So April 2015, we're talking what?         Four

 3   months prior to when she was there; correct?

 4   A    Correct.

 5   Q    Okay.    And it also indicates on here that she had -- her

 6   sexual history and whether she was sexually active, that's a

 7   question; correct?

 8   A    Correct.

 9   Q    And she -- that's where she indicated that she had only

10   been sexually active or sexual history since April 2015;

11   correct?

12   A    No.   That's not what it means.

13                THE COURT:   Could I see the parties at the side

14   please for a minute with the court reporter.

15                (Sidebar held outside of the hearing of the jury.)

16                (Continued on next page.)

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                         MDL      RPR        CRR      CSR
                                    A 1013
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page172 of 303

                                     Sidebar                              3089


 1              (The following sidebar took place outside the

 2   hearing of the jury.)

 3              THE COURT:    Are we getting into sexual history

 4   questions again?

 5              MS. SHIHATA:    I don't think we are because the

 6   sexual partner she had there was the friend.

 7              MS. BLANK BECKER:       Yeah.

 8              THE COURT:    It sounds like the witness is about to

 9   answer something different.

10              MS. SHIHATA:    I have no idea what the witness is

11   about to say.

12              MS. BLANK BECKER:       Yes.

13              MS. SHIHATA:    I don't have an issue with partner

14   since 4/2015.

15              THE COURT:    All right.

16              (Sidebar concluded.)

17              (Continued on the following page.)

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                        MDL       RPR          CRR    CSR
                                    A 1014
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page173 of 303

                        Hoskins - cross - Blank Becker                    3090


 1                MS. BLANK BECKER:     May I, Judge?

 2                THE COURT:   Yes, go ahead.

 3                MS. BLANK BECKER:     Thank you.

 4   BY MS. BLANK BECKER:

 5   Q    And, Doctor, the date of birth is listed on this sheet;

 6   correct?

 7   A    Correct.

 8   Q    And what is that?

 9   A    12/30/1997.

10   Q    Okay.    So -- and I'm not very good at math.         Maybe you're

11   better.    1997 until 2015, when this test was done, how old

12   would that make that individual?

13   A    Well, I could do the math or I could just read it, which

14   says 17 years.

15   Q    There you go.

16                So this test was done when the individual was 17

17   years old?

18   A    Correct.    According to this paper, yes.

19   Q    And this particular paper that we are looking at, I'm

20   going to switch now to the second part of this piece of paper.

21                Are you able to see that?

22   A    Yes, ma'am.

23   Q    Okay.    And ultimately it was determined, or this

24   particular paperwork indicates that the plan was for treating

25   herpes; is that correct?



                         MDL      RPR        CRR      CSR
                                    A 1015
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page174 of 303

                        Hoskins - cross - Blank Becker                    3091


 1   A    Correct.

 2   Q    Thank you.

 3              Because there is such a lapse in time from the time

 4   where this individual indicated she had sexual intercourse

 5   with her partner from April 2015 until four months later, in

 6   August 2015, can you tell by looking only at what you have

 7   here whether or not you can determine who she got that from?

 8   A    I'm not interpreting it the way you are.

 9   Q    Well, I'm not here to interpret.         I'm asking questions.

10   So you can tell us your interpretation.

11   A    No.   The reason I say what I do is because you said

12   because there was a lapse of time and when I read this medical

13   report, I look at the words that says she has a partner since

14   April 2015.   It says she is sexually active.

15              When we ask patients that, what we're trying to

16   identify is are they currently sexually active, were they past

17   sexually active, are they virginal, et cetera.           So I am

18   interpreting it from a textbook medical point of view.

19   Q    Thank you.

20              MS. BLANK BECKER:       Judge, I believe this would be a

21   good point to take a lunch break.

22              THE COURT:     Okay.

23              MS. BLANK BECKER:       Thank you.

24              THE COURT:     Ladies and gentlemen, we are going to

25   break for lunch.    Please have a good lunch.          Don't talk about



                         MDL      RPR        CRR      CSR
                                    A 1016
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                       Hoskins - cross - Blank Becker                     3092


 1   the case.   Let's see you at, let's make it 2:25.

 2               THE COURTROOM DEPUTY:        All rise.

 3               (Jury exits the courtroom.)

 4               THE COURT:    All right.     Everybody can have a seat.

 5               Doctor, you are excused.       We will see you after

 6   lunch.

 7               THE WITNESS:   Thank you.

 8               (Witness exits.)

 9               THE COURT:    Anything before we break for lunch?

10               MS. BLANK BECKER:      No.

11               MS. GEDDES:    Yes.

12               THE COURT:    Before you do this, I want to figure out

13   how much longer we have with this witness.

14               MS. BLANK BECKER:      Honestly, Judge, that took longer

15   than I thought.    I have a couple more things and that's it.

16               THE COURT:    That's fine.

17               And you are not going to have a lot redirect

18   examination.

19               MS. SHIHATA:   Not a lot.

20               MS. GEDDES:    On Monday, since we are not going to

21   start until 12 clock, we proposed to defense counsel that we

22   have the jurors eat an early lunch and maybe take two

23   afternoon breaks to make the most out of our time.

24               THE COURT:    I think we might be ahead of you on

25   that.



                        MDL       RPR         CRR     CSR
                                    A 1017
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                       Hoskins - cross - Blank Becker                     3093


 1              MS. GEDDES:    Thank you.

 2              THE COURT:    Ms. Greene is the person in control.

 3   She has it covered.

 4              Anything else?     All right.

 5              See you after lunch.

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 7              (Continued on next page.)

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                        MDL       RPR        CRR      CSR
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                        Hoskins - cross - Blank Becker                    3094


 1

 2                             AFTERNOON SESSION

 3              (In open court; outside the presence of the jury.)

 4              THE COURTROOM DEPUTY:        All rise.

 5              THE COURT:     Everybody can have a seat.

 6              All right.     Let's get the witness and then we will

 7   get the jury.

 8              THE COURTROOM DEPUTY:        All rise.

 9              (The jury enters the courtroom.)

10              THE COURTROOM DEPUTY:        You may be seated.

11              THE COURT:     All right.     I hope everybody enjoyed

12   their lunch.    We are ready to continue.

13              Go ahead, Ms. Becker.

14              MS. BLANK BECKER:       Thank you.

15              THE COURTROOM DEPUTY:        The witness is reminded she

16   is still under oath.

17              THE WITNESS:     Yes.   Thank you.

18   CROSS EXAMINATION

19   BY MS. BLANK BECKER:      (Continuing)

20   Q    Good afternoon, Doctor.

21              Doctor, you testified that the most common method of

22   diagnosing herpes is through history and physical exam; is

23   that fair to say?

24   A    Yes, ma'am.

25   Q    All right.     And then you also agreed with the CDC that



                         MDL      RPR        CRR      CSR
                                    A 1019
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page178 of 303

                        Hoskins - cross - Blank Becker                    3095


 1   the most accurate way to verify herpes, a herpes diagnosis is

 2   through a blood test; correct?

 3   A    If one choses to go on a higher level, yes.

 4   Q    Okay.    With regards to herpes, we've talked about how

 5   there is a herpes simplex 1 and a 2; correct?

 6   A    Correct.

 7   Q    All right.    And isn't it a fact that it wasn't until

 8   around the 1960s that the scientists were able to determine

 9   that there were two different strands?

10   A    I wouldn't know which year, but, yes, it was considered

11   relatively recent if you talk about history of medicine,

12   correct.

13   Q    Thank you.

14                And that's when the classification of genital herpes

15   came out; is that correct?

16   A    I don't recall it by the year.

17   Q    Not the year, but that was when they separated it?

18   A    A separation.     Correct.

19   Q    I got it.    Thank you.

20                You also testified earlier that syphilis and

21   chlamydia, those are bacterial infections; correct?

22   A    Correct.

23   Q    But with regards to herpes, that's not a bacterial?

24   A    No.

25   Q    -- infection?     It's a virus?



                         MDL      RPR        CRR      CSR
                                    A 1020
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                         Hoskins - redirect - Shihata                     3096


 1   A    Correct.

 2   Q    Got it.

 3                MS. BLANK BECKER:      And I don't have any additional

 4   questions.    Thank you, Doctor.      Thank you, Judge.

 5                THE COURT:   Thank you.

 6                Any redirect?

 7                MS. SHIHATA:    Yes, Judge.

 8   REDIRECT EXAMINATION

 9   BY MS. SHIHATA:

10   Q    Good afternoon.

11   A    Good afternoon.

12   Q    Now, during cross-examination you were asked some

13   questions, or a question or two about whether a mother can

14   transmit herpes to her baby; is that right?

15   A    Yes, ma'am.

16   Q    And what are some of the effects that herpes can have on

17   a pregnant woman?

18   A    Well, whenever we look at a pregnant woman, we're always

19   looking at two patients, because it's the mother and the baby.

20   So like you pointed out, when you say what are the effects on

21   the pregnant woman, on the woman itself would be if it's a

22   primary outbreak, it would be a flu-like thing with fever,

23   sniffles, runny nose, malaise, aches and pains, it would be

24   the lesions in the genital area that are extremely painful.

25   We've been through all of that, with the weeping ulcers, et



                         MDL       RPR       CRR      CSR
                                    A 1021
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page180 of 303

                         Hoskins - redirect - Shihata                     3097


 1   cetera.    And that would be in the mother.

 2               But the fact that the mother in pregnancy -- this is

 3   going to be a little bit of a long-ish answer.          During

 4   pregnancy, every single mother is -- her immunity is down.

 5   And the reason her immunity is down is that's how she is

 6   accepting that other person inside her, the fetus who's

 7   growing.   And the best way to explain that, to show what I am

 8   talking about, later on in life, if that same mother and that

 9   same child were to give each other -- to donate an organ or

10   share blood or tissue, they would have to be tested to see if

11   there is a match.    Yet every single mother, 100 percent of the

12   time, carries a baby where the organ, the blood and

13   everything, it's inside her, it's a completely different

14   person, so her immunity has to be suppressed in order for her

15   to accept that for the duration of the pregnancy.

16               Because her immunity is suppressed, she's going to

17   be at increased risk for, A, getting an infection, and, B, if

18   she gets an infection, it would be on a higher plane, higher

19   degree, worse:    Depth of the illness, longer duration of the

20   illness, more serious possibility of complications.           That's

21   the back story.

22               Going to your question about herpes effect on the

23   mother, because her immunity inherently is less because it is

24   suppressed because of carrying the pregnancy, the herpes is

25   going to have a bigger effect.



                         MDL      RPR        CRR      CSR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page181 of 303

                        Hoskins - redirect - Shihata                       3098


 1              If it's a primary infection, then all these things

 2   that I have described are going to be on a higher degree,

 3   higher amount, higher quantity.

 4              If it's a secondary infection, there are studies in

 5   the literature where she is more likely to have an outbreak

 6   because her immunity is suppressed, it was lying in her

 7   central nervous system, now it's going to reinfect her.

 8              So there are the concerns in a mother:          Flu-like

 9   problems, additional problems in terms of secondary

10   infections, and then the fact that everything is going to be

11   of a higher degree.

12   Q    And what kind of complications can it have on the fetus

13   or baby that's being carried?

14   A    So for the fetus it's very much more serious because the

15   fetus does not have any inherent immunity.         So the fetus has

16   only got a little bit of protection through the mother.              The

17   herpes virus, even though the mother maybe now, as a secondary

18   infected person, she had it before, assume, and now she's

19   carrying the virus, and if it gets transmitted to the fetus

20   through the placenta, the fetus's body has never seen this

21   virus before, it doesn't have very good efficient immunity, so

22   the fetus can get very sick even inside the uterus.

23              If the baby has been delivered, the concern is if

24   there was a direct contact between wherever the virus is

25   shedding to the baby, either through the nares -- that's the



                        MDL       RPR        CRR      CSR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page182 of 303

                          Hoskins - redirect - Shihata                    3099


 1   nasal passages -- in the eyes, through the ears, mouth, any

 2   skin.

 3                When there is direct contact, if the mother is

 4   shedding and now there's contact to this newborn that just

 5   came out or is in the passage, in the birth canal, that fetus

 6   or newborn can get very sick very quickly and has a higher

 7   likelihood that it would go to the brain and the infection in

 8   the brain would cause serious long-term damage.

 9   Q       Like what?

10   A       So the infection in the brain for a newborn, if it's

11   coming from a herpes virus infection is a condition that would

12   be an inflammation in the brain.        The technical term is

13   encephalitis or -- and the implication is that there would be

14   a cerebral palsy like picture.       Cerebral palsy is just an

15   umbrella for lots of conditions that are resulting from damage

16   to the brain.      Herpes is one of them.

17   Q       So fair to say that a woman of child bearing age

18   diagnosed with herpes, this is yet another serious

19   complication that they have to be concerned with?

20   A       Correct.   We do tell our patients that this is a burden

21   you carry if you have herpes and you are now pregnant or

22   planning to get pregnant, this is a risk that could occur to

23   you because of your immune suppression, but also the definite

24   very serious risk to your baby if you get an activation at

25   that time and the reactivation at that time is an



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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page183 of 303

                        Hoskins - redirect - Shihata                      3100


 1   unpredictable point in time.

 2   Q    Now, you were asked a lot of questions on

 3   cross-examination about testing for herpes and various methods

 4   and whether someone can have herpes and not know it and so

 5   forth.   Fair to -- certainly someone whose doctor tells them

 6   they have herpes knows they have herpes; correct?

 7   A    They have herpes, yes.

 8   Q    Now, you were asked a lot of questions about person X, Y,

 9   Z and person A, B.    I want to make a simpler version of that

10   question, okay.

11               So if person X has a doctor who has told them they

12   have herpes and they go out and sleep and have sexual

13   intercourse with multiple partners, they are exposing each of

14   those partners to herpes; correct?

15   A    Yes.

16   Q    You were also asked questions about different types of

17   ulcers in the genital area on cross-examination and I think

18   you were asked about ulcers related to syphilis and chlamydia.

19   Do you take Valtrex to treat syphilis?

20   A    No.    It's a bacterial infection.

21   Q    And do you take Valtrex to treat chlamydia?

22   A    No.

23   Q    Those are both bacterial infections?

24   A    Yes.

25   Q    And Valtrex is an anti-viral; correct?



                        MDL       RPR        CRR      CSR
                                    A 1025
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page184 of 303

                        Hoskins - redirect - Shihata                      3101


 1   A    Correct.

 2   Q    Now, you also talked about diagnosing herpes in a

 3   clinical setting, and when you do that, does that include

 4   taking the history of the patient?

 5   A    Yes.

 6   Q    Including their sexual history?

 7   A    Yes.

 8   Q    Whether they're having sex with multiple partners?

 9   A    Yes.

10   Q    Whether they have had sexually transmitted diseases in

11   the past?

12   A    Yes.

13   Q    All of that is part of it; right?

14   A    Yes.

15   Q    Now, you were shown a medical record, I believe it was

16   Defense EE -- I'm sorry, KK.       I'm going to show you, jury

17   only, please, the record here.       This one is marked Government

18   Exhibit 909, but it is the same record.

19               Now, the date of this exam is August 14, 2015;

20   correct?

21   A    Yes, ma'am.

22   Q    The age of the patient 17 years old?

23   A    Yes, ma'am.

24   Q    And it indicates they have a partner, singular, since

25   April 2015?



                        MDL       RPR        CRR      CSR
                                    A 1026
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page185 of 303

                        Hoskins - redirect - Shihata                       3102


 1   A    Yes.

 2   Q    And if you look under examination, it says external

 3   genitalia, multiple ulcerated weeping lesions, exquisitely

 4   tender?

 5   A    Correct.

 6   Q    Now we will look under assessment on the second page,

 7   assessment herpes; correct?

 8   A    Correct.

 9   Q    And then plan, there's a plan to start Valtrex.           That's

10   the treatment we talked about earlier; correct?

11   A    Correct.

12   Q    Under notes, it says, "Discussed clinical appearance of

13   primary herpes outbreak, discussed culture for confirmation

14   and typing.   Patient refuses culture due to discomfort.

15   Discussed additional STD testing.        Patient declines due to

16   discomfort but will consider once current outbreak is less

17   painful."

18               MS. BLANK BECKER:      Excuse me one second.     We are

19   supposed to get rid of the --

20               THE COURT:   Is there an objection?

21               MS. SHIHATA:   It's jury only.

22               MS. BLANK BECKER:      My understanding is that the last

23   name, we were still getting rid of.           Thank you.

24               MS. SHIHATA:   The jury is aware of the name.

25               THE COURT:   All right.



                        MDL       RPR        CRR       CSR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page186 of 303

                          Hoskins - recross - Blank Becker                3103


 1   BY MS. SHIHATA:

 2   Q       Now, this is a situation where the doctor diagnosed

 3   herpes based on the physical exam and history?

 4   A       Correct.   And that is the most common way of doing it,

 5   yeah.

 6   Q       And here it appears the doctor discussed doing a culture

 7   but the patient refused because it was so painful at the time;

 8   correct?

 9   A       Correct.

10                MS. SHIHATA:     Nothing further.

11                THE COURT:      Any recross?

12                MS. BLANK BECKER:        Thank you, Judge, just briefly.

13                THE COURT:      Sure.

14                MS. BLANK BECKER:        Could I do it from here, is that

15   all right?

16                THE COURT:      Sure.

17                MS. BLANK BECKER:        Thank you.

18   RECROSS EXAMINATION

19   BY MS. BLANK BECKER:

20   Q       Doctor, there is no indications in those reports that

21   there were any blood tests done; correct?

22   A       I would have to look at it again.

23   Q       Certainly.

24                MS. BLANK BECKER:        May I approach, Judge?

25                THE COURT:      Sure.



                            MDL      RPR       CRR      CSR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page187 of 303

                       Hoskins - recross - Blank Becker                   3104


 1   A    Thank you.

 2              No blood tests were ordered.

 3              MS. BLANK BECKER:       May I approach?

 4              THE COURT:     That's it.

 5              MS. BLANK BECKER:       May I approach and get the forms,

 6   please?

 7              THE COURT:     Sure.

 8              (Continued on following page.)

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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page188 of 303

                       Hoskins - Recross - Blank Becker                   3105


 1   RECROSS-EXAMINATION

 2   BY MS. BLANK BECKER (Continuing):

 3   Q    There were some questions just now, and I initiated some

 4   questions regarding the pregnant woman transferring to the

 5   child, correct?

 6   A    Correct.

 7   Q    Isn't it a fact that a pregnant woman could actually

 8   knowingly expose their child or newborn to herpes?

 9   A    Could you clarify "knowingly"?

10   Q    Sure.

11                The adult -- sometimes the adult, the mother, is

12   going to know that they have herpes, correct?

13   A    Correct.

14   Q    Sometimes when they -- strike that.

15                And when they know that they have herpes and they

16   have a baby, they are, I think you believe -- I believe you

17   said it's like they understand the risk that they might be

18   taking by having a child?

19   A    Well, I would hope they do, but I can't give you a

20   guarantee that every mother understands the risk she's taking

21   by having a child because she has a chronic infection.

22   Q    Understood.    I'm not suggesting you know what they're

23   thinking.

24                But if the individual knows that they have herpes,

25   the mother knows she has herpes, we'll just leave it at that,



                             LAM       OCR       RPR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page189 of 303

                       Hoskins - Recross - Blank Becker                   3106


 1   isn't it true that she is or she can knowingly expose the

 2   newborn baby?

 3              MS. SHIHATA:    Objection.

 4              THE COURT:    Can I see counsel at sidebar for a

 5   minute, please?

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 7              (Continued on the following page.)

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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page190 of 303

                                       Sidebar                            3107


 1              (The following occurred at sidebar.)

 2              THE COURT:    Is there some dispute that -- is there

 3   a dispute about whether all the people had herpes or not?

 4              I'm confused, what's the purpose of this?

 5              MS. BLANK BECKER:      The issue is knowingly, because

 6   the public health code is knowingly.

 7              THE COURT:    Right, but what does that have to do

 8   with whether somebody -- is there a pregnant woman here?

 9              MS. BLANK BECKER:      No, it's just showing that there

10   are ways that people knowingly know that they can transmit

11   herpes.

12              THE COURT:    Right.

13              MS. BLANK BECKER:      And they're not -- there's no

14   public health code against that, the --

15              THE COURT:    That's a legal question and the jury is

16   not going to be able to decide -- there's not going to be any

17   instruction to the jury about that.

18              The question is with this individual Defendant.           So,

19   the fact that the there may be other people -- I don't know if

20   it's a violation of that code or not, but it might be reckless

21   endangerment, very well may be, but I don't really see the

22   significance of it.     I would like to move things along --

23              MS. BLANK BECKER:      That's my last question.

24              MS. SHIHATA:    The question -- whether some other

25   hypothetical human being could be subject to the legal



                             LAM        OCR      RPR
                                    A 1032
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page191 of 303

                                       Sidebar                            3108


 1   prohibition is completely irrelevant to this trial and the

 2   charges in this trial.

 3              THE COURT:    I just don't see the relevance of it.

 4   So, if you can, explain it.

 5              MS. BLANK BECKER:      Sorry.    One of the elements for

 6   the transmission is knowingly transmitting.

 7              THE COURT:    Right.    I don't think it's "transmit."

 8              MS. SHIHATA:    No, it's the risk.      I've said it a

 9   million times.

10              THE COURT:    I know.

11              MS. SHIHATA:    And by the way, unless he is a

12   pregnant man I don't know how this is relevant.

13              MS. BLANK BECKER:      I certainly could laugh with you

14   guys because I understand what you're saying, but the point is

15   not that he's a pregnant man or she is pregnant.           The point is

16   the "knowingly" part.

17              When someone has herpes, a female who is having a

18   baby has herpes and they have the baby, they know they're

19   having a baby who could have this horrible result that she

20   said, right?

21              THE COURT:    But I'm going to stop you here.         I get

22   where you're going here, sort of, except it doesn't -- it

23   doesn't have any relevance.

24              The question for the jury is going to be under these

25   facts whether this Defendant had herpes, which there seems to



                             LAM        OCR      RPR
                                    A 1033
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page192 of 303

                                       Sidebar                            3109


 1   be serious dispute about that, and whether he subjected

 2   someone else to it without informing them.         And the fact that

 3   some other hypothetical person could be or not be prosecuted

 4   is just irrelevant.       It's not an argument I'd permit anybody

 5   to make in summation anyway.

 6                MS. BLANK BECKER:     That's my understanding, is that

 7   the summation --

 8                THE COURT:    Let her finish.

 9                MS. SHIHATA:    I'm just shaking my head.      I

10   apologize.

11                MS. BLANK BECKER:     A summation comparison of some

12   sort that we want to make --

13                THE COURT:    I see what you're saying.     But that

14   would be if you're making an argument for selective

15   prosecution.    But you can't do that, at least -- if there's

16   some law that you want to submit that says you can do that,

17   you're welcome to do it.        But I'm pretty sure you can't.

18                It would be like arguing, look, they didn't

19   prosecute this other person for robbing a bank and they're

20   prosecuting my guy.       That's not going to be a permissible

21   argument.    So, if that's the way that we're going, I just

22   think we should move on to something else.

23                MS. BLANK BECKER:     I'm not arguing.

24                THE COURT:    Okay, great.

25                (Continued on the following page.)



                               LAM      OCR       RPR
                                      A 1034
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page193 of 303

                                    Proceedings                           3110


 1              (Sidebar ends; in open court.)

 2              MS. BLANK BECKER:     Thank you, Judge.

 3              Doctor, I don't have any additional questions.

 4              Thank you, Judge.

 5              THE COURT:    Thank you.

 6              Any redirect?

 7              MS. SHIHATA:    No, your Honor.

 8              THE COURT:    Doctor, thank you so much.        You can step

 9   down.

10              (Witness excused.)

11              THE COURT:    Are you ready to call your next witness?

12              MS. GEDDES:    Yes, Judge.      The Government calls

13   Phillip Fanara.

14              THE COURTROOM DEPUTY:         Please raise your right hand

15   for me.

16              Do you solemnly swear or affirm that the testimony

17   you're about to give will be the truth, the whole truth, and

18   nothing but the truth?

19              THE WITNESS:    I do.

20              THE COURTROOM DEPUTY:         Thank you.   You may be

21   seated.

22              THE COURT:    You can also take off your mask.

23              THE WITNESS:    Thank you.

24              THE COURT:    Just a couple of things before we start.

25              Please make sure that you're speaking into the



                              LAM       OCR       RPR
                                    A 1035
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page194 of 303

                          Copeland - Direct - Geddes                      3131


 1   DIANA COPELAND,

 2                called by the Government, having been

 3                first duly sworn, was examined and testified

 4                as follows:

 5   DIRECT EXAMINATION

 6   BY MS. GEDDES:

 7   Q    Are you currently employed?

 8   A    Yes.

 9                THE COURT:    Is the microphone on?

10                THE COURTROOM DEPUTY:         I think it's just not close

11   enough.

12                (Pause in proceedings.)

13   Q    What do you do?

14   A    I am not employed, I am actually -- I'm a writer and a

15   filmmaker.

16   Q    And were you previously employed?

17   A    Yes.

18   Q    And just to be clear, when you said you were employed, do

19   you have a business right now?

20   A    Yes, I have a film company.

21                THE COURT:    I'm having trouble hearing you, which

22   may be my problem, but I'll ask you just to speak up just a

23   little bit into the microphone.

24                THE WITNESS:    Okay.

25   Q    How were you previously employed?



                                LAM       OCR       RPR
                                      A 1036
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page195 of 303

                          Copeland - Direct - Geddes                      3132


 1   A    I was previously employed as executive assistant to

 2   R. Kelly.

 3   Q    And do you see him in the courtroom today?

 4   A    Yes, I do.

 5   Q    Can you point to him and describe an article of his

 6   clothing?

 7   A    He's right there and he has a gray suit jacket on.

 8               THE COURT:   Indicating the Defendant.

 9   Q    Now, when did you start working for the Defendant?

10   A    Around 2004, 2005.

11   Q    And how long did you work for him?

12   A    About 15 years on and off.

13   Q    Fifteen years, is that correct?

14   A    Yes, on and off.

15   Q    And you testified that you worked "on and off" during

16   that 15 year period.

17               As you sit here today, do you remember the

18   particular dates of your stints working for the Defendant?

19   A    Just a little.

20   Q    Do you remember the exact dates of when you worked for

21   the Defendant?

22   A    Not the exact dates, no.

23   Q    When was the last stint or period of time that you worked

24   continuously for the Defendant?

25   A    That would be the end of 2016 to 2018.



                              LAM      OCR       RPR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page196 of 303

                          Copeland - Direct - Geddes                      3133


 1   Q    Okay.    And do you remember when in 2018 you stopped

 2   working for him?

 3   A    It was around April.

 4   Q    Of 2018?

 5   A    Correct.

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 7                (Continued on the following page.)

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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page197 of 303

                          Copeland - direct - Geddes                      3134


 1   DIRECT EXAMINATION (Continued.)

 2   BY MS. GEDDES:

 3   Q    Of 2018?

 4   A    Correct.

 5   Q    Now you testified that you were his executive assistant,

 6   was that your title for him?

 7   A    Yes.

 8   Q    And were you always -- did you always have the title

 9   executive assistant during the 15 years that you worked for

10   the defendant?

11   A    No.    It was personal assistant and then it changed.

12   Q    To an executive assistant?

13   A    Yes.

14   Q    When you first started working for the defendant, in what

15   state did you live?

16   A    Michigan.

17   Q    And where in -- what state did the defendant live?

18   A    Illinois.

19   Q    How were you able to work for the defendant living in a

20   different city?

21   A    So I would commute from Michigan to Chicago every week.

22   Q    And during the time period that you were in Chicago

23   working for the defendant in a particular week, where were you

24   staying?

25   A    I'm sorry, can you repeat.



                             GEORGETTE K. BETTS, RPR, FCRR, CCR
                                   Official Court Reporter

                                      A 1039
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page198 of 303

                          Copeland - direct - Geddes                      3135


 1                THE COURT:    Just where did you stay when you came to

 2   Chicago to work?

 3                THE WITNESS:     Oh, I would stay at the estate.

 4   Q    And where was that estate?

 5   A    At Robert's estate.

 6   Q    Where was it?

 7   A    It was in Olympia Fields.

 8   Q    Is that in Chicago?

 9   A    Correct.

10   Q    When you first started to work for the defendant as his

11   personal assistant, what were your responsibilities?

12   A    Um, my responsibilities were more so household

13   responsibilities.    Making sure that, you know, the maids,

14   housekeepers and nannies were scheduled correctly and that

15   they were paid.

16   Q    And you mentioned a nanny, was there a period of time

17   that you worked for the defendant where there were children

18   living at the estate?

19   A    Yes.

20   Q    And how long was that for?

21   A    That probably was about two years into my employment.

22   Q    And was that the first two years that you worked for the

23   defendant?

24   A    Correct.

25   Q    Then after that two-year period, were there no longer



                               GEORGETTE K. BETTS, RPR, FCRR, CCR
                                     Official Court Reporter

                                        A 1040
           Case 22-1481, Document 73, 04/17/2023, 3500774, Page199 of 303

                            Copeland - direct - Geddes                      3136


 1   children living in a permanent basis in the defendant's

 2   estate?

 3   A     Correct.

 4   Q     What other responsibilities did you have over the course

 5   of your 15-year employment for the defendant?

 6   A     Later responsibilities would include just, you know,

 7   answering calls when someone was trying to reach him, making

 8   sure that he, you know, made certain meetings on time or

 9   was -- woke up in time to do like radio drops or something

10   like that.

11   Q     And did you also handle aspects of the defendant's

12   personal life?

13   A     Absolutely.

14   Q     Like what?

15   A     If there were guests I made sure that they felt

16   comfortable.

17   Q     When you refer to guests, what type of guests are you

18   referring to?

19   A     It could be anybody from a record label executive to a

20   personal guest.

21   Q     And who are the individuals who were personal guests of

22   the defendant, just generally speaking who are we referring

23   to?

24   A     Well, we're referring to -- well, he had male guests and

25   female guests.



                               GEORGETTE K. BETTS, RPR, FCRR, CCR
                                     Official Court Reporter

                                        A 1041
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page200 of 303

                          Copeland - direct - Geddes                      3137


 1   Q    Were these girlfriends of the defendant's?

 2   A    The female guests, yes.

 3   Q    And now you testified that you worked as a personal

 4   assistant and an executive assistant for the defendant, did

 5   the defendant employ other people in other capacities?

 6   A    Yes.

 7   Q    And I'm going to show you what's in evidence as

 8   Government Exhibit 12.      Do you recognize that individual?

 9   A    Yes, I do.

10   Q    What, if anything, did he do for the defendant?

11   A    He was an accountant and also seemed to serve as a

12   manager.

13   Q    I should have asked you initially, who is that?

14   A    Derrel McDavid.

15   Q    And over what period of time did Derrel McDavid serve as

16   the defendant's accountant and partially his manager as well?

17   A    I'm not sure when he left, but my best guess is 2013.

18   Q    And was Mr. McDavid working for the defendant when you

19   started to work for him in 2004 or 2005?

20   A    Correct.

21   Q    I'm showing what's in evidence as Government Exhibit 3,

22   do you recognize who that is?

23   A    Yes, I do.

24   Q    Who is that?

25   A    June Brown.



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                          Copeland - direct - Geddes                      3138


 1   Q    And what did, if anything, did June Brown do for the

 2   defendant?

 3   A    June Brown was a personal assistant.

 4   Q    And over what period of time?

 5   A    At least the entire period of time that I worked there.

 6   Q    So he was there when you started and when you left?

 7   A    Correct.

 8   Q    I'm showing Government Exhibit 4, which is in evidence.

 9   A    This is --

10   Q    Who is that?

11   A    June Bug.    I'm sorry, George Kelly.

12   Q    Does George Kelly have a nickname?

13   A    June Bug.

14   Q    What, if anything, did George Kelly, also known as June

15   Bug, do for the defendant?

16   A    He was also a personal assistant.

17   Q    Over what period of time?

18   A    On and off the entire time that I worked there as well.

19   Q    But like you he worked on during some of that time and

20   did not work for the defendant at other parts of that time; is

21   that correct?

22   A    Correct.

23   Q    I'm showing what's in evidence as Government Exhibit 5 do

24   you recognize who that is?

25   A    I do.



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                          Copeland - direct - Geddes                           3139


 1   Q    Who is that?

 2   A    Van Pullen.

 3   Q    What, if anything, did he do for the defendant?

 4   A    He was also a personal assistant.

 5                THE COURT:    I'm going to ask again, I hate to be a

 6   nag, I'm having a little trouble hearing you.                  Sometimes that

 7   works if you just actually hold the microphone.

 8                THE WITNESS:     Okay.

 9                THE COURT:    Take it out of that and just hold it in

10   your hand.    This might be better, then I don't have to keep

11   annoying you.    Go ahead.

12   BY MS. GEDDES:

13   Q    I'm sorry, did you say who this individual was?

14   A    Van Pullen.

15   Q    What, if anything, did Van Pullen do for the defendant?

16   A    He was a personal assistant.

17   Q    Over what period of time?

18   A    I believe he came later, like sometime in, I really don't

19   know just a few years.        I remember seeing him just maybe a

20   couple of years or...

21   Q    Do you remember whether that was in the beginning, the

22   middle, or the end period of when you worked for the

23   defendant?

24   A    The end period.

25   Q    Was he still there when you left in April of 2018?



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 1   A    I can't say one way or another, I don't know.

 2   Q    Was he there for at least a portion of your last stint

 3   that you worked for the defendant?

 4   A    I'm not sure if he was there at that period of time,

 5   sorry.

 6   Q    Okay.    Government Exhibit 22, which is in evidence, do

 7   you recognize that individual?

 8   A    I do.

 9   Q    Who is that?

10   A    This is Candy.

11   Q    And what, if anything, did Candy do for the defendant?

12   A    She was a security.

13   Q    Over what period of time?

14   A    Well, she worked in and out the entire time that I worked

15   there, on and off.

16   Q    And do you know Candy's full name?

17   A    I think it is Cynthia Oliphant.

18   Q    Is Candy a nickname?

19   A    Yes, it is.

20   Q    I'm showing what's in evidence as Government Exhibit 16.

21   Let me make sure it's in evidence.               It is.

22                I'm showing what's in evidence as Government

23   Exhibit 16, do you recognize that individual?

24   A    I do.

25   Q    Who is that?



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 1   A    This is the bus driver.

 2   Q    Do you know his name?

 3   A    I can't remember his name.

 4   Q    And over what period of time was this individual a bus

 5   driver for the defendant?

 6   A    I don't remember the period of time either.

 7   Q    Okay.    I'm showing Government Exhibit 15 which is also in

 8   evidence.    Do you recognize that individual?

 9   A    This is a bus driver as well.

10   Q    And do you know his name?

11   A    His name is Terry.

12   Q    And over what period of time did Terry work for the

13   defendant?

14   A    I don't recall the time period.

15   Q    Okay.    I'm showing Government Exhibit 19, which is in

16   evidence.    Do you recognize that individual?

17   A    This is Ronald Hardy.

18   Q    And what, if anything, did he do for the defendant?

19   A    He was security.

20   Q    Over what period of time?

21   A    On and off the entire time I was there, yeah.

22   Q    And Government Exhibit 17, which is also in evidence, do

23   you recognize that individual?

24   A    I only know him by his nickname.

25   Q    Which is?



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 1   A    Top Gun.

 2   Q    What, if anything, did Top Gun do for the defendant?

 3   A    He was a bus driver.

 4   Q    Do you know over what period of time he served as a bus

 5   driver for the defendant?

 6   A    I do not.

 7   Q    And I'm showing you the witness only what's been marked

 8   for identification as Government Exhibit 13.

 9                Do you recognize Government Exhibit 13?

10   A    I do.

11   Q    Who is that?

12   A    James Mason.

13   Q    What, if anything, did James Mason do for the defendant?

14   A    He was his manager.

15                MS. GEDDES:      The government offers Government

16   Exhibit 13.

17                MR. CANNICK:      No objection.

18                THE COURT:     It's in evidence.

19                (Government Exhibit 13, was received in evidence.)

20   Q    Over what period of time did James Mason serve as the

21   defendant's manager?

22   A    The last stint of my employment, that would have been

23   like 2016 to 2018.

24   Q    And was James Mason still working for the defendant when

25   you stopped working for him in April of 2018?



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 1   A    Yes.

 2   Q    Now when you started to work for the defendant, where did

 3   the defendant live?

 4   A    Olympia Fields.

 5   Q    At the estate you testified you stayed at?

 6   A    Correct.

 7   Q    Did he stay at Olympia Fields through the time period

 8   that you worked for him?

 9   A    Yes, he did.

10   Q    Did he continue to stay there or did there come a time

11   when the defendant moved out of Olympia Fields?

12   A    There came a time when he moved out.

13   Q    Where did he live after that?

14   A    Trump Towers.

15   Q    In Chicago?

16   A    In Chicago.

17   Q    Are there any other locations where the defendant at

18   times lived while you were working for him?

19   A    There were two homes in Johns Creek, Georgia.

20   Q    Is that a suburb of Atlanta?

21   A    Correct.

22   Q    Do you remember what time period the defendant was using

23   those two homes in Johns Creek?

24   A    Somewhere around 2000 -- at least 2016 to 2018.           I am not

25   sure when he initially moved in there.



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 1   Q    Now where was the defendant's recording studio when you

 2   first started to work for him?

 3   A    In the basement -- oh, no, it was Trax, so it was in

 4   Chicago.

 5   Q    And you started to talk about a different recording

 6   studio, what recording studio did the defendant use after the

 7   recording studio at Trax?

 8   A    That would have been the one that's in the basement --

 9   was in the basement of the Olympia Fields home.

10   Q    What other recording studios, if any, did the defendant

11   use after he moved out of his residence at Olympia Fields?

12   A    There was a studio on Ohio Street in Chicago and then

13   there was another one on Justine in Chicago.

14   Q    And which one did the defendant use first, which studio?

15   A    The one on Ohio.

16   Q    And are both of those located in downtown Chicago?

17   A    Correct.

18   Q    While you were working for the defendant and when the

19   defendant was not on tour, what was your schedule?

20   A    My schedule was like Sunday to Thursday.                It was just

21   really just four days a week and it didn't matter which four,

22   but mostly Sunday to Thursday.

23   Q    And during that four-day period when you were scheduled

24   to work for the defendant, what hours did you work?

25   A    They were like 24-hour shifts.



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 1   Q    So fair to say you were on call for that entire four-day

 2   period?

 3   A    Yes, just on call.

 4   Q    When you were staying at Olympia Fields while you were on

 5   call for that four-day period and after the defendant's

 6   children moved out of Olympia Fields, who, if anyone, else

 7   stayed at that residence?

 8   A    Various women.

 9   Q    And where did those females stay, where within Olympia

10   Fields?

11   A    Um, in the office maybe, the studio, maybe on the tour

12   bus, the theater downstairs.

13   Q    Fair to say they stayed in a number of locations within

14   Olympia Fields?

15   A    Correct.

16   Q    And were those individuals effectively living there?

17   A    Sometimes.

18   Q    Now were there also female guests who visited the

19   defendant at Olympia Fields but didn't stay there on a longer

20   term basis?

21   A    Correct.

22   Q    What, if anything, did you notice about the defendant's

23   female guests and his live-in girlfriends' movement around the

24   residence in Olympia Fields?

25   A    They were not free to roam the house.



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 1   Q    Now did you roam Olympia Fields while you were working

 2   there?

 3   A    I did.

 4   Q    And what, if anything, would you do when you walked

 5   through the residence at Olympia Fields to announce your

 6   presence?

 7   A    I would knock.

 8   Q    And what do you mean?

 9   A    If I was going from one room to another, I might knock on

10   the wall.

11   Q    To announce your presence?

12   A    Correct.

13   Q    Now while you were living or staying, I should say, while

14   you were staying at Olympia Fields, what, if anything, did you

15   notice about the way in which the defendant's live-in

16   girlfriends dressed around the house?

17   A    They dressed casually like, you know, loose-fitting

18   clothing.

19   Q    Just backing up one moment.             You testified that you would

20   knock on a wall before entering a room; is that correct?

21   A    That is correct.

22   Q    Why would you do that?

23   A    To make sure that I announced my presence.

24   Q    So the defendant knew that you were entering the room?

25   A    Correct.



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 1   Q    You just mentioned -- you just testified that the

 2   defendant's live-in girlfriends dressed in, I think

 3   loose-fitting clothing while they were in Olympia Fields; is

 4   that correct?

 5   A    Correct.

 6   Q    How about when those same live-in girlfriends went out in

 7   public, what, if anything, did you notice about the way in

 8   which they dressed when out in public?

 9   A    When out in public?        They would sometimes wear the same

10   clothing.

11   Q    The same loose-fitting clothing?

12   A    Correct.

13   Q    When the defendant moved out of his residence at Olympia

14   Fields, where did those females who were effectively living

15   with the defendant, where did they go at that time?

16   A    Can you repeat that please.

17   Q    Sure.   When the defendant moved out of his residence in

18   Olympia Fields, and I think you testified that at least at one

19   point he moved into the Trump Towers, where, if anywhere, were

20   his live-in girlfriends staying at that time?

21   A    When he moved to the Trump?

22   Q    Yes.

23   A    Live-in girlfriends might be at the Trump, they might be

24   at the studio.

25   Q    And when you referring to the studio, you're referring to



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 1   the studio on Ohio Street?

 2   A    Correct.

 3   Q    And when the defendant was no longer using the studio on

 4   Ohio Street were there also some females who stayed at the

 5   studio on Justine Street?

 6   A    Correct.

 7   Q    What, if anything, did you notice about those females'

 8   movements around those two studios when you were there?

 9   A    It was pretty much the same, they didn't roam.

10   Q    They did not roam throughout the studio?

11   A    They did not roam.

12   Q    Where would they stay?

13   A    Depending on which studio, the one on Ohio, I think they

14   would either be in the actual control room with him, or they

15   would be in like another room, it's kind of like a lobby.

16   Q    Where they would stay?

17   A    Correct.

18   Q    Now as part of your working for the defendant, did you on

19   occasions arrange for local transportation for the defendant's

20   female guests or live-in girlfriends?

21   A    Correct.

22   Q    What, if anything, did the defendant or his guests

23   request regarding the transportation?

24   A    Female drivers.

25   Q    And when you were arranging local transportation, how



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 1   would you arrange that transportation?

 2   A    I would -- well, it would be Ubers, so --

 3   Q    And was there a mechanism in arranging an Uber to ensure

 4   that there was a female driver?

 5   A    No, there wasn't.

 6   Q    What, if anything, did the defendant -- did you advise

 7   the defendant of that?

 8   A    I -- I don't know if I advised him, but I think he

 9   noticed that the male drivers would show up.

10   Q    And were you -- did you learn what, if anything, the

11   defendant did when a male driver showed up in an Uber that you

12   had arranged?

13   A    I would have to call another one.

14   Q    And how did you know you needed to call another one?

15   A    He would ask me to.

16   Q    And on occasion did you call multiple Ubers in order to

17   obtain a female driver?

18   A    I did.     He did eventually realize that you can't pick the

19   gender of the driver, so he didn't ask any more.

20   Q    And earlier I asked you about the defendant's female

21   guests and live-in girlfriends' movements around the studios

22   where they later stayed.        I want to focus on when those

23   individuals were staying at Justine Street --

24   A    Okay.

25   Q    -- the studio on Justine Street.



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 1                Where, if anywhere, would those individuals stay

 2   when the defendant had the studio on Justine Street?

 3   A    For the most part there were bedrooms upstairs, so they

 4   would be up there, and there was also on the main floor like a

 5   kitchen, lounge area, or they might be in the control room in

 6   the studio with him.

 7   Q    And as you testified earlier, was it the case that they

 8   would stay in one of those particular locations?

 9   A    Like in their room.

10   Q    They would remain in their room, correct?

11   A    Right.

12   Q    Would you on occasion accompany some of the defendant's

13   female guests or live-in girlfriends on public outings?

14   A    Yes.

15   Q    Can you give some examples of where you might accompany

16   these individuals.

17   A    Sure.    I accompanied them to shopping, to get massages,

18   to get their nails done, things of that nature.

19   Q    And before I ask my next question I want to show you

20   what's in evidence as Government Exhibit 75C.

21                Now, without saying the first or last name of this

22   individual, do you recognize her?

23   A    I do.

24   Q    And again, without saying it, do you know her first and

25   last name?



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 1   A    I do.

 2   Q    For today's purpose we're just going to refer to her as

 3   Jane, okay?

 4   A    Okay.

 5   Q    Now was Jane one of the defendant's live-in girlfriends

 6   for a period of time?

 7   A    Yes, she was.

 8   Q    And I'm showing you what's in evidence as Government

 9   Exhibit 78.    Again, without saying her first and last name, do

10   you recognize this individual?

11   A    I do.

12   Q    And what is her first name?

13   A    Joycelyn.

14   Q    And was Joycelyn one of the individuals who lived with

15   the defendant for a period of time?

16   A    Correct.

17                (Continued on the next page.)

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 1   DIRECT EXAMINATION

 2   BY MS. GEDDES:    (Continuing)

 3   Q    I'm showing you -- I am going to show you what's in

 4   evidence as Government Exhibit 69 B, and again, without saying

 5   her first and last name, do you recognize the individual shown

 6   in Government Exhibit 69 B?

 7   A    I do.

 8   Q    And what is her first name?

 9   A    Dominique.

10   Q    And was she also one of the defendant's live-in

11   girlfriends for a period of time?

12   A    Yes, she was.

13   Q    And I am going to show you what's in evidence as

14   Government Exhibit 52.      Again, without saying her first and

15   last name, do you recognize this individual?

16   A    I do.

17                MS. GEDDES:    I'm sorry, well, the Government offers

18   Government Exhibit 52.

19                MR. CANNICK:   No objection.

20                MS. GEDDES:    I apologize.

21                THE COURT:    That's all right.    That's in evidence.

22                (Government's Exhibit 52 received in evidence.)

23   Q    What is this individual's nickname?

24   A    Juice.

25   Q    And was Juice one of the defendant's live-in girlfriends



                         MDL       RPR       CRR      CSR
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 1   for a period of time?

 2   A    Yes, she was.

 3   Q    And referring to Jane, Joycelyn, Dominique and Juice,

 4   were they spending time with the defendant during your last

 5   stint working for him between 2016 and 2018?

 6   A    Yes.

 7   Q    All right.    I want to go back to my question earlier

 8   about when you would accompany those individuals and I want to

 9   refer specifically to those four individuals that I just

10   mentioned:    Jane, Joycelyn, Dominique and Juice.

11                What, if anything, did you notice about the manner

12   in which they interacted with men other than the defendant?

13   A    They did not want to interact with the men.

14   Q    And what, if anything, did you observe when you

15   accompanied some of those individuals on public outings?

16   A    They would not interact with men.

17   Q    Can you describe an example?

18   A    An example is if we walked in a shoe store and the

19   salesman was a male, they would ask, can I help you directly

20   to that individual?       And they would turn away.

21   Q    And just to be clear, the person asking can I help you,

22   was that the male salesperson?

23   A    Correct.

24   Q    And the "they" in your sentence who turned away, are you

25   referring to some of the defendant's live-in girlfriends?



                         MDL       RPR        CRR     CSR
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 1   A    Yes.

 2   Q    What, if anything, might they ask you in that particular

 3   instance?   Or what would you do in that instance?

 4   A    Oh, they would ask me to interact with that salesperson

 5   and I would do that.

 6   Q    And were you also present with some of the defendant's

 7   live-in girlfriends where a female salesperson walked over and

 8   offered to help them?

 9   A    Yes.

10   Q    How, if at all, did they respond in that scenario?

11   A    They would interact with that person.

12   Q    Without any intervention by you?

13   A    No.

14   Q    Meaning you didn't do anything, they just interacted on

15   their own; correct?

16   A    Correct.

17   Q    Did you have occasion to ride elevators in public spaces

18   with some of the defendant's live-in girlfriends?

19   A    I did.

20   Q    What, if anything, did you notice about the way in which

21   some of his live-in girlfriends rode on elevators?

22   A    I did notice one particular time when I was in the

23   elevator with Joycelyn.     She turned away and I stepped off the

24   elevator, and she did not see me step off because she was

25   turned away.    I think she was turned away because a gentleman



                        MDL       RPR        CRR      CSR
                                    A 1059
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 1   had gotten on the elevator.        So she ended up being left on the

 2   elevator because she didn't see me get off.

 3   Q    And do you remember where you were when that happened?

 4   A    We were at a hotel, but I don't know which one.

 5   Q    And why were you on the elevator with Joycelyn in the

 6   first place?

 7   A    I was walking her to her room.

 8   Q    What did you hear the defendant's female guests or

 9   live-in girlfriends call the defendant in the defendant's

10   presence?

11   A    Daddy.

12   Q    How did they refer to the defendant to you when the

13   defendant was not around?

14   A    Mr. Kelly.

15   Q    What, if anything, did you observe about what, if

16   anything, the women would do when the defendant walked into a

17   room where the defendant's live-in girlfriends were?

18   A    I'm sorry, can you repeat that?

19   Q    It was a terrible question.

20               Did you have occasion to see what, if anything, the

21   defendant's live-in girlfriends did when the defendant entered

22   a room where they were?

23   A    Yes.

24   Q    What --

25   A    They would jump up and give him a big kiss.



                        MDL       RPR        CRR      CSR
                                    A 1060
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                          Copeland - direct - Geddes                      3156


 1   Q    And would all of them do that?

 2   A    Yes.

 3   Q    Did you spend time with the defendant's female guests or

 4   live-in girlfriends on the Sprinter van?

 5   A    I have, yes.

 6   Q    Under what circumstances would you spend time with those

 7   individuals on the Sprinter van?

 8   A    We may ride with him to an important meeting and if this

 9   was not a meeting that I was going into, I would sit in the

10   Sprinter with his guest and we would be there.

11   Q    And just to be clear, the "him" in that sentence, is that

12   referring to the defendant?

13   A    Yes.

14   Q    Now, in that scenario that you just described, what, if

15   anything -- what would you do if you needed to use a restroom

16   and were on the Sprinter van waiting?

17   A    I would get off the Sprinter and use it.

18   Q    Find a bathroom and use it?

19   A    Yes.

20   Q    What, if anything, did you observe the defendant's female

21   guests or live-in girlfriends do in that scenario if they

22   needed to use a bathroom?

23   A    They would ask me to get ahold of him.

24   Q    And what, if anything, would you do when you received

25   those requests?



                         MDL      RPR        CRR      CSR
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                          Copeland - direct - Geddes                      3157


 1   A    I would get ahold of him.

 2   Q    And were there -- and what would you do once you got

 3   ahold of them?

 4   A    Just let him know that his guests needed to use the

 5   restroom.

 6   Q    What would happen after that?

 7   A    He would just say okay and I'd take them to the restroom,

 8   I'd accompany them.

 9   Q    And, again, just to be clear, the "him" is referring to

10   the defendant?

11   A    Yes.

12   Q    Were there times in which you were not able to

13   immediately get ahold of the defendant?

14   A    Yeah, there have been times.

15   Q    And what would happen in those circumstances?

16   A    Well, the one that comes to mind --

17   Q    And please don't use any names.

18   A    Okay, I will not.

19               She was insistent on me getting ahold of him before

20   she went.   She ended up just having to hold it for maybe like

21   30 minutes.   He was working out in Lifetime Fitness and he

22   didn't have his phones on him, so.

23   Q    Was the Sprinter van parked outside the Lifetime Fitness?

24   A    Yes.

25   Q    I am going to show you what's in evidence as Government



                        MDL       RPR        CRR      CSR
                                    A 1062
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page221 of 303

                          Copeland - direct - Geddes                      3158


 1   Exhibit 76.    And, again, without identifying this individual,

 2   do you recognize who that is?

 3   A    I do.

 4   Q    And was that the individual you were just referring to

 5   who needed to use the restroom and didn't use it, waited

 6   instead?

 7   A    Correct.

 8   Q    And during the period of time when that individual was

 9   waiting to use or you were trying to get in contact with the

10   defendant, did it appear like she needed to use the bathroom

11   badly?

12                MR. CANNICK:   Objection.

13                THE COURT:   Sustained.

14   Q    During that time period when you were trying to get ahold

15   of the defendant to let him know that that particular

16   individual needed to use the restroom, what, if anything, did

17   you notice about her actions?

18   A    She really had to go.

19   Q    To the bathroom?

20   A    Yes.

21   Q    Was one of your responsibilities as the defendant's

22   personal assistant or executive assistant to arrange travel

23   for some of the defendant's female guests?

24   A    Correct.

25   Q    By the way, going back to what I was just asking you



                         MDL      RPR        CRR      CSR
                                    A 1063
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page222 of 303

                          Copeland - direct - Geddes                      3159


 1   about that particular scenario where one of -- someone needed

 2   to use the restroom, you said that it took about 30 minutes.

 3   What happened after that 30 minutes?

 4   A    He came to the Sprinter.

 5   Q    And what happened at that point?

 6   A    And she went to the restroom.

 7   Q    Over what period of time did you make travel arrangements

 8   for the defendant's female guests?

 9   A    That started in about 2016.        So the last stint, maybe a

10   little bit before that, I can't remember.

11   Q    And what, if any, instructions did the defendant give you

12   regarding making travel reservations?

13   A    I -- can you clarify?

14   Q    Sure.   How would you know to make travel arrangements for

15   a particular individual?

16   A    Oh, he would let me know that someone was going to be

17   calling me, or I'm sorry, texting me about visiting.

18   Q    And what would you do upon receiving those text messages?

19   A    I would, you know, get the information, and make the

20   travel arrangements and send the travel arrangements to the

21   guest.

22   Q    And were there times where you received text messages

23   from individuals that you hadn't previously discussed with the

24   defendant?

25   A    Didn't happen often, but rarely.         And when it did, I



                        MDL       RPR        CRR      CSR
                                    A 1064
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page223 of 303

                           Copeland - direct - Geddes                     3160


 1   would just make sure I confirmed it with him.

 2   Q       And who were you making these travel arrangements for?

 3   A       Well, I made travel arrangements for everybody from

 4   record executives to just personal guests.

 5   Q       Okay.   And did those personal guests include his female

 6   guests?

 7   A       Correct.

 8   Q       When you made travel reservations, did that also include

 9   hotel reservations?

10   A       Sometimes.

11   Q       Whose name would you book hotel reservations under when

12   you were making arrangements for one of his female guests?

13   A       Sometimes my name, sometimes their name.

14   Q       And did you also arrange for hotel reservations for the

15   defendant?

16   A       Yes.

17   Q       And under whose name would you make hotel reservations

18   when you were making arrangements for the defendant?

19   A       Sometimes my name.   Sometimes a fictitious name because

20   he's a celebrity.

21   Q       Do you remember the particular fictitious name that you

22   used?

23   A       I do not.

24   Q       Okay.   Did you sometimes make reservations for a George

25   Kelly?



                          MDL     RPR        CRR      CSR
                                    A 1065
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page224 of 303

                             Copeland - direct - Geddes                   3161


 1   A       Yes.

 2   Q       Who is George Kelly?

 3   A       The personal assistant.

 4   Q       And does he have a nickname?

 5   A       June Bug.

 6   Q       Did you sometimes use the name George Kelly for the

 7   defendant's reservations?

 8   A       Yes.

 9   Q       I want to go back to the individual shown in Government

10   Exhibit 76.

11                   MS. GEDDES:   I'm putting Government Exhibit 76,

12   which is in evidence, on the screen.

13                   (Exhibit published.)

14   Q       I should have asked you and I did not.         Without saying

15   it, do you know this individual's first and last name?

16   A       I do.

17   Q       For today's purpose, let's call her Anna.

18   A       Okay.

19   Q       What was Anna's relationship with the defendant?

20   A       She was his girlfriend.

21   Q       Over what time period do you recall this individual being

22   one of the defendant's girlfriends?

23   A       Before I came back, I believe that's when they started

24   the relationship.       So it had to have been like maybe 2016 to

25   2018.



                            MDL      RPR       CRR    CSR
                                      A 1066
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page225 of 303

                          Copeland - direct - Geddes                      3162


 1   Q    So when you say before you came back, when you started

 2   working that last stint for the defendant, was she already one

 3   of the defendant's girlfriends at that time?

 4   A    Correct.

 5   Q    Now, did there come a time when Anna left the defendant

 6   while you were working for the defendant?

 7   A    Yes.

 8   Q    Where were you at that time?

 9   A    She left many times.

10   Q    Was there a particular time when you were in the same

11   location at the time that she physically left?

12   A    Yes.

13   Q    Where were you at that particular time?

14   A    Atlanta.

15   Q    Where was the defendant at that time?

16   A    He had left to go to a -- perform at a concert.

17   Q    And do you remember where that concert was?

18   A    I do not.

19   Q    All right.    But you were with Anna and not -- you were

20   physically with Anna and not with the defendant at that time;

21   is that correct?

22   A    That is correct.

23   Q    What happened -- what do you recall happening on that

24   particular occasion when Anna left?

25   A    I remember her being really angry.         I think they had just



                        MDL       RPR        CRR      CSR
                                    A 1067
            Case 22-1481, Document 73, 04/17/2023, 3500774, Page226 of 303

                             Copeland - direct - Geddes                      3163


 1   had like an argument before he left, and she was really angry.

 2   She was packing her things and she left.

 3   Q      And who, if anyone else, was present when she left?

 4   A      I think I was the only one actually present, but in the

 5   home was also LeLe.

 6   Q      And what home was it where you were when she left that

 7   day?

 8   A      It was the smaller home.        There was two homes in Atlanta

 9   -- in Johns Creek, Georgia and this was the smaller home.

10   Q      All right.     And you mentioned that LeLe was also at the

11   house that day; is that correct?

12   A      Correct.

13   Q      Do you know LeLe's full name?

14   A      Alicia Evan.

15   Q      And I'm going to show you what's in evidence as

16   Government Exhibit 42.        Do you recognize what's in evidence as

17   Government Exhibit 42 two?

18   A      I do.

19   Q      What is that?

20   A      LeLe.

21   Q      That was the individual who was present that day?

22   A      Correct.

23   Q      Did there come a time when you spoke with the defendant

24   about Anna leaving that day?

25   A      Yes.



                           MDL       RPR        CRR      CSR
                                       A 1068
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page227 of 303

                          Copeland - direct - Geddes                      3164


 1   Q    Where did that conversation take place?

 2   A    It took place at a park near the studio.

 3   Q    In what city?

 4   A    In Chicago.

 5   Q    And approximately how long after Anna's leaving did that

 6   conversation occur?

 7   A    Maybe a few days.

 8   Q    What, if anything, did the defendant say to you?

 9   A    Well, someone had contacted him, another coworker

10   contacted him and said that I let Anna escape, and, so, he

11   asked me about that.

12   Q    What did the defendant ask you?

13   A    He just told me that this person told him that I let Anna

14   escape.

15   Q    How did you respond?

16   A    I was really upset because there were like these rumors

17   swirling in the media and, you know, I didn't like the words

18   that that person had used to tell him that.

19   Q    Now, who used the term "escape" during your conversation

20   with the defendant?

21   A    The defendant.

22   Q    And how did you respond when he -- how did he -- what was

23   his demeanor when he was having this conversation with you?

24   A    He was disappointed in me.

25   Q    And what did he say?



                        MDL       RPR        CRR      CSR
                                    A 1069
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page228 of 303

                          Copeland - direct - Geddes                      3165


 1   A    Well, he said that if I -- that I should just let LeLe

 2   handle it.

 3   Q    Referring to Alicia Evan?

 4   A    Correct.

 5   Q    Who was also in the house that day?

 6   A    Correct.

 7   Q    What did you understand him to mean when he said you

 8   should have left LeLe handle it?

 9   A    Probably just that I am a little bit more --

10                MR. CANNICK:   Your Honor, I'm going to object to the

11   "probably."

12                THE COURT:   I will sustain it as to that.

13   Q    What did you understand -- if you know, what did you

14   understand the defendant to mean when he said that he should

15   have let LeLe handle it?

16   A    I really would be just guessing on that.          I don't know.

17   Q    Okay.    Well, what had you done?

18   A    Nothing.

19   Q    You had let Anna leave?

20   A    Yes.

21                MR. CANNICK:   Objection.

22                THE COURT:   Well, overruled.

23                Is that what happened?     Is that what happened, that

24   she left?

25                THE WITNESS:   Anna.



                         MDL      RPR        CRR      CSR
                                    A 1070
           Case 22-1481, Document 73, 04/17/2023, 3500774, Page229 of 303

                            Copeland - direct - Geddes                      3166


 1                THE COURT:    And you didn't keep her from going;

 2   correct?

 3                THE WITNESS:    Correct.

 4                THE COURT:    All right.     Next question.

 5   Q     What, if anything --       well, withdrawn.

 6                Switching gears, what, if anything, did you see the

 7   defendant carrying on a regular basis?

 8   A     A backpack.

 9   Q     Did he carry it or did others carry it on his behalf?

10   A     Sometimes he carried it, sometimes other people carried

11   it.

12   Q     Can you describe -- well, let me -- during the 15 years

13   that you worked for the defendant, did the defendant have one

14   backpack or multiple backpacks?

15   A     Multiple.

16   Q     And what, if anything -- can you describe the different

17   backpacks?     I don't mean one by one, but what characteristics

18   did you observe about the backpacks?

19   A     They were always designer backpacks, Gucci, Louis

20   Vuitton.

21   Q     Who, if anyone, other than the defendant, would carry the

22   defendant's backpack?

23   A     Any of his male personal assistants would carry the

24   backpack.

25   Q     And did you ever have an occasion to see what was inside



                          MDL       RPR        CRR      CSR
                                      A 1071
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page230 of 303

                          Copeland - direct - Geddes                      3167


 1   the defendant's backpack?

 2   A    I never went through his backpack, but I did see like an

 3   iPad one time.

 4   Q    How did you see the iPad?

 5   A    It was kind of like just sticking out.

 6   Q    Of the backpack?

 7   A    Correct.

 8   Q    Fair to say there might have been other things in the

 9   backpack at that same time that you just didn't see?

10   A    Yes.

11   Q    Now, during the 15 years on and off that you worked for

12   the defendant, how were you paid?        Were you a salary -- did

13   you have a salary or were you paid on an hourly basis?

14   A    Salary.

15   Q    As an employee of the defendant, were you always paid for

16   the work that you performed?

17   A    No.

18   Q    When were you not paid?

19   A    When I was fined.

20   Q    What do you mean by fined?

21   A    A fine is basically like if you don't do your job

22   correctly, you get fined.

23   Q    Who used the term fine?

24   A    Robert.

25   Q    And approximately how many times were you fined while you



                        MDL       RPR        CRR      CSR
                                    A 1072
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page231 of 303

                            Copeland - direct - Geddes                    3168


 1   were working for the defendant?

 2   A       I do not know.       Several times.

 3   Q       Can you recall some of the reasons for which you were

 4   told that you had been fined?

 5   A       Well, one time would have been when I was trying to

 6   search for this really rare puppy and I could not find this

 7   puppy.

 8   Q       Did you tell the defendant that?

 9   A       Well, it took a really long time, so he did notice, and

10   yeah.    So that was one time.

11   Q       And what happened?

12   A       I was fined.

13   Q       Prior to being fined, did you inform the defendant that

14   you were having trouble finding this puppy?

15   A       Yes.

16   Q       Are there other occasions that you recall -- by the way,

17   who were you finding a puppy for?

18   A       Robert.

19   Q       Were there other occasions that you were fined that you

20   recall the purported reasons for being fined?

21   A       Another time was when I made a nail appointment and there

22   was a male at the nail salon.

23   Q       Who did you make a nail appointment for?

24   A       One of his guests.

25   Q       One of his female guests?



                            MDL       RPR        CRR   CSR
                                        A 1073
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page232 of 303

                          Copeland - direct - Geddes                        3169


 1   A    Well, actually three of his guests.

 2   Q    And referring -- using the names that we previously used,

 3   can you -- do you remember which guest it was that you made a

 4   nail appointment for?

 5   A    Yes.

 6   Q    Who was it?

 7   A    Jane, Joycelyn, and Dominique.

 8   Q    And now, were you present for --

 9   A    I think it was just Jane and Joycelyn.            I don't think

10   Dominique.

11   Q    Okay.   Were you present for when Jane and Joycelyn

12   arrived at the nail salon?

13   A    I was not.

14   Q    How did you hear that you had been fined as a result of a

15   male being there?

16   A    When I got fined, that's how I found out.

17   Q    What were you told?

18   A    That I was fined because the appointment that I made that

19   was -- that should have been a female only did have a male

20   working there.

21   Q    And when you say that there had been -- what did you

22   understand the defendant wanted you to do in making nail

23   appointments?

24   A    Just to make sure that there were -- it was all-female

25   establishment.



                         MDL      RPR        CRR      CSR
                                    A 1074
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page233 of 303

                          Copeland - direct - Geddes                      3170


 1   Q    And when you say all female, does that mean there

 2   couldn't even be like a male janitor in the location?

 3   A    Correct.    Correct.

 4   Q    Who told you that you had been fined?

 5   A    I believe it was the accounting person.

 6   Q    Who was the accounting person at that time?

 7   A    Joan Sullivan.

 8                MS. GEDDES:    I am going to show the witness only

 9   what has been marked for identification as 37.

10   Q    Do you recognize that individual?

11   A    I do.

12   Q    Who is that?

13   A    Joan Sullivan.

14                MS. GEDDES:    The Government offers Government

15   Exhibit 37.

16                MR. CANNICK:   No objection.

17                THE COURT:    That's in evidence.

18                (Government's Exhibit 37 received in evidence.)

19   Q    You testified earlier that Derrell McDavid served as the

20   defendant's accountant and sometimes manager until

21   approximately 2013; is that correct?

22   A    Right.

23   Q    Over what period of time did Joan Sullivan serve as the

24   defendant's accountant?

25   A    She was -- she would take his place somewhere around



                         MDL       RPR       CRR      CSR
                                    A 1075
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page234 of 303

                            Copeland - direct - Geddes                    3171


 1   2014, 2015.

 2   Q       So she served as the defendant's accountant after Derrel

 3   McDavid no longer served as his accountant?

 4   A       Right.

 5   Q       Now, you testified that Derrel McDavid also served in a

 6   managerial role.       Did Sullivan also serve in a managerial

 7   role?

 8   A       I don't believe so.

 9   Q       Just as an accountant?

10   A       Correct.

11   Q       Have you ever seen the defendant with a weapon?

12   A       No.

13   Q       Have you ever been in one of the defendant's studios or

14   residences where you saw a weapon?

15   A       Yes.

16   Q       What kind of weapon did you see?

17   A       I saw a gun.

18   Q       Can you describe the gun that you saw?

19   A       It was small handgun.

20   Q       And where did you see it?     Did you say it was a studio?

21   Where did you see it?

22   A       The studio on Justine.

23   Q       Where specifically in the studio on Justine Street did

24   you see the gun?

25   A       It was behind the bar.



                            MDL    RPR         CRR    CSR
                                      A 1076
            Case 22-1481, Document 73, 04/17/2023, 3500774, Page235 of 303

                             Copeland - direct - Geddes                      3172


 1   Q      And I am going to show you what's in evidence as

 2   Government Exhibit 926, page 23.           Do you recognize what's

 3   shown there?

 4   A      I do.

 5   Q      What is that?

 6   A      That is the lounge area of the studio.

 7   Q      On Justine Street?

 8   A      Yes.

 9   Q      And do you see where my pen is pointing?

10   A      Yes.

11   Q      What is that?

12   A      That's the bar.

13   Q      And is that the bar area where you saw a gun?

14   A      It looks different.

15   Q      Is that the location of the bar area where you saw the

16   gun?

17   A      I believe so, yes.

18   Q      And where in the bar area did you see it?

19   A      It was on the shelf behind the bar.

20   Q      Like where liquor in a bar might be stored?

21   A      Yes.

22   Q      Approximately when did you see a gun in that bar area of

23   the defendant's recording studio?

24   A      That was approximately either March or April of 2018.

25   Q      Shortly before you stopped working for the defendant?



                           MDL       RPR        CRR      CSR
                                       A 1077
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page236 of 303

                          Copeland - direct - Geddes                        3173


 1   A    Correct.

 2   Q    Did you ever have any discussions with anyone about the

 3   defendant having a firearm?

 4   A    I did.

 5   Q    Who did you have that discussion with?

 6   A    I'm sorry, what was the question?

 7   Q    Did you ever have any -- my first question was did you

 8   ever have any discussions with anyone about the defendant

 9   having a firearm or a gun?

10              MR. CANNICK:    Objection to that, Your Honor.            It's

11   not the testimony.

12              THE COURT:     Sustained as to form.

13              Did you say did you ever have any discussions with

14   anyone about the gun?

15              MS. GEDDES:    Yes, and then I asked her who she had a

16   discussion with.

17              THE COURT:     You're not asking for the substance of

18   the conversation?

19              MS. GEDDES:    I'm about to, at which point can we

20   have a brief sidebar on it?

21              THE COURT:     Yes, but we don't have too much time, so

22   let's do a quick one.

23              MS. GEDDES:    We could break.      I still have a little

24   bit --

25              THE COURT:     I am going to squeeze every minute out



                         MDL      RPR        CRR      CSR
                                    A 1078
            Case 22-1481, Document 73, 04/17/2023, 3500774, Page237 of 303

                             Copeland - direct - Geddes                      3174


 1   of you.     So let's not have a sidebar.         Let's ask another

 2   question and we will deal with that later.

 3                  MS. GEDDES:    All right.

 4   Q      I'm showing the witness page 37 of Government Exhibit

 5   926.     Do you recognize what's shown there?

 6   A      I do.

 7   Q      What is shown there?

 8   A      This is the bar area of the studio.

 9   Q      And is that the bar area where you saw the gun?

10   A      Yes.

11   Q      And I'm putting my pen on that shelf area underneath,

12   where those two lamps are.         Is that the location where you saw

13   it or where on this diagram?

14   A      Correct.

15   Q      That shelf underneath where the two lamps are set?

16   A      Yes.

17   Q      And without saying the nature of the conversation, who

18   was the individual that you had a discussion with about the

19   defendant having a gun?

20                  MR. CANNICK:   Objection.

21                  THE COURT:    I think the objection is to the fact

22   that the defendant had the gun.            The testimony was that she

23   saw a gun in the studio.

24                  Do I have that right, Mr. Cannick?

25                  MR. CANNICK:   Yes, Your Honor.



                           MDL       RPR        CRR      CSR
                                       A 1079
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page238 of 303

                          Copeland - direct - Geddes                      3175


 1                THE COURT:    So did you have a conversation with

 2   somebody about the fact that you saw a gun in the studio?

 3                THE WITNESS:   No.

 4                MS. GEDDES:    My question was actually about

 5   something other than that.        I can address it afterwards.

 6                THE COURT:    All right.

 7   BY MS. GEDDES:

 8   Q    I want to direct your attention to January of 2018.             Did

 9   you have a computer that you used in connection with your work

10   for the defendant?

11   A    I did.

12   Q    What type of computer did you have?

13   A    It was a MacBook Air.

14   Q    When did you get that computer approximately?

15   A    Approximately January of 2018.

16   Q    And who purchased the computer?

17   A    I did.

18   Q    What did you use it for?

19   A    I took notes in meetings.

20   Q    Meetings for the defendant or meetings with the

21   defendant?

22   A    Correct.

23   Q    But was it your own personal computer?

24   A    Correct.

25   Q    Do you still have that computer?



                         MDL       RPR       CRR      CSR
                                    A 1080
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page239 of 303

                          Copeland - direct - Geddes                      3176


 1   A    I do not.

 2   Q    What happened?

 3   A    It went missing one day when we were having -- when there

 4   were guests in the studio.

 5   Q    Which studio were you in?

 6   A    On Justine.

 7   Q    And where were you when you last saw your computer?

 8   A    I was sitting on the couch in the lounge area of the

 9   studio.

10   Q    And was that the same lounge area that was just shown in

11   Government Exhibit 926?

12   A    Correct.

13   Q    Who, if anyone, was present while you were there?

14   A    There were guests.      There was Robert and Alicia Evan was

15   there.

16   Q    And where was your computer?

17   A    On the coffee table.

18   Q    And do you recall -- I think you said that you were on

19   one of the couches around the coffee table; is that correct?

20   A    Correct.

21   Q    And do you recall what you were doing at that time?

22   A    Just working.

23   Q    And do you remember where the defendant was?

24   A    He was adjacent to us, I think maybe playing cards at

25   another table.



                        MDL       RPR        CRR      CSR
                                    A 1081
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page240 of 303

                          Copeland - direct - Geddes                      3187


 1              THE COURT:    Okay.   Let's get the witness unless

 2   anybody has something to bring up.

 3              Okay, let's get the witness.

 4              (Witness takes the stand.)

 5              (Jury enters.)

 6              THE COURTROOM DEPUTY:        You may be seated.

 7              THE COURT:    All right, everybody, welcome back.         I

 8   hope everybody had a good weekend.        We are ready to resume

 9   with, I don't remember where we were, direct?

10              MS. GEDDES:    That's correct.

11              THE COURTROOM DEPUTY:        The witness is reminded she

12   is still under oath.

13   DIANA COPELAND, having been previously duly sworn/affirmed,

14        testified as follows:

15   CONTINUED DIRECT EXAMINATION

16   BY MS. GEDDES:

17   Q    Good morning.

18   A    Good morning.

19   Q    On Friday before we ended for the day, you testified

20   about certain fines that the defendant imposed while you were

21   working for him.

22   A    Right.

23   Q    Do you recall the amount of the fine that were imposed by

24   the defendant?

25   A    I do not.



                              SN       OCR       RPR
                                    A 1082
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page241 of 303

                          Copeland - direct - Geddes                      3188


 1   Q    Were they always the same amount or did it differ?

 2   A    It differed.

 3   Q    And were there times when you did not receive any part of

 4   your paycheck in a particular week as a result of a fine?

 5   A    Correct.

 6   Q    When we ended on Friday, you were testifying about a

 7   computer that you had purchased.        Can you remind the jury when

 8   you purchased that computer?

 9   A    Somewhere around January 2018.

10   Q    And what type of computer was it?

11   A    It was a Macbook Air.

12   Q    And what did you use the computer for in connection with

13   your employment with the defendant?

14   A    In connection with the employment, it would have been

15   just to take notes in the meetings.

16   Q    And I think you might have testified to this on Friday

17   but it's been a while since then, what happened to the

18   computer?   When did you last see the computer?

19   A    I last saw it in April 2018 in the lounge area of the

20   studio.

21   Q    And who was present when you last saw the computer?

22   A    There were people there and Robert was there as well.

23   Q    Did you have any conversations with the defendant about

24   your computer?

25   A    I did.



                              SN       OCR      RPR
                                    A 1083
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page242 of 303

                          Copeland - direct - Geddes                      3189


 1   Q    What happened during those conversations?

 2   A    Well, it wasn't exactly a conversation.          I just asked him

 3   about it.

 4   Q    And when did you ask the defendant about your computer?

 5   A    When I first noticed it being missing.

 6   Q    That day at the studio in April of 2018?

 7   A    Correct.

 8   Q    And how did the defendant respond when you asked him

 9   about your computer going missing?

10   A    He didn't really respond.       He didn't know where it was.

11   Q    What did he say?

12   A    He was kind of -- he looked and didn't really know where

13   it was.

14   Q    What, if any, steps did the defendant take to try to

15   locate your computer?

16   A    None.

17   Q    And what, if any -- did you hear the defendant ask anyone

18   else in the room about what had happened to your computer?

19   A    No.

20   Q    Did you ever receive your computer back?

21   A    No, I did not.

22   Q    Did you take any steps to try to recover -- or find out

23   where your computer was located?

24   A    I did.   I did a search on the computer -- on the -- on

25   another computer.    It was -- it's called, like, Find Your



                              SN       OCR      RPR
                                    A 1084
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page243 of 303

                          Copeland - direct - Geddes                      3190


 1   Device and it located it.

 2   Q    And when did you do that -- when did you conduct that

 3   search?

 4   A    Just a little bit after I noticed that it was missing.

 5   Q    Was it that same day?

 6   A    Yes.

 7   Q    And based on that search where did it indicate your

 8   computer was?

 9   A    That it was still in the studio.

10   Q    Did you subsequently learn that your computer had been

11   used for something?

12               MR. CANNICK:    Objection.

13               THE COURT:   First of all, overruled.

14               Did you learn that; that your computer had been used

15   even though you didn't have it?

16               THE WITNESS:    Yes.

17               THE COURT:   Next question.

18   BY MS. GEDDES:

19   Q    What did you learn, what happened?

20   A    The Apple sends you a notification if the computer is

21   opened.

22   Q    And approximately when did you -- is that what you mean

23   that you received a notification from Apple that the computer

24   had been opened?

25   A    Correct.



                                SN      OCR     RPR
                                     A 1085
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page244 of 303

                          Copeland - direct - Geddes                      3191


 1   Q    And when did you receive that notification in connection

 2   or relative to when you last saw your computer at the studio?

 3   A    About a couple of months later.

 4   Q    What, if anything, did you do upon receiving that

 5   communication from Apple?

 6   A    I sent a text to his then-manager.

 7   Q    Who was his then-manager?

 8   A    James Mason.

 9   Q    And at the time that you received the notification from

10   Apple that your computer had been opened, what if any

11   information did you learn about its then-location?

12   A    I'm sorry, can you repeat that?

13   Q    Yes.   When you received that notification from Apple that

14   your computer had been opened, did you receive any information

15   about the location of your computer at that time?

16   A    I did not.

17   Q    And just to be clear, I'm referring to the notification

18   from Apple about where your computer was located?

19   A    Initially, but I don't think the second time it indicated

20   the location.

21   Q    When you contacted contacted the manager that you just

22   referenced, James Mason, whose manager was that?

23   A    Robert's.

24   Q    The defendant's?

25   A    Correct.



                              SN       OCR      RPR
                                    A 1086
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                           Copeland - direct - Geddes                      3192


 1   Q       And you testified earlier or last week, that you stopped

 2   working for the defendant in approximately April of 2018; is

 3   that correct?

 4   A       Correct.

 5   Q       And was that the same month that your computer went

 6   missing?

 7   A       Correct.

 8   Q       Why did you stop working for the defendant at that time?

 9   A       A number of reasons.

10   Q       Was one of them --

11                THE COURT:   Well let's --

12                What were the reasons?

13                THE WITNESS:    Well, there was a lot going on.         Wow.

14   It was just we weren't seeing eye-to-eye.         There was, you

15   know, new management.       I kind of felt like things should have

16   been handled differently because we had had people in that we

17   didn't trust and so we weren't seeing eye-to-eye in terms of

18   that.

19   BY MS. GEDDES:

20   Q       In terms of "we" who are you referring to?

21   A       Myself and Robert.

22   Q       Now did you see the defendant after you stopped working

23   for him?

24   A       I did, yes.

25   Q       When was the last time that you saw the defendant prior



                                 SN     OCR     RPR
                                      A 1087
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                          Copeland - direct - Geddes                      3193


 1   to the beginning of your testimony last week?

 2   A    The last time?

 3   Q    That you saw him.

 4   A    That would have been probably in 2019.

 5   Q    And do you recall during what part of 2019 you last saw

 6   the defendant?

 7   A    I can't recall.

 8   Q    Okay.    Where did you first see the defendant on that last

 9   occasion when you saw him?

10   A    Well, we met at a park.

11   Q    Where was the park located?

12   A    Across from the water tower.

13   Q    Is that in Chicago?

14   A    Yes.

15   Q    And what happened when you showed up at the park?

16   A    When I showed up at the park, he was -- I was sitting on

17   the bench.   He called me and he said, Don't you see this big

18   giant van sitting here jokingly.        And so I eventually went to

19   the van.    We ended up going to the Trump Towers from there.

20   Q    And just to be clear, for the record when you say "he,"

21   are you referring to the defendant?

22   A    Yes.

23   Q    Who went to the Trump Towers that day?

24   A    I believe it was Robert, *Jane and myself.

25   Q    And what happened when you arrived at the Trump Towers?



                              SN       OCR      RPR
                                    A 1088
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page247 of 303

                          Copeland - direct - Geddes                      3194


 1   A       When I arrived at the Trump Towers, Jane gave me a robe

 2   to put on.

 3   Q       What, if anything, did she say?

 4   A       She said that Mr. Kelly would like me to -- she asked me

 5   was I wired.

 6   Q       What did you understand her to mean when she asked you if

 7   you were wired?

 8   A       If I had some kind of device that would record or --

 9   Q       Now, at the time that you last saw the defendant and went

10   to the Trump Towers, had you met with law enforcement at that

11   time?

12   A       I'm not sure if that was before or after.

13   Q       How did you respond when Jane asked you whether you were

14   wired?

15   A       I was shocked and I said no.

16   Q       What, if anything, did you do with the robe that Jane

17   provided to you?

18   A       Well, I took off my sweatshirt and I left on my tank top

19   and my pants and I put the robe on.

20   Q       And who did you understand wanted you to be putting on

21   that robe?

22   A       Robert.

23   Q       And what did you understand the defendant wanted you to

24   have other than the robe on?      What was the purpose --

25                What did you understand was the purpose of having



                              SN       OCR      RPR
                                    A 1089
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page248 of 303

                           Copeland - direct - Geddes                     3195


 1   been provided with this robe?

 2   A       To disrobe and to put the robe on.

 3   Q       For what reason?

 4   A       To make sure I wasn't wired.

 5   Q       And just to be clear, were you wearing a wire?

 6   A       No.

 7   Q       Or did you have a recording device at any point?

 8   A       Absolutely not.

 9   Q       After you put on the robe and advised Jane that you were

10   not -- did not have a wire on, did you interact with the

11   defendant?

12   A       I did.

13   Q       What happened when you saw the defendant?

14   A       He was very upset at what was going on in the media.

15   Q       What, if anything, did he ask you to do?

16   A       At a certain point he just told me to write something

17   truthful about how I feel about him.

18   Q       And what, if anything, did he provide you in order to do

19   that?

20   A       I think it was a notebook and pen.

21   Q       And did you then write a letter?

22   A       I did.

23                 MS. GEDDES:   I'm showing the witness only what's

24   been marked for identification as Government Exhibit 301.

25                 THE COURT:    Any objection to this going into



                                 SN     OCR     RPR
                                      A 1090
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page249 of 303

                          Copeland - direct - Geddes                      3196


 1   evidence?

 2               MR. CANNICK:    None.

 3               THE COURT:    Okay.   This will be in evidence as 301?

 4               MS. GEDDES:    Yes.

 5               THE COURT:    Admitted.

 6               (Government Exhibit 301 received in evidence.)

 7   BY MS. GEDDES:

 8   Q    Do you recognize what's shown in 301?

 9               (Exhibit published.)

10   A    Yes.

11   Q    What is that?

12   A    This is my handwriting and this is the letter.

13   Q    And I want to -- you testified earlier that the defendant

14   asked you to write a letter that was truthful; is that

15   correct?

16   A    That is correct.

17   Q    Have you had an opportunity to review this letter prior

18   to your testimony today?

19   A    Yes, I have.

20   Q    And having reviewed the letter, was everything that you

21   wrote in this letter truthful?

22   A    Everything, yes.

23   Q    I want to direct your attention to the second page where

24   it indicates, he has never verbally, physically or mentally

25   abused anybody.



                                SN       OCR    RPR
                                     A 1091
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page250 of 303

                          Copeland - direct - Geddes                      3197


 1               Based on what -- having worked for the defendant for

 2   the lengthy period of time that you worked for him, was that

 3   an accurate statement when you wrote that?

 4   A    It probably should say I have never seen him verbally,

 5   physically or mentally abuse anyone.

 6   Q    Well, during the course of your employment with the

 7   defendant, was there ever a time when the defendant verbally

 8   abused you?

 9   A    I don't know that I would call it verbally abuse --

10   verbal abuse.

11   Q    Did you and the defendant get into verbal altercations?

12   A    Yes.

13   Q    And what were the nature of those altercations?

14   A    Usually it would be over a fine.

15   Q    And what was the defendant's demeanor during some of

16   these discussions?

17   A    He could get pretty heated, yes.

18   Q    Could you describe what you mean by him getting pretty

19   heated?

20   A    He could get angry.      He could curse.     He could -- yeah.

21   Q    And what, if anything, would you do after you had some of

22   those verbal disputes with the defendant?

23   A    Sometimes cry.

24   Q    And did you always continue to work for the defendant

25   after those verbal disputes?



                              SN       OCR      RPR
                                    A 1092
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                             Copeland - direct - Geddes                      3198


 1   A       Yes.   Well, sometimes I would leave.

 2   Q       And when you say sometimes you would leave, what do you

 3   mean?

 4   A       It means sometimes I would quit.

 5   Q       As a result of those verbal disputes?

 6   A       Correct.

 7   Q       Would the defendant raise his voice during some of those

 8   disputes?

 9   A       Correct.

10   Q       And would the defendant criticize you during some of

11   those disputes?

12   A       Correct.

13   Q       Now, you testified that you wrote this letter shown in

14   Government Exhibit 301 in 2019 at some time.

15                  Was that the only time that you wrote a letter at

16   the defendant's direction?

17   A       No.

18   Q       When if -- what other time had the defendant asked you to

19   write a letter?

20   A       Years ago initially, I think the staff wrote letters

21   basically saying that they stole something and this was just

22   to make sure that no one was going to do something against

23   him.

24   Q       What did the defendant ask you to do?

25   A       Write a letter.



                                 SN       OCR      RPR
                                       A 1093
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page252 of 303

                            Copeland - direct - Geddes                    3199


 1   Q       Did the defendant explain why he wanted you to write a

 2   letter?

 3   A       Yeah, I believe his attorneys had told him to have us do

 4   that.

 5   Q       And what did you understand the defendant wanted you to

 6   write in the letter that he asked you to write?

 7   A       That I stole something.

 8   Q       At the time that you wrote the letter had you, in fact,

 9   stolen anything from the defendant?

10   A       No.

11                  MS. GEDDES:    I am showing the witness what's been

12   marked for identification as Plaintiff's Exhibit 3500-DC2-8.

13                  THE COURT:    Any objection to this Mr. Cannick?

14                  MR. CANNICK:    No.

15                  MS. GEDDES:    The Government Plaintiff's Exhibit

16   3500-DC2-8.

17                  THE COURT:    It's in evidence.

18                  (Government Exhibit 3500-DC2-8 received in

19   evidence.)

20                  (Exhibit published.)

21   BY MS. GEDDES:

22   Q       Do you recognize the letter that is in Plaintiff's

23   Exhibit 3500-DC2-8?

24   A       Yes.

25   Q       And at the top whose signature is that?



                                   SN     OCR    RPR
                                        A 1094
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                          Copeland - direct - Geddes                       3200


 1   A    Mine.

 2   Q    And it reads:     This is the hardest letter that I have

 3   ever written.    I wanted to write it in the most honest and

 4   humble way possible, but there is no perfect or easy way to

 5   tell someone you love that you have betrayed them.           I have

 6   stolen money from you and I am very sorry.         It took me two

 7   years to admit it to myself and to you because I would rather

 8   leave than have you look at me differently.          I am so thankful

 9   that you are a forgiving person.        We have always been like

10   family and I would not be the same if I lost our relationship

11   over this.    I will never, ever betray in any way ever again.

12   I am truly disappointed in myself and I am ashamed.           There is

13   no pain greater than the one in my heart right now.           There is

14   no excuse for what I did and no way to make it look better.

15                I took something from you that didn't belong to me.

16   I stole money.    What makes it worse is that I know in my heart

17   that if I had asked you for some money, you would have no

18   problem with it.    You are a very giving and loving person and

19   there is no excuse for anyone you love to steal from you.

20   Right now I don't feel deserving of your love or your trust

21   and it's killing me inside.      It's the very feeling that I ran

22   away from for two years, but right now all I can do is

23   apologize and hope time heals the pain, trust and our

24   friendship.    Please feel my spirit when I say that I am truly

25   sorry and I will never betray you ever again.          I love you.



                              SN       OCR      RPR
                                    A 1095
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                          Copeland - direct - Geddes                      3201


 1               And then there are two signatures there.         Are those

 2   both your signature as well?

 3   A    Yes.

 4   Q    And at the top of this -- of this third page, is that

 5   also your signature there at the top right-hand corner?

 6   A    Yes.

 7   Q    And at the top of the second page, there is also a

 8   signature, is that also your signature?

 9   A    Yes.

10   Q    And just to be clear, did you ever steal anything from

11   the defendant?

12   A    No.

13   Q    I am showing the witness only what's been marked for

14   identification as Government Exhibit 970?

15               (Exhibit published for witness only.)

16   BY MS. GEDDES:

17   Q    Do you recognize what's shown in Exhibit 970?

18   A    Yes.

19   Q    What that?

20   A    My phone number.

21   Q    Is it still your phone number today?

22   A    Yes, it is.

23   Q    How long have you used that phone number?

24   A    For many years.     I don't know how many.

25   Q    And did you use that telephone number while you were



                              SN       OCR      RPR
                                    A 1096
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page255 of 303

                          Copeland - direct - Geddes                        3202


 1   working with the defendant?

 2   A    Yes.

 3               MS. GEDDES:    The Government offers 970.

 4               MR. CANNICK:    No objection.

 5               THE COURT:    That is in evidence.

 6               (Government Exhibit 970 received in evidence.)

 7               THE COURT:    Jury only?

 8               MS. GEDDES:    Jury only, please.

 9               (Exhibit published to jury only.)

10               MS. GEDDES:    Nothing further.

11               THE COURT:    Cross-examination?

12               MR. CANNICK:    Yes, Your Honor, thank you.

13   CROSS-EXAMINATION

14   BY MR. CANNICK:

15   Q    I just want to go over your testimony a bit here.               The

16   letter that was just read to you by the Government, DC-8, in

17   that letter you said that Rob is a giving and loving person.

18   Did you find that to be true?

19   A    Yes, I did.

20   Q    Did you find him to be a generous person?

21   A    Yes.

22   Q    And you testified that that letter did not pertain to you

23   actually stealing anything from him.        There was a reference

24   that you stole something from him but that was not true;

25   correct?



                                SN     OCR       RPR
                                     A 1097
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page256 of 303

                          Copeland - direct - Geddes                      3203


 1   A       Correct.

 2   Q       But what was true was that there was a dispute that you

 3   and he had about something that was a misunderstanding; am I

 4   correct?

 5   A       Yes.

 6   Q       And that misunderstanding caused you to decide, you know

 7   what, given the misunderstanding I'm going to leave and you

 8   wrote that letter on your way back to work with him, am I

 9   correct?

10   A       That is correct.

11   Q       You left him for two years after that and on coming back,

12   you wrote that letter?

13   A       That's correct.

14   Q       And the misunderstanding was never resolved, right, you

15   just moved on from it?

16   A       That is correct.

17   Q       Now, the Government asked you about whether or not Robert

18   had ever verbally abused, do you remember them asking you

19   that?

20   A       Yes.

21   Q       And you testified that there were times that you and he

22   would have disagreements and sometimes you would cry, am I

23   correct?

24   A       Right.

25   Q       You met with the Government before coming her to give



                                SN     OCR      RPR
                                     A 1098
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page257 of 303

                          Copeland - direct - Geddes                      3204


 1   your testimony here?

 2   A    Yes.

 3   Q    And you met with them a number of times, am I correct?

 4   A    That's correct.

 5   Q    And during the prepaaration to come here, they asked you

 6   questions, am I correct?

 7   A    That is correct.

 8   Q    And during their asking you those questions, you cried

 9   then; am I correct?

10   A    That is correct.

11   Q    They didn't like how you were answering the questions and

12   you eventually cried; am I correct?

13               MS. GEDDES:   Objection.

14               THE COURT:    Sustained.

15   BY MR. CANNICK:

16   Q    But you cried?

17   A    Yes, I did.

18   Q    Now, you mentioned that there were times that Rob would

19   exact fines on you and his other employees; am I correct?

20   A    That is correct.

21   Q    Now, fines in the music industry is pretty commonplace;

22   am I correct?

23               MS. GEDDES:   Objection.

24               THE COURT:    Do you have any basis for having an

25   opinion about whether fines are common in the music industry?



                               SN      OCR      RPR
                                    A 1099
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                            Copeland - direct - Geddes                    3205


 1                THE WITNESS:    I do, Your Honor.

 2                THE COURT:     What is the basis for your --

 3                THE WITNESS:    I have friends that are in the

 4   industry.

 5                THE COURT:     Well, I guess the jury can take the

 6   answer for what it is worth.

 7                Go    ahead.

 8   BY MR. CANNICK:

 9   Q    And your friends in the industry, you find that they were

10   fined by their bosses; is that correct?

11   A    That is correct.

12   Q    And I'm sure being in the industry for the amount of time

13   you have been in there, you heard about how James Brown used

14   to fine --

15                MS. GEDDES:    Objection.

16                THE COURT:     Sustained.

17   BY MR. CANNICK:

18   Q    Now, you testified that there was a time that you left

19   your employment with Robert because you guys weren't seeing

20   eye-to-eye.       Do you remember that?

21   A    Right.

22   Q    Now, that was only because of business direction, am I

23   correct?

24   A    That is correct.

25   Q    In fact, there was new management and you weren't in



                                 SN     OCR     RPR
                                      A 1100
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page259 of 303

                          Copeland - direct - Geddes                      3206


 1   synch with the new management; am I correct?

 2   A    Correct.

 3   Q    Now during your final stint -- withdrawn.

 4                Do you recall how many times you left your

 5   employment with Robert and returning?

 6   A    Many.

 7   Q    Many; right?

 8   A    Yes.

 9   Q    And you would come back because you found it to be an

10   exciting job?

11   A    I came back sometimes because I felt he didn't have

12   trustworthy people around him.

13   Q    And when you say that, you knew that some of his

14   employees had stolen from him; am I correct?

15                MS. GEDDES:   Objection.

16                THE COURT:    Sustained.

17   BY MR. CANNICK:

18   Q    Well, wasn't your responsibility when you came back in

19   the final months of your job was to help him find his monies?

20   A    Yes.

21   Q    Okay.     Because there were large sums of monies that just

22   disappeared?

23                MS. GEDDES:   Objection.

24                THE COURT:    Sustained as to form.

25   BY MR. CANNICK:



                                SN     OCR      RPR
                                     A 1101
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page260 of 303

                          Copeland - direct - Geddes                       3207


 1   Q    Why did you have that responsibility?

 2   A    Robert did not have any control over his bank account.

 3   He didn't even know even know his Social Security number.             He

 4   had no control over over whether things were being paid, the

 5   urgent things that needed to be paid.        He had no control over

 6   that and he had no idea where his royalties were going.              Who

 7   was getting that check and so that was a huge problem.

 8   Q    Okay, thank you.     Given your employment with Mr. Kelly

 9   you came to understand that he had a problem with reading and

10   writing?

11   A    Correct.

12   Q    Now, I want to go back and discuss some aspects of your

13   employment with Mr. Kelly.      You were employed with him at a

14   point in time as his executive assistant?

15   A    Correct.

16   Q    What was your responsibilities as his executive

17   assistant?

18   A    The focus was to make sure that he had everything

19   required to make music, to tour, to live comfortably, to make

20   sure that the bills were paid, that his home was running

21   smoothly, that his kids were taken care of.

22   Q    And you were pretty much his go-to person in terms of

23   making sure that those things were to his standard?

24   A    Correct.

25   Q    Now, you also testified that you worked as his assistant.



                              SN       OCR      RPR
                                    A 1102
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                          Copeland - direct - Geddes                        3208


 1   Was that a personal assistant?

 2   A    Correct.

 3   Q    And what were the responsibilities -- what were your

 4   responsibilities as his personal assistant?

 5   A    So, at that time it was more so to manage the estate when

 6   he was living in Olympia Fields.        The children were there at

 7   the time and there were nannies and housekeepers and people

 8   who took care of the grounds and things of that nature that

 9   needed to be scheduled and paid.

10   Q    And did you have any direct involvement with his children

11   and wife?

12   A    Yes.

13   Q    What were those involvements?

14   A    That was another part of making sure that the household

15   ran smoothly.   You know, I was told when I first was hired

16   that I was an extension of him because he was really busy.

17   And he would be in the studio for hours so I had to make sure

18   that the kids had something to do.        He would have me schedule

19   trips to the museum and things like that with their teacher

20   and things of that nature.

21   Q    Now you mentioned that he was a very busy person.               Could

22   you give us an idea as to his daily routine?

23   A    That varied every day.      He would be in the studio from

24   nighttime until the sun came up many days.

25   Q    Let me stop you there.      In terms of being in the studio



                              SN       OCR      RPR
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                          Copeland - direct - Geddes                      3209


 1   did he have an engineer staff with him?

 2   A    At what period?

 3   Q    At the time that you worked with him --

 4   A    Actually he had engineers the entire time I was working

 5   there.

 6   Q    Do you know the shifts of those engineers?

 7   A    I do not know their shifts.

 8   Q    Okay.     But do you recall them working pretty much 24

 9   hours a day?

10   A    24 hours, yeah.      There was always somebody there, but --

11   Q    And they would be there because oftentimes he would have

12   an inspiration or decide to go to the studio and he would

13   either work -- need to work on his music; am I correct?

14   A    Correct.

15                THE COURT:   I do not see the relevance, but let's

16   move on to something else.

17   BY MR. CANNICK:

18   Q    Now his band was there 24 hours?

19                THE COURT:   His band?

20                MR. CANNICK:    His band.

21                THE COURT:   I really don't see the relevance.

22                MR. CANNICK:    Your Honor --

23                THE COURT:   Go ahead.

24   BY MR. CANNICK:

25   Q    His band would be there to be ready to perform if he was



                                 SN     OCR       RPR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page263 of 303

                          Copeland - direct - Geddes                      3210


 1   deciding to go to the studio; right?

 2   A    Sometimes, yes.

 3   Q    And did he play basketball during his daily routine?

 4   A    Yes.

 5   Q    Do you know what his his basketball schedule?

 6   A    Typically he would play somewhere around 11 p.m. or

 7   midnight.

 8   Q    So he would play in the -- closer to midnight for about

 9   how many hours?

10   A    Maybe three.

11   Q    And then after that would he go back to the studio, to

12   your knowledge?

13   A    Yes.

14   Q    And when would he get to bed?

15               MS. GEDDES:    Objection.

16   A    Morning.

17               THE COURT:    Was this every day?

18               THE WITNESS:    It was a routine.

19               THE COURT:    Okay.

20   BY MR. CANNICK:

21   Q    Did he have any involvement during his daily routine with

22   other artists?    Did he work with other artists?

23   A    Absolutely.

24   Q    Other producers?

25   A    Yes.



                                SN     OCR      RPR
                                     A 1105
         Case 22-1481, Document 73, 04/17/2023, 3500774, Page264 of 303

                             Copeland - direct - Geddes                   3211


 1   Q       Record label?

 2   A       Yes.

 3   Q       Did he during his day have to plan concerts and tours?

 4   A       That is correct.

 5   Q       And do you know whether or not he would write music for

 6   himself and for other artists?

 7   A       Yes, he did.

 8   Q       And these artists that he would write and produce for,

 9   they were considered A-list musicians?

10                  MS. GEDDES:   Objection.

11                  THE COURT:    I think we're going quite far afield

12   here.    Let's move on to something else.

13   BY MR. CANNICK:

14   Q       What time would he begin his day?

15   A       Somewhere around maybe 4 p.m., 5 p.m.

16   Q       And you had total access of the properties that you

17   worked for when you worked with Mr. Kelly?

18   A       Yes.

19   Q       And what properties were they?

20   A       Olympia Fields, the Trump Towers, the estate in John's

21   Creek.

22   Q       And of all of those properties, did you note that any of

23   the bedrooms or rooms had locks on the outside of the door?

24   A       No, they did not.

25   Q       Do you know whether or not any of his phones were ever



                                  SN     OCR     RPR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page265 of 303

                          Copeland - direct - Geddes                      3212


 1   rigged so that they could only call certain numbers?

 2               THE COURT:   Any of his personal telephone?

 3               MR. CANNICK:    The phones within the studio and in

 4   the home.

 5               THE COURT:   Like a landline?

 6               MR. CANNICK:    Yes.

 7               THE COURT:   Okay.

 8   A    No.

 9   Q    Have you ever heard that?

10   A    I have not heard of that.

11   Q    Now, did you have responsibility as relates to

12   Mr. Kelly's guests?

13   A    Yes.

14   Q    And what type of guests would he have?

15   A    It could range from record label executives, you know,

16   A-list stars like Whitney Houston, God bless her soul.

17   Q    What about his personal friends?

18   A    People he played basketball with or female friends.

19   Q    The female friends, some of them you learned that they

20   were his girlfriends; am I correct?

21   A    That is correct.

22   Q    And some of those girlfriends lived with him; am I

23   correct?

24   A    That is correct.

25   Q    Now, when you mentioned that you have involvement with



                                SN      OCR     RPR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page266 of 303

                            Copeland - direct - Geddes                    3213


 1   his record label and other entertainers, would those

 2   individuals bring their entourage with them when they would

 3   visit?

 4   A       Sometimes.

 5   Q       Now, does Robert have certain policies or procedures to

 6   maintain decorum in his home and his business?

 7   A       Yes.

 8   Q       What were they?

 9   A       The decorum in the home was that you could not roam his

10   home.    You could not -- you should knock if you come out of

11   one room and you go into another.          Those were the biggest

12   rules.

13   Q       And his wife was the one who put --

14                  MS. GEDDES:   Objection.

15                  THE COURT:    Overruled.

16   BY MR. CANNICK:

17   Q       His wife was the one who put the rules in place about

18   knocking on doors in the home and the business; am I correct?

19   A       That is correct.

20   Q       Now, this rule applied to everyone who came into his

21   home; am I correct?

22   A       That is correct.

23   Q       It wasn't just a rule for girlfriends; am I correct?

24   A       No, it wasn't just -- it was for everybody.

25   Q       Now, I asked you earlier if you ever -- if you had



                                  SN     OCR      RPR
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         Case 22-1481, Document 73, 04/17/2023, 3500774, Page267 of 303

                            Copeland - direct - Geddes                    3214


 1   meetings with the Government.           Do you remember me asking you

 2   that?

 3   A       Yes.

 4   Q       Now, when you went to visit the Government for these

 5   sessions, you couldn't just roll out of the house; correct?

 6   A       No.

 7   Q       A marshal had to escort you; correct?

 8   A       That is correct.

 9   Q       You couldn't just get up and go to the bathroom; correct?

10                  MS. GEDDES:    Objection.

11                  THE COURT:    Overruled.

12                  Did someone have to walk you to the bathroom?

13                  THE WITNESS:    Yes.

14                  THE COURT:    Inside?

15                  THE WITNESS:    Yes.

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17                  (Continued on the following page.)

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                          Copeland - Cross - Cannick                      3215


 1   CROSS-EXAMINATION (CONTINUED)

 2   BY MR. CANNICK:

 3   Q    And if you wanted to go get some lunch, they had to

 4   walk you out; am I correct?

 5   A    I wasn't allowed.

 6   Q    You weren't allowed lunch?

 7   A    I wasn't allowed to go for lunch.        I'm sorry.

 8   Q    Okay.   Now, I asked you about Mr. Kelly having live-in

 9   girlfriends.    Did those live-in girlfriends lived there for

10   substantial periods; am I correct?

11   A    Yes.

12   Q    Okay.   Some lived there three, four, five years and

13   beyond; am I correct?

14   A    Correct.

15   Q    And some of them came and went; am I correct?

16   A    That is correct.

17   Q    In fact -- what's the name -- Anna was one who came and

18   left; am I correct?

19   A    Oh, yes.

20   Q    Many times, am I correct?

21   A    That's correct.

22   Q    And she also had an apartment in Atlanta; am I correct?

23   A    That is correct.

24   Q    And Robert paid for that apartment; am I correct?

25   A    I'm not aware who paid for it.



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                                    A 1110
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                          Copeland - Cross - Cannick                      3216


 1   Q    Okay.   But you know she came and left?

 2   A    Yes.

 3   Q    And do you know someone that they called "Juice"?

 4   A    I do.

 5   Q    Now, "Juice" stayed for long periods of time; am I

 6   correct?

 7   A    That's correct.

 8   Q    But she also left, as well; am I correct?

 9   A    That's correct.

10   Q    Came and left, right?

11   A    Yes, sure.

12   Q    She also had a car?

13   A    Yes.

14   Q    And she had a job?

15   A    She did.

16   Q    And what about someone by the name of Dominique, that

17   person stayed for a period of time?

18   A    That is correct.

19   Q    And then left; am I correct?

20   A    That's correct.

21   Q    And others did, Sara?

22   A    Yeah.

23   Q    Okay.

24   A    I remember Sara, yeah.

25   Q    She never stayed in-house; am I correct?



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                          Copeland - Cross - Cannick                      3217


 1   A    No, she never stayed.

 2   Q    She stayed in a hotel?

 3   A    Yes, that's correct.

 4   Q    And she'd come and go; am I correct?

 5   A    Yes.

 6   Q    And there were a number of individuals who were of that

 7   status of coming and leaving; am I correct?

 8   A    That's correct.

 9   Q    Now, you testified about taking Mr. Kelly's girlfriend

10   shopping.    That was part of your responsibility; am I

11   correct?

12   A    I don't know if it was a responsibility, but it was

13   part of what I did.

14   Q    Part of what you did?

15   A    Yeah.

16   Q    And Mr. Kelly would splurge on these on these young

17   ladies; am I correct?

18   A    Yes.

19   Q    He would have you -- have them go to high-end stores?

20   A    That's correct.

21   Q    He would pay for their cosmetic procedures?

22   A    That's correct.

23   Q    He would lavish them with gifts?

24   A    Correct.

25   Q    Parties?



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 1   A    Correct.

 2   Q    Picnics?

 3   A    Correct.

 4   Q    Rental getaways?

 5   A    Correct.

 6               THE COURT:    What did -- I didn't hear what you

 7   said.

 8   Q    Rental getaway, a house in the mountains?

 9               THE COURT:    I see.

10   A    That is correct.

11   Q    Exotic pets?

12   A    That's correct.

13   Q    Extravagant parties?

14   A    That is correct.

15   Q    Trips abroad?

16   A    That's correct.

17   Q    He afforded them an exotic lifestyle, did he not?

18   A    Yes.

19   Q    Now, Mr. Kelly, you mentioned that he -- his

20   girlfriends would call his daddy.        Do you remember telling

21   us that?

22   A    That's correct.

23   Q    Now daddy is a term of endearment; am I correct?

24               THE COURT:    Sustained.

25   Q    I have something to say and I don't remember -- I



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 1   don't.

 2              THE COURT:    I said sustained.

 3              MR. CANNICK:    Sustained.

 4              THE COURT:    Yes.

 5   Q    Have you ever heard --

 6              THE COURT:    I'm going sustain this, too, I think,

 7   beginning, have you ever heard.

 8              MR. CANNICK:    No, no, not have you ever heard.

 9              Your Honor, I think we need a sidebar.

10              (Continued on the next page.)

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                               Sidebar Conference                        3220


 1              (The following occurred at sidebar.)

 2              MR. CANNICK:    Your Honor --

 3              THE COURT:    Her opinion, how can you defend --

 4              MR. CANNICK:    How can I defend -- if the

 5   Government's saying that he made her call him daddy, right,

 6   I think that I have a right to show how the context was

 7   used.

 8              THE COURT:    First, the Government didn't say --

 9   and don't you think, that haven't you ever heard that using

10   daddy in this way is whatever supports their opinion?

11   That's all.   I'm not letting you do -- you can certainly

12   argue that --

13              MR. CANNICK:    Yeah, I will.

14              THE COURT:    But this lady's opinion --

15              MR. CANNICK:    Okay.

16              THE COURT:    -- about when people called them daddy

17   is not really relevant.

18              Do you know how much longer you have with her?

19              MR. CANNICK:    Maybe 30 or 40 minutes.

20              THE COURT:    Okay.

21              MR. CANNICK:    I'm going a lot faster than I

22   thought.

23              THE COURT:    The only thing I was thinking about

24   was, right after in the next break, I would like to just

25   follow-up with that juror, with the alternate juror.



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                              Sidebar Conference                         3221


 1             MR. CANNICK:    Sure, okay.

 2             THE COURT:    All right?      Because we're going until

 3   6:00 tonight.

 4             MR. CANNICK:    Right.

 5             THE COURT:    So I think what we'll do is maybe if

 6   anybody needs five minutes.

 7             MR. CANNICK:    Okay.

 8             THE COURT:    And then we're going to convene.        I'll

 9   have Donna work out the details.

10             MR. CANNICK:    Okay.    We're going to take a break

11   now?

12             THE COURT:    No, no, no.

13             MR. CANNICK:    Oh, okay.

14             THE COURT:    That's why I wanted to figure out when

15   you're done.

16             MR. CANNICK:    Okay.

17             THE COURT:    And then we'll do it in Judge Chen's

18   jury room.

19             MR. CANNICK:    Do you have a set time in mind when

20   you want to take it?

21             THE COURT:    I'm think around 2:00ish.

22             MR. CANNICK:    2:00ish?      Okay.

23             THE COURT:    Yes.    That's 45 minutes.

24             If you're not done, that's also fine.

25             MR. CANNICK:    Yeah, okay.



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                           Sidebar Conference                         3222


 1          (Continued on the next page.)

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                          Copeland - Cross - Cannick                       3223


 1              (Sidebar ends; in open court.)

 2              THE COURT:    All right.     Go ahead.

 3   Q    Now, are you familiar with the lyrics of Mr. Kelly's

 4   songs?

 5              MS. GEDDES:    Objection.

 6              THE COURT:    If you can answer the question.

 7              Do you know the words to his song?

 8   Q    Well, let me be specific.       To Chocolate Factory?

 9              MS. GEDDES:    Objection.

10              THE COURT:    A few questions.

11              MR. CANNICK:    Okay.

12              THE COURT:    I don't really think this is --

13   Q    In this song he called himself daddy; am I correct?

14              MS. GEDDES:    Objection.

15              THE COURT:    Overruled.     She doesn't -- do you know

16   the words?

17              THE WITNESS:    To be totally honest.

18              THE COURT:    Let's move on to something else.

19              MR. CANNICK:    I will see if I can refresh her

20   recollection.

21              THE COURT:    No, no, no, no, no.         Next question.

22   Q    Well, in that song did he say --

23              MR. CANNICK:    I know I'm slow, Your Honor, but --

24              THE COURT:    Mr. Cannick, it does not matter what

25   the lyrics of his song were, that's all I'm saying.            Let's



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                          Copeland - Cross - Cannick                      3224


 1   put some other questions to the witness.           She said she's not

 2   familiar with the lyrics.

 3                MR. CANNICK:    That's why I was trying to refresh

 4   her recollection, Your Honor.

 5                THE COURT:    The objection is sustained.

 6                MR. CANNICK:    Thank you.

 7   Q    Be you do know that he had a song called Chocolate

 8   Factory?

 9   A    I've heard that, yes.

10   Q    But you don't recall the lyrics of the song?

11   A    I don't.

12   Q    And you don't recall whether or not he called himself

13   daddy in that song?

14   A    I don't know.

15   Q    Now, Mr. Kelly, you mentioned earlier that -- in your

16   testimony that when he would come into the room -- I'm not

17   sure if this was your testimony or not -- but when he came

18   into the room his girlfriends kiss him?

19   A    They did, yes.

20   Q    Okay.    But when his girlfriends came into the room he

21   stood up; am I correct?

22   A    That's correct.

23   Q    In fact, when you came into the room he stood up; am I

24   correct?

25   A    That's correct.



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                                      A 1119
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 1   Q    And, in fact, he would stand up anytime a female came

 2   into the room; am I correct?

 3   A    That's correct.

 4   Q    And he would open the door for any female; am I

 5   correct?

 6   A    That's correct.

 7   Q    It wasn't just his girlfriends; am I correct?

 8   A    That's correct.

 9   Q    Now, and he hired personal assistants to make sure that

10   the needs and the wants of his girlfriends were attended to;

11   am I correct?

12   A    That is correct.

13   Q    And the rules that -- the policies that we spoke about

14   earlier, knocking and to make sure that before you, leaving

15   and going into a room, that applied to staff as well as

16   girlfriends?

17              MS. GEDDES:    Objection.

18   A    Overruled.

19   Q    Now, have you ever been or have you ever traveled on

20   the tour bus?

21   A    I have, yes.

22   Q    Now, was there a rule in place as it relates to

23   knocking on a door before coming out of the bathroom?

24   A    Oh, yes.

25   Q    And why was that such a rule?



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 1   A    Well, the door was directly across from the microwave.

 2   And so should you be warming something up or boiling water

 3   for tea or coffee you could get pretty burned.

 4   Q    Okay.

 5   A    So...

 6   Q    If you came out without letting folks know that you're

 7   coming out by opening the door?

 8   A    Yes.

 9   Q    Now that rule applied to everyone; am I correct?

10   A    Oh, yes.

11   Q    It just didn't apply to Jane, do you know who Jane is?

12   A    I do.

13   Q    That rule just didn't apply to Jane, did it?

14   A    Oh, no.

15   Q    It applied to everybody?

16   A    Me included.

17   Q    Okay.   Now, you would take the tour bus and the

18   Sprinter sometimes on cross-country trips; am I correct?

19   A    That's correct.

20   Q    And these weren't pleasure trips, these are trips where

21   Mr. Kelly was going to perform; am I correct?

22   A    That's correct.

23   Q    And sometimes you would be out in the middle of

24   nowhere; am I correct?

25   A    Correct.



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                           Copeland - Cross - Cannick                      3227


 1   Q     There would be no bathrooms in sight for miles; am I

 2   correct?

 3   A     That's correct.

 4   Q     And, in fact, there would be no cell phone service

 5   because you're so far out; is that correct?

 6   A     That is correct.

 7   Q     And there was a time when you didn't have rest room

 8   coming up anytime soon, some people would urinate in large

 9   cups; am I correct?

10   A     I'm not aware of that.

11   Q     You're not aware of the big gulp cups?

12   A     I -- I know about it, but I -- at the time, I didn't

13   know people were doing that.

14   Q     Oh, you didn't know people were doing that?

15   A     No.

16   Q     Okay.

17                 All right.    Now, have you ever rented a car with

18   one of Mr. Kelly's runners driving you from Point A to Point

19   B?

20   A     Can you repeat the question.

21   Q     Mr. Kelly had runners; am I correct?

22   A     Yes, that's correct.

23   Q     And these runners would do whatever task that he would

24   want or what the staff would ask him; am I correct?

25   A     That's correct.



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 1   Q    And sometimes it required them driving you someplace;

 2   am I correct?

 3   A    That's correct.

 4   Q    And have you ever ridden with one of them?

 5   A    Yes.

 6   Q    And they would flip the mirror up; am I correct?

 7   A    Yes.

 8   Q    And you would want that; am I correct?

 9                MS. GEDDES:    Objection.

10                THE COURT:    She would want the mirror up?

11                MR. CANNICK:    She would want the mirror up.

12                THE COURT:    Did you want the mirror up?

13                THE WITNESS:    I didn't necessarily want it, but it

14   was okay.

15   Q    Did you find it to be offensive?

16   A    No.

17   Q    What was the benefit?

18                MS. GEDDES:    Objection.

19                THE COURT:    Overruled.

20   A    Well, just not having to have conversation or --

21   Q    So --

22   A    -- to have eye contact with someone.

23   Q    So you appreciated the fact that you didn't have to

24   have conversation or eye contact with the driver?

25   A    That's correct.



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 1   Q    Okay.   Now, there were occasions when you told us that

 2   you escorted Mr. Kelly's girlfriends on shopping trips.              Do

 3   you remember telling us that?

 4   A    That's correct.

 5   Q    And they would wear sweat clothes; am I correct?

 6   A    That's correct.

 7   Q    You would wear sweat clothes, too; am I correct?

 8   A    That's correct.

 9   Q    And they would be warmup suits and you did it for the

10   comfort; am I correct?

11   A    Oh, yeah.

12   Q    And there were times that you would escort them to rest

13   rooms?

14   A    That's correct.

15   Q    Okay.   Why would you escort them the rest room?

16   A    It would only be when we are at a venue that we weren't

17   familiar with.    One of the first things that my job required

18   was for me to find a bathroom, the rest rooms, were -- for

19   guests or even for him.

20   Q    So the first thing that you would do is find the

21   location of those rest rooms?

22   A    That's correct.

23   Q    And because you knew the location you would escort the

24   guests?

25   A    That is correct.



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 1   Q    And, in fact, you would escort Mr. Kelly as well; am I

 2   correct?

 3   A    That is correct.

 4   Q    Now, have you ever gone in the stall with them --

 5   withdrawn.

 6                Have you stood right outside of the stall with

 7   them and -- with them being a girlfriend when they were

 8   using the facility?

 9   A    No.

10   Q    And lets be more specific.         Have you ever stood outside

11   the stall -- do you know someone by the fame of Faith?

12   A    I do.

13   Q    Okay.    Did you ever stand outside the stall when she

14   was using the facility?

15   A    No.   I escorted her one time and the bathroom did not

16   have a stall, it was one individual bathroom.

17   Q    Okay.    And where did you position yourself?

18   A    Outside the door of the rest room.

19   Q    Now, did you ever give her, serve her alcohol?

20   A    No.

21   Q    You're smiling.     Why are you smiling?

22   A    Because I don't drink and I would be the last person

23   that somebody would ask for that.

24   Q    Now, you testified and told us yesterday about

25   escorting Mr. Kelly's girlfriends shopping and you would



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 1   interact with the salespeople?

 2   A    Correct.

 3   Q    Well, you would interact with salespeople -- well,

 4   withdrawn.

 5               You would go sopping with Mr. Kelly from time to

 6   time; am I correct?

 7   A    Yes, that's correct.

 8   Q    And you would interact with the salespeople for him; am

 9   I correct?

10   A    That is correct.

11   Q    Now when you were honing your duties as personal

12   assistant and executive assistant, Mr. Kelly's female guests

13   were not free to move around his business at home?

14   A    That's correct.

15   Q    But none of his guests were; am I correct?

16   A    That's correct.

17   Q    Now when you met with the Government, your attorney

18   with was you; am I correct?

19   A    That's correct.

20   Q    Ms. Rodriguez?

21   A    Yes.

22   Q    And she is here with you this mornings?

23   A    Yes, she is.

24   Q    This afternoon.

25               About how many hours you met with the Government



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 1   in connection with this case?

 2   A    Several.

 3   Q    When you say several, more than ten?

 4   A    Yes.

 5   Q    More than 20?

 6   A    Hard to say.    Probably.

 7   Q    Okay.    Do you know, more than 30?

 8   A    I don't think so.

 9   Q    Okay.    And during those meetings, they would suggest

10   certain verbiage to you in terms of answering questions for

11   you; am I correct?

12   A    No, they did not.

13   Q    They didn't suggest to you how to answer certain

14   questions?

15   A    No.

16   Q    They didn't express a preference on terms of certain

17   language or verbs to use?

18   A    On some of the language, if they used it, I would in

19   turn use it.

20   Q    So they used words like directed, Mr. Kelly directed?

21   A    Correct.

22   Q    And Mr. Kelly instructed?

23   A    Right.

24   Q    Mr. Kelly commanded?

25   A    I don't know if I've heard that one.



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 1   Q      Okay.    But before your meeting with the Government you

 2   never in a conversation about Mr. Kelly said that he

 3   directed someone to do something; am I correct?

 4   A      No.

 5   Q      Or he instructed someone to do something; am I correct?

 6   A      No.

 7   Q      Okay.    That language came from the Government?

 8   A      I don't know.

 9   Q      You can answer.

10                  THE COURT:    You can answer the question if it's

11   correct you can say it is correct.            If it's not, say it's

12   not.

13                  Did the Government suggest that you use that kind

14   of language?

15                  THE WITNESS:    They did not suggest.     But if they

16   would say something in a certain way, I may repeat it that

17   way, if that makes sense.

18                  THE COURT:    Okay.   Well, next question.

19                  MR. CANNICK:    Okay.

20   Q      And now, and you testified on direct exam that

21   Mr. Kelly would require a female Uber driver when we were

22   driving guests; am I correct?

23   A      That's correct.

24   Q      And basically it was a safety concern with Mr. Kelly;

25   am I correct?



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 1                MS. GEDDES:    Objection.

 2                THE COURT:    Well, I don't know.         Do you know, was

 3   it for safety?

 4                THE WITNESS:    I believe so, yeah.

 5   Q    And Uber drivers --

 6                THE COURT:    Give it a try.

 7                MR. CANNICK:    Give it a try?

 8                THE COURT:    Yeah.

 9   Q    Uber drivers have been known to rape --

10                MS. GEDDES:    Objection.

11                THE COURT:    Sustained.

12                MR. CANNICK:    I gave it a shot.

13                THE COURT:    You gave it a shot.

14   Q    Okay.    Now, they kill passengers, too?

15                MS. GEDDES:    Objection.

16                THE COURT:    Mr. Cannick, come on.

17                Sustained, if I didn't.

18                MR. CANNICK:    I'll went with, "Come on."

19   Q    You -- part of your job is that you arrange flights for

20   Mr. Kelly's guests?

21   A    That's correct.

22   Q    And hotel accommodations?

23   A    That's correct.

24   Q    And those would be for his girlfriends?

25   A    That's correct.



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 1   Q    And also for his friends?

 2   A    Friends, record label executives, business associates.

 3   Q    Anyone who he asked you to bring to into town, you

 4   would make the arrangements for?

 5   A    That's correct.

 6   Q    Did you have any instructions for them when they

 7   arrived?

 8   A    It would depend on if it was a hotel room most of the

 9   time, yes.

10   Q    Okay.    Now, you testified and told us about a situation

11   you were in an elevator with one of Mr. Kelly's girlfriends,

12   Joycelyn.

13                Do you remember telling us about that?

14   A    Yes.

15   Q    And you testified that she was looking at the rear of

16   the elevator?

17   A    Yes.

18   Q    Did they're still together; am I correct?

19   A    I don't know.

20   Q    You don't know?

21   A    (Witness shakes head negatively.)

22   Q    Okay.    Now, would you also have responsibility for

23   Mr. Kelly's security concerns; am I correct?

24   A    I'm sorry, can you repeat that.

25   Q    You had some responsibility in making sure that



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 1   Mr. Kelly was secure; am I correct?

 2   A    Absolutely, yes.

 3   Q    And you took that in consideration every time you were

 4   dealing with him, you want to make sure that he was safe; am

 5   I correct?

 6   A    Yes.

 7   Q    And the van -- withdrawn.

 8                The Sprinter having its blind pulled up so that no

 9   one could see in or see out, that was a security measure; am

10   I correct?

11   A    Yes.

12   Q    And how many security personnel did he have?

13   A    At any given time, at least three or four.

14   Q    And basically they worked to make sure that he was

15   secure; am I correct?

16   A    Correct.

17   Q    And did he have security for his girlfriends?

18   A    There was one female security guard.

19   Q    Okay.    And that person was named Candy?

20   A    Yes.

21   Q    And Candy pretty much made sure that the girls were

22   safe, the young ladies were safe?

23   A    Yes.

24   Q    Okay.

25                And basically protecting and securing Mr. Kelly



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 1   was paramount; am I correct?

 2   A    Correct.

 3   Q    He was the meal ticket; am I correct?

 4               MS. GEDDES:    Objection.

 5               THE COURT:    Overruled.

 6   A    Yes.

 7   Q    And it was important to him that he was kept safe as

 8   well as his girlfriends; am I correct?

 9               MS. GEDDES:    Objection.

10               THE COURT:    Sustained.

11   Q    When he had security for his girlfriends; am I correct?

12   A    Correct.

13   Q    Now, you testified and told us about a situation where

14   you were by the Lifetime Fitness Center with Anna --

15   A    Yes.

16   Q    -- in the Sprinter.

17               And you testified that she really needed to use

18   the facility?

19   A    Yes.

20   Q    The rest room.

21               And basically Mr. Kelly was inside the facility

22   and he was working out?

23   A    Correct.

24   Q    And didn't have his cell phone with him?

25   A    Correct.



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 1   Q    And she could not reach him?

 2   A    Correct.

 3   Q    And instead of going, she decided she would wait and

 4   continue to try to reach him?

 5   A    Yes.

 6   Q    Now, you didn't prevent her from going to the rest

 7   room; am I correct?

 8   A    No.

 9   Q    In fact, you wanted her and encouraged her to go to the

10   rest room; am I correct?

11   A    I did.

12   Q    And Mr. Kelly never told you to deny her to use the

13   facility; am I correct?

14   A    No.    In that particular situation he got mad because I

15   didn't really press her to go --

16   Q    Okay.

17   A    -- on her own.

18   Q    So he was angry at you for not letting her --

19   A    Yes.

20   Q    -- for not encouraging her to go?

21   A    Yes.

22   Q    Now you also testified and told us on direct that there

23   were times that you would make reservations at a hotel for

24   Mr. Kelly and he would use a fictitious name for him; am I

25   correct?



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 1   A    That's correct.

 2   Q    Now that was a security concern; am I correct?

 3   A    Yes.

 4   Q    And, in fact, it's commonplace for artists,

 5   entertainers, celebrities to use fictitious names to ensure

 6   their security when they go to these places; am I correct?

 7                MS. GEDDES:    Objection.

 8                THE COURT:    Overruled.

 9   A    That is correct.

10   Q    Now, you testified and told us about a time that Anna

11   was smoking marijuana on the property?

12   A    I --

13                MS. GEDDES:    Objection.    I don't think that's the

14   testimony.

15                MR. CANNICK:    Okay.    Well, we'll see.

16   Q    Do you recall a time when Anna was smoking marijuana on

17   one of Mr. Kelly's properties in Atlanta?

18   A    I do recall it.

19   Q    Okay.    And do you recall calling Mr. Kelly and letting

20   him know that?

21   A    I do.

22   Q    Okay.    And Mr. Kelly was not pleased to hear that; am I

23   correct?

24   A    No, he was not.

25   Q    And he and Anna had an exchange about it?



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 1   A    I believe so, yes.

 2   Q    And Anna was very angry?

 3   A    I -- I believe so.

 4   Q    Right.

 5                And as a result of this exchange, Mr. Kelly did

 6   not take Anna on a cruise that he was about to go on; am I

 7   correct?

 8   A    I did not now that was the reason.

 9   Q    Okay.    But she didn't go on the cruise, right?

10   A    That's correct.

11   Q    And, in fact, she left -- she left Mr. Kelly; am I

12   correct?

13   A    That's correct.

14   Q    And at some point she ultimately returned?

15   A    Correct.

16                MR. CANNICK:    Excuse me, Your Honor, I can't

17   remember what time you said we were taking a break.

18                THE COURT:    We've got some time.

19                MR. CANNICK:    I just need some water.

20                THE COURT:    Oh, go ahead.

21                MR. CANNICK:    I don't have any.

22                THE COURT:    Okay.

23                (Pause in proceedings.)

24                MR. CANNICK:    Thanks.

25   Q    Okay.    Now, there was part of your testimony last week



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 1   when you spoke about Mr. Kelly and you having a conversation

 2   and he told you that someone said, this person said that you

 3   let Anna escape.

 4                Do you remember saying that?

 5   A    Correct.

 6   Q    Now, those were -- Mr. Kelly never used the word

 7   "escape"; am I correct, other than repeating what someone

 8   said?

 9   A    Yes.

10   Q    And when the Government said here who used that word

11   "escape" and your answer was Mr. Kelly, you were talking

12   about Mr. Kelly repeating what someone else said; am I

13   correct?

14   A    That is correct.

15   Q    You weren't suggesting that Mr. Kelly told you that you

16   let someone escape, right?

17   A    That is correct.

18   Q    Okay.    In fact, did you in you 15 years with Mr. Kelly,

19   ever try to prevent someone from leaving?

20   A    Never.

21   Q    And women left him many times; am I correct?

22   A    Many times.

23   Q    And have you ever heard of Mr. Kelly or -- well, let me

24   back up.

25                Have you ever seen Mr. Kelly physically try to



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 1   stop someone from leaving him?

 2   A    Never.

 3   Q    Have you heard of him suggesting to someone else to

 4   prevent someone from leaving him?

 5   A    Never.

 6   Q    In fact, when they left Mr. Kelly was the one who paid

 7   for their airfare; am I correct?

 8   A    That's correct.

 9   Q    What Mr. Kelly's issue was --

10                MS. GEDDES:    Objection.

11                THE COURT:    Sustained as to form.

12   Q    Mr. Kelly did not want them to take any of the items he

13   purchased for them, correct?

14                MS. GEDDES:    Objection.

15                THE COURT:    Sustained.

16   Q    Did you ever try to stop someone from leaving

17   Mr. Kelly?

18   A    No.

19   Q    Now you testified and told us about seeing a gun behind

20   the bar.     Do you remember telling us about that?

21   A    That is correct.

22   Q    Okay.    Now how close did you get to that gun?

23   A    Maybe about 12 inches away.

24   Q    Okay.    And you didn't examine the gun, did you?

25   A    No.



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 1   Q    Okay.    Now, you worked with Mr. Kelly for over 15 years

 2   in both his house and his business.        Did you ever see him in

 3   possession of a gun?

 4   A    Never.

 5   Q    When you saw the gun that day, do you recall what time

 6   of day it was?

 7   A    I believe it was nighttime.

 8   Q    And do you recall who, if anyone else, was in the bar

 9   at that time?

10   A    I believe it was -- besides the engineers, that I was

11   the only ere person there.

12   Q    And you don't know who was in the bar before you got

13   there; am I correct?

14   A    I'm sorry?

15   Q    You don't know who was in the bar before you got there?

16   A    I do not.

17   Q    All right.    You didn't like some of the rules

18   Mr. Kelly -- rules or policies that Mr. Kelly had; am I

19   correct?

20   A    Correct.

21   Q    But notwithstanding, you would still return and work

22   for him?

23   A    That is correct.

24   Q    Even times that you quit?

25   A    That is correct.



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 1   Q      Those policies and procedures were still in place when

 2   you returned?

 3   A      That is correct.

 4   Q      And that letter of -- withdrawn.

 5                 At any point in time that you were working for

 6   Mr. Kelly, did he ever instruct you to recruit women for

 7   him?

 8   A      No.

 9   Q      Did you ever hear him ask others to recruit women for

10   him?

11   A      No, I did not.

12   Q      Did you ever see Mr. Kelly take rooftop dinners with

13   his girlfriends?

14   A      Yes.

15   Q      To expensive restaurants?

16   A      Yes.

17                 MR. CANNICK:    I'm almost there, Your Honor.

18                 THE COURT:    Okay.

19   Q      Now, the computer that you spoke of early that went

20   missing, that computer basically had Mr. Kelly's information

21   on it; am I correct?

22   A      Correct.

23   Q      You basically used that computer to perform his job

24   responsibilities -- withdrawn.

25                 You basically used that computer to help you, and



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 1   assist you in doing your job as it related to him; am I

 2   correct?

 3   A    That's correct.

 4   Q    So the information on that computer was his

 5   information; am I correct?

 6   A    That's correct.

 7   Q    Now, when you said that Mr. Kelly, your -- withdrawn.

 8              That your responsibilities in your last stint was

 9   to help try to track down and trace his monies, Mr. Kelly

10   generated very large sums of revenue; am I correct?

11              MS. GEDDES:    Objection.

12              THE COURT:    Sustained as to form.

13   Q    Mr. Kelly's -- you were aware of his earning

14   capacity -- withdrawn.

15              You had some involvement with his -- familiarity

16   with his contracts?

17   A    Correct.

18   Q    And he collected -- he was generated revenues from

19   royalties?

20   A    Correct.

21   Q    Record sales?

22   A    Correct.

23   Q    Record production?

24   A    Correct.

25   Q    Song writing?



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 1   A    Correct.

 2   Q    Mr. Kelly generated hundreds of millions of dollars; am

 3   I correct?

 4   A    That is correct.

 5   Q    Now, in the 15 years that you worked with Mr. Kelly,

 6   did you ever see him try to stop or prevent any one of his

 7   girlfriends from leaving him?

 8   A    No.

 9   Q    Have you ever saw him lock any of his girlfriends in a

10   room?

11   A    Never.

12   Q    Has he ever asked you to do such a thing?

13   A    Never.

14   Q    Have you ever heard him ask any of his staff to do such

15   a thing?

16   A    Never.

17   Q    Did you ever see Mr. Kelly deny any of his girlfriends

18   water?

19   A    Never.

20   Q    Did you ever hear him ask anyone else to deny them

21   water?

22   A    No.

23   Q    Did he ever ask you to deny the water?

24   A    No.

25   Q    What about food, have you ever seen him deny them food?



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 1   A    No.

 2   Q    In fact, they had Uber accounts for the girlfriends?

 3   A    They did.

 4   Q    They had menus all across the place to order food; am I

 5   correct?

 6   A    Yes.

 7   Q    And they had runners available to them to go and get

 8   food; am I correct?

 9   A    That's correct.

10   Q    And they had personal assistants to also assist them

11   with getting food, water, drinks, shopping, anything of

12   those things; am I correct?

13   A    That is correct.

14   Q    You did not see anyone in Mr. Kelly's employment do any

15   of those things in terms of denying women food, water,

16   drinks?

17   A    No.

18   Q    Never saw anyone locked in a room?

19   A    Never.

20   Q    And you'd come to work, just do your job to the best of

21   your abilities; am I correct?

22   A    That's correct.

23               MR. CANNICK:    Your Honor, I have nothing further.

24               THE COURT:    All right.     Any redirect?

25               MS. GEDDES:    Yes, Your Honor.



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 1   REDIRECT EXAMINATION

 2   BY MS. GEDDES:

 3   Q    Is it fair to say that testifying here today is hard

 4   for you?

 5   A    That is correct.

 6   Q    And when you stopped working for the defendant, was

 7   part of that because your name had been out there in the

 8   media?

 9   A    That's not correct.

10   Q    Were you concerned about how your name was portrayed in

11   media at some point?

12   A    Yes, that's correct.

13   Q    And does that still concern you here today?

14   A    No, it does not.

15   Q    You're not concerned about how the media will react to

16   your testimony here today?

17   A    No, I'm not.

18   Q    On cross-examination you were asked about that letter

19   that I showed you which admitted -- or claimed to admit to

20   stealing from the defendant.         Do you recall those questions?

21   A    I do.

22   Q    Were you the only person who was working for the

23   defendant who wrote that letter?

24                MR. CANNICK:    Objection.

25                THE COURT:    Overruled.



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 1              To your knowledge, did you ever see other people

 2   write those letters?

 3              THE WITNESS:    I did not.

 4   Q    Did you hear about -- I think in your direct

 5   examination you testified about he asked others to write

 6   that letter; is that correct?

 7   A    That's that I was told, yes.

 8   Q    And the misunderstanding that you had, that had nothing

 9   to do with stealing from him, correct?

10   A    I don't believe I remember what the misunderstanding

11   was about.

12   Q    I just want to be clear:       Did you ever steal from the

13   defendant?

14   A    No, I did not.

15   Q    So when you wrote that you stole from the defendant,

16   that was not true, correct?

17   A    That's correct.

18   Q    And you wrote that because the defendant wanted you to

19   write that, correct?

20   A    That is correct.

21   Q    And the defendant told you that it was his attorney's

22   idea to write that letter, correct?

23   A    That is correct.

24   Q    On cross-examination you were asked about how you would

25   dress when you were working for the defendant.          Do you



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 1   recall that?

 2   A    Yes.

 3   Q    Whose choice was it for you to wear the clothing that

 4   you wore on a day-to-day basis while you worked for the

 5   defendant?

 6   A    It was my choice.

 7   Q    The defendant never told how to dress, correct?

 8   A    Never.

 9   Q    And you remember also being asked about whether people

10   could roam within -- well, first off think about

11   Olympia Fields where the defendant was living.          And you

12   testified that people were not allowed to roam; is that

13   correct?

14   A    That is correct.

15   Q    But you were allowed to freely roam around

16   Olympia Fields, weren't you?

17   A    That is correct.

18   Q    And you were also asked about who put in place the rule

19   that individuals not roam around Olympia Fields, and I

20   believe you testified that it was his wife; is that correct?

21   A    That is correct.

22   Q    Was his wife there after the first two years that you

23   worked for the defendant?

24   A    No, she was not.

25   Q    And did the rule stay in place after you worked for the



                             DavidR. Roy, RPR, CSR, CCR
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